23-01243-WLH11   Doc 618   Filed 03/18/24   Entered 03/18/24 12:01:26   Pg 1 of 68
23-01243-WLH11   Doc 618   Filed 03/18/24   Entered 03/18/24 12:01:26   Pg 2 of 68
                       EXHIBIT A




23-01243-WLH11   Doc 618   Filed 03/18/24   Entered 03/18/24 12:01:26   Pg 3 of 68
  Fill in this information to identify the case:

  Debtor 1              VH 2nd Street Office LLC
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)
                                                                                                                                       iCAP POC
                                                                                                                                         00159
  United States Bankruptcy Court for the: __________
                                          Eastern District     of __________
                                                           of Washington
                                                      District

  Case number            23-01259-WLH11
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                      

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      Socotra  Reit I LLC; WE Alliance Secured Income Fund, LLC; Jason A. Yelowitz, Trustee
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor Socotra  Capital
                                                                                     ________________________________________________________________________

2. Has this claim been                ✔ No
                                      
   acquired from
   someone else?                       Yes. From whom? ______________________________________________________________________________________________________

3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      c/o Miller Nash LLP Attn: Garrett Ledgerwood
                                      _____________________________________________________                       Socotra Capital Inc.
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     111 SW 5th Ave #3400
                                      ______________________________________________________                      2208 29th Street, Suite 100
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Portland                   OR           97204
                                      ______________________________________________________                       Sacramento                CA           95817
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone 503.205.2631
                                                     ________________________                                     Contact phone 916.567.2660
                                                                                                                                 ________________________

                                      Contact email   garrett.ledgerwood@millernash.com
                                                       ________________________                                   Contact email   paul@socotracapital.com
                                                                                                                                   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔ No
                                      
   one already filed?
                                       Yes. Claim number on court claims registry (if known) ________                                   Filed on   ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone              ✔ No
                                      
   else has filed a proof              Yes. Who made the earlier filing?             _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                              page 1
              23-01243-WLH11
                         23-01259-WLH11
                              Doc 618 Filed
                                          Claim
                                            03/18/24
                                                1-1 Filed
                                                     Entered
                                                          01/23/24
                                                              03/18/24
                                                                     Pg12:01:26
                                                                        1 of 64                                                                     Pg 4 of 68
 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?                          3,231,457.50 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                              No
                                                                             ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                             
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Loan Agreement
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      ✔ Yes. The claim is secured by a lien on property.
                                 
                                           Nature of property:
                                           ✔ Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                           
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                           ✔ Other. Describe:
                                                                         proceeds of the secured obligations
                                                                          _____________________________________________________________



                                           Basis for perfection:          Lien
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                                 6,000,000.00
                                                                                         $__________________
                                           Amount of the claim that is secured:               3,231,457.50
                                                                                         $__________________

                                                                                                0.00 (The sum of the secured and unsecured
                                           Amount of the claim that is unsecured: $__________________
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                       3,231,457.50
                                                                                                                              $____________________


                                                                                      10.99
                                           Annual Interest Rate (when case was filed)_______%
                                           ✔ Fixed
                                           
                                            Variable


10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                 ✔ Yes. Identify the property: $30,000
                                                                       collateral reserve
                                                               ___________________________________________________________________




 Official Form 410
            23-01243-WLH11
                       23-01259-WLH11
                            Doc 618 Filed Proof1-1
                                        Claim   of Claim
                                          03/18/24     Filed
                                                         Entered
                                                             01/23/24
                                                                 03/18/24
                                                                        Pg12:01:26
                                                                           2 of 64                                                         page
                                                                                                                                     Pg 5 of 682
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          3 of 64   Pg 6 of 68
   ATTACHMENT TO SOCOTRA REIT I, LLC, WE ALLIANCE SECURED INCOME FUND, LLC, AND
     JASON A. YELOWITZ, TRUSTEE OF JASON YELOWITZ 2006 TRUST’S PROOF OF CLAIM
        In re VH 2nd Street Office, LLC, Case No. 23-01259-WLH11 (Bankr. E.D. Wash.)

       A.      BACKGROUND

              On or about December 15, 2022, VH 2nd Street Office, LLC (“Debtor”) obtained a
loan from Socotra REIT I, LLC ("Socotra") in the original principal amount of $3,000,000.00 (the
"Loan"). The Loan was made pursuant to that certain Loan and Security Agreement dated
December 15, 2022 (the “Loan and Security Agreement”) and is evidenced by that certain
Secured Note dated December 15, 2022 (the “VH Note”), executed and delivered by the Debtor
and payable to Socotra. True, complete, and correct copies of the Loan and Security Agreement
and the VH Note are attached as Exhibit 1 and Exhibit 2, respectively, and incorporated herein
by reference.

               The obligations of the Debtor under the Loan and Security Agreement and the VH
Note are secured by the following (the “Collateral”) (i) the real property of the Debtor commonly
known as 2818 E. 2nd Street, Vancouver, WA 98661 (the “Real Property”), (ii) all land,
improvements, fixtures, leases, and rents related to the Real Property, and (iii) the Personal
Property Collateral, in each case pursuant to and as more specifically described in the Loan and
Security Agreement and that certain Deed of Trust, Assignment of Leases and Rents, Fixture
Filing, and Security Agreement dated December 15, 2022 (the "VH Deed of Trust"), executed by
the Debtor. A true and accurate copy of the VH Deed of Trust is attached as Exhibit 3 and
incorporated herein by reference. The security interests granted by the VH Deed of Trust were
perfected by recording the VH Deed of Trust in the Clark County, Washington real property
records on December 20, 2022, as Document No. 6096728 DT.

               In connection with the Loan, Christopher Christensen, iCap Enterprises, Inc., iCap
Vault LLC, iCap Vault 1, LLC, and Vault Holding, LLC (collectively, the “Guarantors”) executed and
delivered to Socotra that certain Guaranty dated December 15 2022 (the “Guaranty”), pursuant
to which the Guarantors unconditionally guaranteed all obligations of the Debtor under the Loan
and Security Agreement and the Note. A true and correct copy of the Guaranty is attached as
Exhibit 4 and incorporated herein by reference.

               Lenders will file proofs of claim in four other bankruptcy cases involving affiliated
debtors who are jointly and severally liable for the amounts claimed herein by Lenders. The
affiliated bankruptcy cases are in the United States Bankruptcy Court for the Eastern District of
Washington and titled as follows: In re iCap Enterprises, Inc., Case No. 23-01243-WLH11; In re
iCap Vault, LLC, Case No. 23-01256-WLH11; In re iCap Vault 1, LLC, Case No. 23-01257-WLH11;
and In re Vault Holding, LLC, Case No. 23-01270-WLH11.




                                                                                      4873-1872-4757.2


23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          4 of 64                       Pg 7 of 68
                The Loan was partially assigned to WE Alliance Secured Income Fund, LLC (“WE
Alliance”), on January 5, 2023, pursuant to that certain Allonge of that date. An assignment of
the Deed of Trust was recorded in the real property records of Clark County, Washington on
January 11, 2023, as Document No. 6099562 ADT. True and complete copies of the recorded WE
Alliance assignment documents are attached to the Proof of Claim as Exhibit 5 and incorporated
herein by reference. The Loan was partially assigned to Jason Yelowitz, Trustee of the Jason
Yelowitz 2006 Trust, Dated March 31, 2006 (“Jason Yelowitz”), on February 21, 2023, pursuant
to that certain Allonge of that date. An assignment of the Deed of Trust was recorded in the real
property records of Clark County, Washington on February 23, 2023, as Document No. 6105931
ADT. True and complete copies of the recorded Jason Yelowitz assignment documents are
attached to the Proof of Claim as Exhibit 6 and incorporated herein by reference. Socotra, WE
Alliance, and Jason Yelowitz are collectively referred to as the “Lenders.” Socotra Capital, Inc. is
the servicer on the Loan.

                On September 29, 2023 (the “Petition Date”), the Debtor filed a voluntary
petition for relief under chapter 11 of the U.S. Bankruptcy Code in this Court, Case No. 23-01259-
WLH11.

       B.        CLAIM AS OF PETITION DATE

                 The total amount owing on the Loan as of the Petition Date is as follows:

 Maturity Date                                                                           1/1/2025
 Next Payment Due                                                                        8/1/2023
 Interest Rate                                                                  25.000% / 10.99%
 Interest Paid-To Date                                                                   7/1/2023
 Principal Balance                                                                 $3,000,000.00
 Unpaid Interest                                                                       $34,000.00
 Accrued Interest From 7/1/2023 To 9/28/2023 @ 25.00%                                $185,416.67
 Accrued Interest From 9/28/2023 To 9/29/2023 @ 10.99%                                     $915.83
 Unpaid Late Charges                                                                    $6,250.00
 Accrued Late Charges                                                                  $12,500.00
 Unpaid Charges                                                                        $22,025.00
 Prepayment Penalty                                                                          $0.00
 Other Fees                                                                                $350.00
 Collateral Reserve                                                                  ($30,000.00)
 TOTAL CLAIM AMOUNT                                                                $3,231,457.50



                                                                                      4873-1872-4757.2


23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          5 of 64                       Pg 8 of 68
       A spreadsheet itemizing the unpaid charges and other fees is attached to the Proof of
Claim as Exhibit 7 and incorporated herein by reference. The Debtor is also obligated under the
terms of the Loan and Security Agreement, the VH Note, and the VH Deed of Trust to pay Lenders’
attorney fees and costs associated with enforcement thereof, including in this proceeding.

       Pursuant to an agreement between the Lenders and the Debtor, interest accrued on the
Loan at the non-default rate of 10.99% from September 28, 2023 to November 29, 2023. On
November 30, 2023, interest began accruing on the Loan at the default rate of 25.00% per
annum.

       As of the Petition Date, (i) the Debtor estimated the value of the Collateral as
$3,236,984.25 and (ii) the Lenders estimated the value of the Collateral as $6,000,000.00.

       C.      RESERVATION OF RIGHTS

                This proof of claim is filed under compulsion of the bar date applicable in this case
and to protect Lenders from a loss of rights based on its claims against the Debtor. The execution
and filing of this proof of claim is: (a) without waiver of, without prejudice to, and with full
reservation of Lenders’ rights and claims based on or related to the Loan Agreement; (b) without
waiver or release of any of Lenders’ rights, claims, actions, or setoffs against the Debtor or against
any other entity or person liable for all or part of its claims or rights under applicable law; (c) not
a consent by Lenders to the subject matter jurisdiction of the bankruptcy court with respect to
any proceeding commenced at any time by or against or otherwise involving Lenders or its claims
or rights set forth herein; and (d) not an election of remedy which waives or otherwise affects
any other remedy. Lenders expressly reserve all rights, including its rights (i) to amend, modify,
or supplement in any respect this proof of claim, including any exhibit, schedule, or annex, in
each instance from time to time and at any time before its claims against the Debtor and its
bankruptcy estate are finally allowed by court orders that are no longer appealable, for the
purposes of modifying, supplementing, or liquidating the amount of any interest, fees, costs, or
expenses or any contingent or unliquidated claims or rights set forth herein, (ii) to file additional
proofs of claim, and (iii) against third parties.




                                                                                        4873-1872-4757.2


23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          6 of 64                          Pg 9 of 68
                                                       EXHIBIT 1




                                   LOAN AND SECURITY AGREEMENT
           THIS LOAN AND SECURITY AGREEMENT (this "Agreement") dated as of 12/15/2022, is entered
   into by VH 2nd Street Office, LLC, a Delaware limited liability company ("Borrower") for the benefit of
   Socotra REIT I LLC, a Delaware Limited Lillbility Company (CFL #60DBOI08173) ("Lender").

          In consideration of the covenants, conditions, representations, and warranties contained in this
   Agreement, the parties agree as follows:

   l.      IH'.f.lNITIONS. As used herein, the following terms shall have the following meanings (all terms·
   defined in thL Sectlon or in any other provision of this Agreement in the singular are to have the plural
   meanings when used in the plural and vice versa, and whenever the context requires, each gender shall in elude
   any other gender);                                                                                           •

   1.1.      "Agreement" shall mean this Loan Agreement together with all schedules and exhibits hereto, as
   amended, supplemented or otherwise modified from time to time.
   1.2.      "Applicable Law" shall mean: (a) with respect to matters relating to the creation, perfection and
   procedures relating to the enforcement of the liens created pursuant to a Security Instrument (including
   specifically, without limitation, the manner of establishing the amount of any deficiency for which Borrower is
   liable after any foreclosure of any Real Property Collateral), the laws of the state where the Real Property
   Collateral subject to such Security Instrument is located; or (b) with respect to any other Loan Document
   (including but not limited to the Note and this Agreement) the laws of the State of California (or any other
   jurisdiction whose laws are mandatorily applicable notwithstanding the parties' choice of California law). In
   either case, Applicable Law shall refer to such laws, as such laws now exist, or may be changed or amended or
   come into effect in the future.
   1.3.      ''Collateral" shall mean the collateral described in Section 2 below.
   1.4.      "Environmental Laws" shall mean any Governmental Requi.rements pertaining to health, industrial
   hygiene, or the environment, including, without limitation, the Comprehensive Environmental Response,
   Compensation, and Liability Act of 1980 (CERCLA) as amended (42 United States Code ("U,S.C.") §§ 9601 ;_
   9675); the Resource Conservation and Recovery Act of 1976 (RCRA) (42 U.S.C. §§ 6901-6992k); the
   Hazardous Materials Transportation Act (49 U.S.C. §§ 5101 -5127); the Federal Water Pollution Control Act
   (33 U.S.C. §§ 1251-1376); the Clean Air Act ( 42 U.S.C. §§ 7401 -767lq); the Toxic Substances Control Act
   (15 U.S.C. §§ 2601-2692); the Refuse Act (33 U.S,C. §§ 407-426p); the Emergency Planning and Community
   Right-To-Know Act (42 U.S.C. §§ 11001-11050); the Safe Drinking Water Act (42 U.S,C. §§ 300f-300j), and
   all present or future environmental quality or protection laws, statutes or codes or other requirements of any
   federal or state governmental unit, or of any regional or local governmental unit with jurisdiction over the
   Collateral.
   1.5.      "Event of Default" shall mean any event specified in the Event of Default heading below.
   1.6.      "Governmental Authority" shall mean any and all courts, boards, agencies, commissions, offices, or
   authorities of any nature whatsoever for any governmental unit (federal, state, county, district, municipal, city, or
   otherwise) whether now or later in existence.
   1.7.      "Governmental Requirements" shall mean any and all laws, statutes, codes, ordinances, regulations,
   enactments, decrees,judgments, and orders of any Governmental Authority.
   1.8.      "Guarantor" shall mean Christopher Christensen, and any other guarantor of any Indebtedness
   evidenced by a Loan Document between Lender and any other guarantor.
   1.9.      "Guaranty" shall mean each Guaranty of even date herewith executed by Guarantor.
   l.lO.     "Hazardous Materials" means any and all (a) substances defined as "hazardous substances,".·
   "hazardous materials," "toxic substances," or "solid waste" in CERCLA, RCRA, and the Hazardous Materials
   Transportation Act (49 United States Code §§5101-5127), and in the regulations promulgated under those
   laws; (b) substances defined as "hazardous wastes" under Environmental Laws and in the regulations ..
   promulgated under that law in the State where the Real Property Collateral is located and in the regulations
   promulgated under that law; (c) substances defined as "hazardous substances" under Environmental Laws in
   the State where the Real Property Collateral is located; (d) substances listed in the United States Department of
   Transportation Table ( 49 Code of Federal Regulations § 172.10 l and amendments); (e) substances defined as
   "medicBI wastes" under Environmental Laws in the State where the Real Property Collateral is located; (f)
   asbestos-containing materials; (g) poly chlorinated biphenyl; (h) underground storage tanks, whether empty,

                                                                                                     WA Loa.n 8 See-urity Agree
                                                                                                                 1,


                                                                                                        '2·235\VA/2818 E 2nd
                                                                                                                   Pa_gl'-- t of 17




                                                                                                                         Exhibit 1
                                                                                                                      Page 1 of 17
23-01243-WLH11
            23-01259-WLH11
                 Doc 618 FiledClaim
                               03/18/24
                                    1-1 Filed
                                        Entered
                                              01/23/24
                                                 03/18/24
                                                        Pg12:01:26
                                                           7 of 64                                              Pg 10 of 68
   filled, or partially filled with any substance; (t) petroleum and petroleum products, including crude oil or any
   fraction thereof, natural gas, natural gas liquids, liquefied natural gas, or synthetic gas usable for fuel, or any
   such mixture; and U) such other substances, materials, and wastes that are or become regulated under
   applicable local, state, or federal law, or that are classified as hazardous or toxic under any Governmental
   Requirements or that, even if not so regulated, are known to pose a hazard to the health and safety of the
   occupants of the Real Property Collateral or of real property adjacent to it.
   1. l 1.   "Indebtedness" means the principal of, interest on, and all other amounts and payments due under or
   evidenced by the following:
             1.11.1. The Note (including, without limitation, the prepayment premium, late payment, and other charg~s
   payable under the Note);                                                                            •             • ·'
             1.11.2. This Agreement;
             1.11,3. The Security Instrument and all other Loan Documents;
             1.11.4. All funds later advanced by Lender to or for the benefit of Borrower under any provision of any of
   the Loan Documents;
             1.11.5. Any future loans or amounts advanced by Lender to Borrower when evidenced by a written
   instrument or document that specifically recites that the Secured Obligations evidenced by such document are
   secured by the terms of the Security Agreement, including, but not limited to, funds advanced to protect the security
   or pridrity of the Security Agreement; and
             1.11.6, Any amendment, modification, extension, rearrangement, restatement, renewal, substitution, or
   replacement of any of the foregoing.
   1.12.     "Loan" shall mean the loan and financial accommodations made by the Lender to the Borrower in
   accordance with the terms of this Agreement and the Loan Documents.
   1.13. • "Loan Document(s)" means this Agreement, the Note, Security Agreement, and any other agreement
   executed in connection therewith, all other documents evidencing, securing or otherwise governing the Loan
   between Lender, Borrower, any guarantor, pledgor, or debtor, whether now existing or made in the future, and
   all amendments, modifications, and supplements thereto.
   "Maturity Date" shall mean 01/01/2025.
   1.14.     "Note(s)" means any and all promissory notes payable by Borrower, as maker to the order of Lender
   or order; executed concurrently herewith or subsequent to the execution of this Agreement, evidencing a loan
   from Lender to Borrower, together with any interest thereon at the rate provided in such promissory note and
   any modifications, extensions or renewals thereof, whether or. not any such modification, extension is
   evidenced by a new or additional promissory note or notes. Note shall include the Secured Note of even date
   herewith payable by Borrower to the order of Lender in the amount of Three Million and 00/100 Dollars
   ($3,000,000.00), which matures on the Maturity Date, evidencing the Loan, in such form as is acceptable to
   Lender, • together with any and all rearrangements, extensions, renewals, substitutions, replacement~,
   modifications, restatements, and amendments to the Secured Note.
   1.15.     "Person" shall mean natural persons, corporations, partnerships, unincorporated associations, joint
   ventures, and any other form of legal entity.
   1.16.     "Personal Property Collateral" shall mean any property pledged to secure the Note that is not Real
   Property Collateral.
   "Real Property Collateral" shall mean all Mortgaged Property described in the Security lnstrument(s),
   commonly known as 2818 E. 2nd Street, V.aneouver, WA 98661, Assessor's Parcel No. 031065000 &
   986062503.
   1.17,     "Secured Obligations" shall have the meaning defined in Section 2 below and shall include all
   Indebtedness, obligations, and liabilities of the Borrower under the Loan Documents, whether on account of
   principal, interest, indemnities, fees (including, without limitation, attorney's fees, remarketing fees,
   origination fees, collection fees, and all other professional fees), costs, expenses, taxes, or otherwise.
   1.18.     "Security Agreement" shall mean any and all agreements creating a security interest in Lender in the
   Collateral securing the Secured Obligations, including, but not limited to any Collateral Security Agreement,
   Security Instrument, or Ownership Pledge Agreement, as applicable. The term shall refer to all Security
   Agreements both individually and collectively.
   1.19.     "Security Instrument(s)" shall mean the Deed of Trust(s), Assignment of Leases and Rents, Fixture
   Filing, and Security Agreement of even date herewith which secures the Real Property Collateral.

         Capitalized terms not otherwise defined shall have their respective meanings as defined in the Loan
   Documents.

                                                                                                       WA Loan & Secur-jty Ag.rcc0
                                                                                                          22-2llWA/2818 E 2nd
                                                                                                                    Page 2 of 17




                                                                                                                         Exhibit 1
                                                                                                                      Page 2 of 17
23-01243-WLH11
            23-01259-WLH11
                 Doc 618 FiledClaim
                               03/18/24
                                    1-1 Filed
                                        Entered
                                              01/23/24
                                                 03/18/24
                                                        Pg12:01:26
                                                           8 of 64                                               Pg 11 of 68
     2. GENERAL.
                                                                  1
     2.1.      Amount and Purpose. In reliance on Borrower s representations and warranties, and subject to the
     terms and conditions in this Agreement and in the Loan Documents, Lender agrees to make the Loan to
     Borrower on the terms and conditions set forth in the Note, this Agreement and the other Loan Documents.
     2.2.      Payment. Borrower shall repay the Loan in accordance with the provisions of the Note. The
     principal balance outstanding under the Note shall be due and payable in full on the Maturity Date.
     2.3.      Loan Docurncntntion nnd Secul'ity. Borrower shall execute and acknowledge, or obtain the execution
     and ·acknoWledgment of, and deliver concurrently with this Agreement, the Loan Documents and other documentS
     signed in cOnnection with this Agreement. Any reference to the Loan Documents shall refer to such documents as
     they may be amended, renewed, or extended from time to time with the written approval of Lender. All of the Loan
     Documents shall be in form and substance satisfactory to Lender and shall include such consenls from third parties
     as Lender deems necessary or appropriate,
     2.4.      Creation of Security lute.rest; Collntcrnl. For good and valuable consideration, the receipt and
     sufficiency of which are hereby acknowledged, and for the purpose of securing the full and timely payment and
     performance of the Secured Obligations for the benefit of Lender, Borrower hereby irrevocably and unconditionally
    grants, transfers, bargains, conveys and assigns to the Lender a continuing general, lien on, and security interesl in,
    all the Borrower1s estate, right, title, and interest that the Borrower now has or may later acquire in and to the
    following, which shall be collectively referred to as the 11 Collateral":
              2.4.1. Real Proum•ty Collateral. All Real Property Collateral.
              2.4.2. Personal Property Collatcntl. All Personal Property Collateral.
              2.4.3. Borrower Funds. All of Borrower's interest in and to the proceeds of the Secured Obligations',
    whether disbursed or not; all present and future monetary deposits given by Borrower to any public or private utility
    with respect to utility services furnished to the Real Property Collateral; and all accounts maintained by the
    Borrower with Lender or any subsidiary or affiliate of Lender, including, without limitation, any accounts
    established in connection with the Secured Obligations regardless of whether or not such accounts are with Lender;
              2.4.4. Lcndl'.1' Retained Funds. All ofBorrower 1s right, title and iriterest in and to any funds retained by
    the Lender or its agents including but not limited to any Payment Reserves, Default Reserves, ,Impounds,
    Construction Reserves, Construction Completion Holdbacks, Repair Holdbacks, Tax Ho!dbacks and Insurance
    Holdbacks (collectively, "Lender Retained Funds"). The Lender Retained Funds shall be subject to the sole and
    absolute control of Lender during the term of this Agreement. Borrower shall execute such documents and talce
    such other action as may be requested by Lender to ensure in Lender such sole and absolute control. Borrower shall
    have no right to the Lender Retained Funds except as provided in this Agreement and the· Note. Upon the maturity
    of the Note, any remaining funds in the Lender Retained Funds shall be credited against amounts due under the
   Note. Upon the occurrence of an Event of Default hereunder, Lender shall have (i) the right to withdraw all or any
    portion of the Lender Retained Funds and apply the Lender Retained Funds against the amounts owing under the
   Note, or any other Loan Document in such order of priority as Lender may determine; (ii) all rights and remedies of
    a secured party under the Uniform Commercial Code; or (iii) the right to exercise all remedies under the Loan
   Documents or otherwise available in law or in equity.
              2.4.5. Additional Property. Any additional personal property otherwise set forth in the Loan
   Documents;
              2.4.6. Prnt.:ccds. All proceeds of, supporting obligations for, additions and accretions to, substitutions
   and replacements for, and changes in any of the property described in this Agreement.
   2.5.       Secured Obligations. Borrower grants a security interest in the Collateral for the purpose of securing
   the following Secured Obligations;
              2.5.1. Notes. Payment of all obligations at any time under any and all Notes.
              2.5.2. Loan Documents. Payment and/or performance of each and every other obligation of
   Borrower under the Loan Documents;
              2.5.3. Related Loan Documents. Payment and/or performance of each covenant and obligation on
   the part of Borrower or its affiliates to be performed pursuant to any and all Loan Documents that have been or
   may be executed by Borrower or its affiliates evidencing or securing one or more present or future loans by
   Lender or its affiliates to Borrower or its affiliates (collectively, the "Related Loans"), whether now existing or
   made in the future, together with any and all modifications, extensions and renewals thereof; provided,
   however, that nothing contained herein shall be construed as imposing an obligation upon Lender, or as
   evidencing Lender's intention, to make any Related Loan to Borrower or its affiliates;


                                                                                                        WA Le.,, & S•~urity Agree
                                                                                                            22-2J5W A/2Bl8 E 2nd
                                                                                                                     Page3ofl7




                                                                                                                              Exhibit 1
23-01243-WLH11
            23-01259-WLH11
                 Doc 618 FiledClaim
                               03/18/24
                                    1-1 Filed
                                        Entered
                                              01/23/24
                                                 03/18/24
                                                        Pg12:01:26
                                                           9 of 64                                                 PgPage
                                                                                                                      12 3ofof 68
                                                                                                                               17
              2.5.4.    Future Obligations. Payment to Lender of all future advances, Indebtedness and further
    sums and/or performance of such further obi igations as Borrower may undertake to pay and/or perform
   (whether as principal, surety or guarantor) for the benefit of Lender, its successors and assigns, (it being
   contemplated by Borrower and Lender that Borrower may hereafter become indebted to Lender in such further
   sum or sums), when such borrower and/or obligations are evidenced by a written instrument reciting that it or
    they are secured by this Agreemerit and a related Security Instrument or Security Agreement; and
              2.5.5.    Modifications and Payments. Payment and performance of all modifications, amendments,
    extensions, and renewals, however evidenced, of any of the Secured Obligations.
   2.6.       Application of Pnvments. Except as otherwise expressly provided by Governmental Requirements or
   any other provision of the Loan Documents, all payments received by Lender from Borrower under the Loan
   Documents shall be applied by Lender in the following order: (a) costs, fees, charges, and advances paid or
   incurred by Lender or payable to Lender and interest under any provision of this Agreement, the Note, the
   Security Agreement, or any other Loan Documents, in such order as Lender, in its sole and absolute discretion,
   elects, (b) interest payable under the Note, and (c) principal under the Note.
   2.7.       Termination. This Agreement shall terminate following the repayment in full of all amounts due
   under the Note, this Agreement and any other documents evidencing the Loan, so long as no written claim has
   been made hereunder prior to such expiration date.
   2.8.       REMOVED,
   2.9.       REMOVED.
   2.10.      REMOVED.
   2.1 t.     Collaternl Reserve, Out of the Loan proceeds, Lender will hold in reserve an amount equal to Thirty
          Thousand and 00/100 Dollars ($30,000.00) as a collateral reserve account (the "Collateral Reserve"). Lender
          will deposit the Collateral Reserve into a non-interest bearing account, and in its sole and absolute discretion,
          may use the Collateral Reserve to pay for interest payments, maintaining and improving the property, including
          any and all deferred maintenance required on the property, taxes, insurance premiums, supplies, and all other
        . costs in which the Lender may need to protect and secure its security interest in the property. Borrower agrees
          that Lender shail have sole and absolute right and discretion to determine the application of funds held in the
          Collateral Reserve. Borrower acknowledges and agrees that the amounts held in reserve under this paragraph
          are part of the Loan principal, and bear interest.
   2.12.      REMOVED.
   2.13. • Discretionary Right to Extcn~ion, Lender shall have the discretionary right to extend the Maturity Date
          of the Note in six (6) month increments, without the prior notification to or consent of Borrower.           •
              2.13.1. gxtension Fee. If Lender exercises its discretionary right to extend the Maturity Date of the Note,
                     Borrower shall pay a brokerage fee of two percent {2%) of the outstanding principal balance as an
                     extension fee {"Extension Fee"). A separate Extension Fee will be charged for each six (6) month
                     extension of the Maturity Date, at Lender's discretion. Each separate Extension Fee shall bear
                     interest at the contracted rate provided in this Note, unless each such fee is paid in full by Borrower
                     within fourteen (14) days of the date of the notice described in Section 2.13.2.
              2.13.2. Notice of Extension of Maturity Dnte. Lender shall provide Borrower with notice of the
                     extension within ten (10) days after the Maturity Date.
              2.13.3. Adjustnble lntcrcsl Rnte and Payment ~lumges. Upon Lender exercising its discretionary right
                     fo extend the Maturity Date of the Note, the interest rate on the unpaid principal balance, which shall
                     include the Extension Fee, shall change from a fixed rate of interest to an adjustable rate of interest
                     that may change on the first day every month thereafter based on the most recent Index figure as
                     referenced below is as follows:
                                            i.        Change Oiltcs. The date on which Borrower's initial fixed interest
   rate ·changes to an adjustable interest rate, and each date on which Borrower's adjustable interest rate could change
   is called a "Charige Date."         •
                                            ii.       The Index. At each Change Date, Borrower's interest rate will be
   based on an Index. The "lndex" is the Prime Rate as published in the Wall Street Journal. The most recent Index
   figure available as of the date of the first day of the month preceding each Change Date is called the "Current
   Index." If the Index is no longer available, Lender will choose a new index that is based upon comparable
   information. Lender will give Borrower notice of this choice.
                                              111.      Calculation of Change. Before the Change Date, Lender will
   calculate Borrower's new interest rate by adding Five and 99/100 percentage points (5,99%) ("Margin") to the
   Current Index. Lender will then round the result of this addition to the next higher one-quarter of one percentage

                                                                                                          WA Loru-1 & SP:lacority Agree
                                                                                                              22-2J5WN2Rl8 E 2,ct
                                                                                                                          Page 4 of i7




                                                                                                                              Exhibit 1
                                                                                                                           Page 4 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          10 of 64                                                   Pg 13 of 68
     point (0.25%). Subject to the Floor Rate stated in Section 2.13 .3(iv) below) this rounded amount will be Borrower's
     new interest _rate until the Maturity Date.
                                  Lender will then determine the amount of the monthly payment that would be
    sufficient to repay the unpaid principal that Borrower is expected to owe at the Change Date in full on the
    Maturity Date at Borrower's new interest rate in substantially equal payments. The result of this calculation
    will be the new amount of Borrower's monthly payment (only applicable if an amortized loan).
                   ,                         iv.      Limits on Interest Rate Change. The interest rate Borrower is
    required to pay at the first Change Date will not be greater than 12.99% or less than 10.99%. Thereafter,
    Borrower's adjustable interest rate will never be increased or decreased on any single Change Date by more than
    two percentage points from the rate of interest Borrower has been paying for the preceding month. Borrower's
    interest rate will never be greater than 20.99% (the "Maximum Rate"), nor less than 10.99% (the "Floor Rate")
    except as provided in Section 6 herein (Interest on Default).
                                            v.     Effective Dntc of Change. Borrower's new interest rate will become
    effective on the Change Date. Borrower will pay the amount of his, her or their new monthly payment beginning on
    the first monthly payment date after the Change Date.
                                           vi.    Notice of Change. Lender will deliver or mail to me a notice of any
    change in BorrOWer's interest rate and the amount of Borrower's monthly payment before the effective date of any
    change. The notice will include information required by law to be given to Borrower and also the title and telephone
    number of a person who Will answer any question Borrower may have regarding the notice,
    2.J4.      Pledge and Grant of Security Int·ere.,;;t.!. To secure the due and punctual payment and performance of all
          Obligations due under this Note, Borrower hereby pledges, assigns, transfers, and delivers to Lender and
          hereby grants Lender a security interest in and to all of Borrower's right, title and interest in and to any funds
          retained by the Lender or its agents including but not limited to any Payment Reserves, Default Reserves,
          Impounds, Construction Reserves, Construction Completion Holdbacks, Repair Holdbacks, Tax Holdbacks
          and Insurance Holdbacks (collectively, "Lender Holdbacks"). The Lender Holdbacks shall be subject to the
          sole and absolute control of Lender during the term of this Agreement. Borrower shall execute such
          documents and take such other action as may be requested by Lender to ensure in Lender such sole ahd
          absolute control. Borrower shall have no right to the Lender Holdbacks except as provided in this Note. Upon
          the·matul'ity of the Note, any remaining funds in the Lender Holdbacks shall be credited against amounts due
          under the Note. Upon the occurrence of an Event of Default hereunder, Lender shall have (i) the right to
          withdraw all or any portion of the Lender Ho!dbacks and apply the Lender Holdbacks against the amounts
          owing under this Note, or any other Loan Document in such order of priority as Lender may determine; ([i) all
          rights and remedies of a secured party under the Uniform Commercial Code; or (iii) the right to exercise all
          remedies under the Loan Documents or otherwise available in law or in equity.                                    '

   3.       BORROWER'S RF:PRESENTATIONS AND WARRANTIES. To induce Lender to make the
   Loan, Borrower represents and warrants as follows, which representations and warranties shall be true and
   correct as of the execution of this Agreement and shall survive the execution and delivery of the Loan
   Documents:

   3.1.     Cnpncity. Borrower and the individuals executing Loan Documents on Borrower's behalf have the full
   power, authority, and legal right to execute and deliver, and to perform and observe the provisions of this
   Agreement, the other Loan Documents, and any other document, agreement, certificate, or instrument executed in
   connection with the Loan, and to carry out the contemplated transactions.
   3.2.     Authority and Enforceability. Borrower's execution, delivery, and performance of this Agreement, the
   other Loan Documents, and any other document, agreement, certificate, or instrument executed in connection with
   the Loan, have been duly authorized by all necessary corporate or other business entity action and do not and shall
   not require any registration with) consent, or approval of, notice to, or any action by any Person or Governmental
   Authority. Borrower has obtained or will obtain all approvals necessary for Borrower to comply with the Loan
   Documents. This Agreement, the Note, and the other Loan Documents executed in connection with the Loan, when
   executed and delivered by Borrower, shall constitute the legal, valid, binding, and joint and several obligations of
   Borrower enforceable in accordance with their respective terms.
   3.3.     Complhlnce with Other Instruments. The execution and delivery of this Agreement and the other Loan
   Documents, and compliance with their respective terms, and the issuance of the Note and other Loan Documents as
   contemplated in this Agreement) shall not result in a breach of any of the terms or conditions of, or result in the
   imposition of, any lien, charge, or encumbrance (except as created by this Agreement, the Security Agreement and

                                                                                                         WA Loan & Security Agree
                                                                                                            22-235W A/2818 El 2nd
                                                                                                                      Page S of l7




                                                                                                                              Exhibit 1
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          11 of 64                                                 PgPage
                                                                                                                      14 5ofof 68
                                                                                                                               17
    the other Loan Documents) on any Collateral, or constitute a default (with due notice or lapse of time or both) or
    result in an occurrence of an event for which any holder or holders of indebtedness may declare the same due and
    payable under, any indenture, agreement, order, judgment, 01· instrument to which Borrower is a party or by which
    Borrower or its properties may be bound or affected.
   3,4.       Compliance with Lnw, The execution and delivery of this Agreement, the Note, and the other Loan
   'Documents, or any other document, agreement, certificate, or instrument to which Borrower is bound in connection
    with the Loan, do not conflict with, result in a breach or default under, or create any lien or charge under any
    provision of any Governmental Requirements to which it is subject and shall not violate any of the Governmental
    Requirements.                                                                                            ••
    3.5.      Adverse gve1m. Since the date of the financial statements delivered to Lender before execution of this
   Agi'eement, neither the condition (financial or otherwise) nor the business of Borrower and the Collateral have been
    materially adversely affected in any way.                                                                             .
   3.6.       LUigalio.J!. There are no actions, suits, investigations, or proceedings pending or, to Borrower's knowledgb
   after due inquiry and investigation, threatened against or affecting Borrower at law or in equity, before or by any
    Person or Governmental Authority, that, if adversely determined, would have a material adverse effect on the
    business, properties, or condition (financial or otherwise) of Borrower or on the validity or enforceability of this
   Agreement, any of the other Loan Documents, or the ability of Borrower to perform under any of the Loan
    Documents.                                                                                    •
   3. 7.      No UrHrnc Statements, All statements, representations, and warranties made by Borrower in this
   Agreement or any other Loan Document and any other agreement, document, certificate, or instrument previously
   furnished or to be furnished by Borrower to Lender under the Loan Documents (a) are and shall be true, correct, and
   complete in all material respects at the time they were made and on and as of the execution of this Agreement, (b) do
   not and shall not contain any untrue statement of a material fact, and (c) do not and shall not omit to state a material
   fact necessary to make the information in them neither misleading nor incomplete. Borrower understands that all
   such st.atements, representations, and warranties shall be dee.med to have been relied on by Lender as a material
   inducement to make the Loan.
   3.8;       Policies of lnsu1•nnre. Each copy of the insurance policies relating to the Collateral delivered to Lender by
   Borrower (a) is a true, correct, and complete copy of the respective original policy in effect on the date of this
   Agreement, and no amendments or modifications of said documents or instruments not included in such copies have
   been made, and (b) has not been tem1inated and is in full force and effect. Borrower is not in default in the
   observance or performance of its material obligations under said documents or instruments and Borrower has done
   all things required to be done as of the date of this Agreement to keep unimpaired its rights thereunder.              :
   3,9.       l•'inandat" Stalcmcnts. All financial statements furnished to Lender are true and correct in all materiai
   respects, are prepared in accordance with generally accepted accounting principles, and do not omit any material
   fact the omission of which makes such statement or statements misleading. There are no facts that have not been
   disclosed to Lender by Borrower in writing that materially or adversely affect or could potentially in the future
   affect the Collateral or the business prospects, profits, or condition (financial or otherwise) of Borrower or any
   Guarantor or Borrower's abilities to perform the Secured Obligations and pay the Indebtedness.
   3.10.      Taxes, Borrower has filed or caused to be filed all tax returns that are required to be filed by Borrower
   under the Governmental Requirements of each Governmental Authority with taxing power over Borrower, and
   Borrower has paid, or made provision for the payment of, all taxes, assessments, fees, and other governmental
   charges that have or may have become due under said returns, or otherwise, or under any assessment received by
   Borrower except that such taxes, if any, as are being contested in good faith and as to which adequate reserves
   (determined in accordance with generally accepted accounting principles) have been provided.
   3.11,      ru rther Acts. Borrower shall, at its sole cost and expense, and without expense to Lender, do, execute,
   acknowledge, and deliver all and every such further acts, deeds, conveyances, deeds of trust, mortgages,
   assignments, notices of assignments, transfers, and assurances as Lender shall from time to time require, for the
   purpose of better assuring, conveying, assigning, transferring, pledging, mortgaging, warranting, and confirming to
   Lender the Collateral and rights, and as to Lender the security interest, conveyed or assigned by this Agreement or
   intended now or later so to be, or for carrying out the intention or facilitating the performance of the terms of this,
   Agreement, or for filing, registering, or recording this Agreement and, on demand, shall execute and deliver, and
   authorizes Lender to execute in the name of Borrower, to the extent it may lawfully do so, one or more financing
   statements, chattel mortgages, or comparable security instruments, to evidence more effectively the lien of Lender
   on the Collateral.
   3.12.      Filing Fees. Borrower shall pay all filing, registration, or recording fees, all Governmental Authority
   stamp taxes and other fees, taxes, duties, imposts, assessments, and all other charges incident to, arising from, or in

                                                                                                         WA l.o!UI & Sec~rily Agr~-e
                                                                                                            22~2l5WN2SJ8 E 2nd
                                                                                                                       Page 6 ofl7




                                                                                                                            Exhibit 1
                                                                                                                         Page 6 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          12 of 64                                                 Pg 15 of 68
     connection with the preparation, execution, delivery, and enforcement of the Note, this Agreement, the other Loan
     Documents, or any instrument of further assurance.
     3.13.     Entity Compliance. As long as any part of the Secured Obligation is owed by Borrower, Borrower, ifa
     corporation, limited liability company, or partnership, shall do all things necessary to preserve and keep in full force
     and effect its existence, franchises, rights, and privileges as such entity under the laws of the state of it'~
     incorporation or formation, and shall comply with all Governmental Requirements of any Governmerttal Authority
     applicable to Borrower or to any Collateral or any pa1i of it.
     3.14.     lmnropcr Financial Trnnsactions.
               3.14.1. Borrower is, and shall remain at all times, in full compliance with a!! applicable laws and
     regulations of the United States of America that prohibit, regulate or restrict financial transactions, and any
     amendments or successors thereto and any applicable regulations promulgated thereunder (collectively, the
     "Financial Control Laws"), including but not limited to those related to money laundering offenses and related
     compliance and reporting requirements (including any money laundering offenses prohibited under the Money
     Laundering Control Act, 18 U.S.C. Section 1956 and 1957 and the Bank Secrecy Act, 31 U.S.C. Sections 5311 !,_(
    ieft.) and the Foreign Assets Control Regulations, 31 C.F.R. Section 500 et seq.
               3.14.2. Borrower represents and warrants that: Borrower is not a Barred Person (hereinafter defin'ed);
     Borrower is nbt owned or controlled, directly or indirectly, by any Barred Person; and Borrower is not acting,
     directly or indirectly, for or on behalf of any Barred Person.
               3.14.3. Borrower represents and warrants that it understands and has been advised by legal counsel on the
     requirements of the Financial Control Laws.
               3.14.4, Under any provision of the Loan Documents where Lender shall have the right to approve or
    consent to any particular action 1 including, without limitation any (A) sale, transfer, assignment of any Collateral, or
    any direct or indirect ownership interest in Borrower, (B) leasing of any Collateral, or any portion thereof, or (C)
    incurring any additional financing secured by the Collateral, or any portion thereof, or by any direct or indirect
    ownership interest in Borrower, Lender shall have the right to withhold such approval or consent, in its sole
    discretion, if the granting of such approval or consent could be construed as a violation of any of the Financial
    Control Laws.
              3.14.5. Borrower covenants and agrees that it will upon request provide Lender with (or cooperate with
    Lender in obtaining) information required by Lender for purposes of complying with any Financial Control Laws.
    As used in this Agreement, the term "Barred Person" shall mean (A) any person, group or entity named as a
    "Specially Designated National and Blocked Personn or as a person who commits, threatens to commit, supports, Or
    is associated with terrorism as designated by the United States Department of the Treasury's Office of Foreign
    Assets Control ("OF AC"), (B) any person, group or entity named in the lists maintained by the United States
    Department of Commerce (Denied Persons and Entities), (C) any government or citizen of any country that is
   subject to a United States Embargo identified in regulations promulgated by OF AC, and (D) any person, group or
    entity named as a denied or blocked person or terrorist in any other list maintained by any agency of the United
   States government.
   3. J 5.    Representation on Use of Proceeds. Borrower represents and warrants to Lender that the proceeds of the
   Loan will be used solely f"0r business 1 commercinl lnvestrnent, or similar purposes, and that no porlion of it will be
   used for personal) family, or household purposes.
   3.16.      Broker11gc Fees. Borrower represents and warrants to Lender that Borrower has not dealt with any Person,
   other than the parties identified in the final settlement statement, who are or may be entitled to any finder's fee,
   brokerage commission, loan commission, or other sum in connection with the execution of the Loan Documents, the
   consummation of the transactions contemplated by the Loan Documents, or the making of the Loan by Lender to
   Borrower, and Borrower indemnifies and agrees to hold Lender harmless from and against any and all loss, liability,
   or expense, including court costs and attorney fees, that Lender may suffer or sustain if such warranty or
   representation proves inaccurate in whole or in part.
   3.17.      Perfection and Priority of Security Interest. Unless otherwise previously disclosed to Lender in
   writing, Borrower has not entered into or granted any security agreements, or permitted the filing or
   attachment of any security interests on or affecting any of the Collateral directly or indirectly securing
   repayment of the Loan, that would be prior or that may in any way be superior to Lender's security interests
   and rights in and to the Collateral.
   4.         INSlJRANCE. Lender 1s obligation to make the Loan and perform its duties under this Agreement
   shall be subject to the full and complete satisfaction of th!' following conditions precedent:




                                                                                                          WA Luan & Security Agree
                                                                                                             22-2J5WA/2818 B 2nd
                                                                                                                      Page7ofJ7




                                                                                                                              Exhibit 1
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          13 of 64                                                  PgPage
                                                                                                                       16 7ofof 68
                                                                                                                                17
    4.1.     CasualtJ ln1nu-1111ce. Borrower shall at al! times keep the Collateral insured for the benefit of Lender            as
    follows, despite Governmental Requirements that may detrimentally affect Borrower's ability to obtain or may
    materially increase the cost of such insurance coverage:
             4.1.1. Against damage or loss by fire and such other hazards (including lightning, windstonn, hail,
    explosion, riot, acts of striking employees, civil commotion, vandalism, malicious mischief, aircraft, vehicle, and
    smoke) as are covered by the broadest fonn of extended coverage endorsement available from time to time, in                  ail
    amount not less than the Full Insurable Value (as defined below) of the Collateral, with a deductible amount not to
    exceed an amount satisfactory to Lender; Windstorm coverage is included under the extended coverage endorsement
    of most hazard policies, but in some states it may be excluded. If the hazard policy excludes the windstorm/hail
    endorsement a separate windstorm policy must be provided. The coverage amounts must equal that of the hazard
    policy;
             4.1.2. Rent loss or business interruption or use and occupancy insurance on such basis and in such
    amounts and with such deductibles as are satisfactory to Lender;
             4. 1.3. Against damage or loss by flood if the Collateral is located in an area identified by the Secretary of
    Housing and Urban Development or any successor or other appropriate authority (governmental or private) as ail
   area having special flood hazards and in which flood insurance is available under the National Flood Insurance Act
   of 1968 or the flood Disaster Protection Act of 1973, as amended, modified, supplemented, or replaced fromtime to
    time, on such basis and in such amounts as Lender may require;                                                           .
             4.1.4. Agalnst damage or loss from (a) sprinkler system leakage and (b) boilers, boiler tanks, heating and
   air conditioning equipment, pressure vessels, auxiliary piping, and similar apparatus, on such basis and in such
   amounts as Lender may require;                                                                                          !
             4,1 .5. During any alteration, construction, or replacement of Improvements, or any substantial portion of
    it, a Builder's All Risk policy with extended coverage with course of construction and completed value
   endorsements, for an amount at least equal to the Full Insurable Value of the Improvements, and workers'
   compensation, in statutory amounts, with provision for replacement with the coverage described in herein, without
   gaps or lapsed coverage, for any completed portion of the Improvements; and
             4.1 ,6.   If applicable, against damage or loss by earthquake, in an amount and with a· deductible
   satisfactory tci Lender, if such insurance is required by Lender in the exercise of its business judgment in light of the
   commercial real estate practices existing at the time the insurance is issued and in the County where the Collateral is
   located.
   4.2.      Linbility lnsu.rancc.      Borrower shall procure and maintain workers' compensation insurance for
   Borrower's employees and comprehensive general liability insurance covering Borrower, and Lender against claims
   for bodily injury or death or for damage occurring in, on, about, or resulting from the Real Property Collateral, or
   any street, drive, sidewalk, curb, or passageway adjacent to it, in standard form and with such insurance company or
   ·companies and in an amount of at least as Lender may require, which insurance shall include completed operations,
   product liability, and blanket contractual liability coverage that insures contractual liability under the
   indemnifications set forth in this Agreement and the Loan Documents (but such coverage or its amount shall in no
   way limit such indemnification).
   4,3,      Other Insur1rnce. Borrower shall procure and maintain such other insurance or such additional amounts of
   insurance, covering Borrower or the Collateral, as (a) may be required by the terms of any construction contract for
   the improvements or by any Governmental Authority, (b) may be specified in any other Loan Documents, or (c)
   may be required by Lender from time to time.                                                                             •
   4.4.      Form of Policies. All insurance policies required under this Section shall be fully paid for and
   nonassessable. The policies shall contain such provisions, endorsements, and expiration dates as Lender from time
   to time reasonably requests and shall be in such form and amounts, and be issued by such insurance companies
   doing business in the State where the Collateral is located, as Lender shall approve in Lender's sole and absolute
   discretion. Unless otherwise expressly approved in writing by Lender, each insurer shall have a Best Rating of
   Class A, Category Vlll, or better. All policies shall (a) contain a waiver of subrogation endorsement; (b) provide
   that the policy will not lapse or be canceled, amended, or materially altered (including by reduction in the scope or
   limits of coverage) without at least 30 days prior written notice to Lender; (c) with the exception of the
   comprehensive general liability policy, contain a mortgagee's endorsement {438 BFU Endorsement or equivalent),
   and name Lender as insured; and (d) include such deductibles as Lender may approve. If a policy required under
   this Section contains a co-insurance or overage clause, the policy shall include a stipulated value or agreed amount
   endorsement acceptable to Lender.
   4.5,      Du1>licnte Originals or Certificates. Duplicate original policies evidencing the insurance required herein
   and any additional insurance that may be purchased on the Collateral by or on behalf of Borrower shall be deposited

                                                                                                           WA Loan & Soc•rity Agree
                                                                                                              22-23lWAJ2glR E 2nd
                                                                                                                        Par::e 8 ofl7




                                                                                                                            Exhibit 1
                                                                                                                         Page 8 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          14 of 64                                                  Pg 17 of 68
   with and held oy Lender and, in addition, Borrower shall deliver to Lender (a) receipts evidencing payment of all
   premiums on the policies and (b) duplicate original renewal policies or a binder with evidence satisfactory to Lender
   of payment of all premiums at least 30 days before the policy expires. [n lieu of the duplicate original policies to be
   delivered to Lender provided for herein, Borrower may deliver an underlier of any blanket policy, and Borrower
   may also deliver original certificates from the issuing insurance company, evidencing that such policies are in full
   force and effect and containing information that, in Lender's reasonable judgment, is sufficient to allow Lender to
   ascertain whether such policies comply with the requirements herein.
   4.6.       Increased Coverag_e. If Lender determines that the limits of any insurance carried by Borrower are
   inadequate or that additional coverage is required, Borrower shall, within 10 days after written notice from Lender,
   procure such additional coverage as Lender may require in Lender's sole and absolute discretion.
   4. 7.      No Sep11r-al<' lnsuruncl), Borrower shall not catry separate or additional insurance concurrent in form or
   contributing tn the event of loss with that required herein unless endorsed in favor of Lender as required by this
   Section and otherwise approved by Lender in all respects.
   4.8.      Trnnsfor of Title. In the event of foreclosure of any Collateral or other transfer of title or assignment of
   any Collateral in extinguishment, in whole or in part, of the Secured Obligations and the Indebtedness, all right, title,
   and interest of Borrower in and to all insurance policies required herein or otherwise then in force with respect to the
   Collateral and all proceeds payable under, and unearned premiums on, such policies shall immediately vest in the
   purchaser or other transferee of the Collateral.                                                                       '
   4.9.      Rcplnccment Cost. For purposes of this Agreement, the term "Full Insurable Value" means the actual cost
   of replacing the Collateral in question, without allowance for depreciation, as calculated from time to time (but not
   more often tha:i once every calendar year) by the insurance company or companies holding such insurance or, at
   Lender's request, by appraisal made by an appraiser, engineer, architect, or contractor proposed by Borrower and
   approved by said insurance company or companies and Lender. Borrower shall pay the cost of such appraisal.
   4.10.     No Wnrrnntx. No approval by Lender of any insurer may be construed to be a representation,
   certification, or warranty of its solvency and no approval by Lender as to the amount, type, or form of any insurance
   may be construed to be a representation, certification, or warranty of its sufficiency.                         .
   4. ll.    LC'ndcr's Right' lo Obtain. Borrower shall deliver to Lender original policies or certificates evidencing
   such insurance at least 30 days before the existing policies expire. If any such policy is not so delivered to Lender or
   if any such policy is canceled, whether or not Lender has the policy in its possession, and no reinstatement or
   replacement policy is received before termination of insurance, Lender, without notice to or demand on Borrower,
   may (but is not obligated to) obtain such insurance insuring only Lender with such company as Lender may deem
   satisfactory, and pay the premium for such policies, and the amount of any premium so paid shall be charged to and
   promptly paid by Borrower or, at Lender's option, may be added to the Indebtedness. Borrower acknowledges that,
   if Lender obtains insurance, it is for the sole benefit of Lender, and Borrower shall not rely on any insurance
   obtained by Lender to protect Borrower in any way.
   4.12.     Dutv to Restore Aflcr C11sunlly. If any act or occurrence of any kind or nature (including any casualty for
   which insurance was not obtained or obtainable) results in damage to or loss or destruction of the Collateral,
   Borrower shall immediately give notice of such loss or damage to Lender and, if Lender so instructs, shall promptly,
   at Borrower's sole cost and expense, regardless of whether any insurance proceeds will be sufficient for the purpose';:
   commence and continue diligently to completion to restore, repair, replace, and rebuild the Collateral as nearly as·
   possible to its value, condition, and character immediately before the damage, loss, or destruction.

   5.       BORRO\VERCOVENANTS AND REPORTING REQlJIIU:IVH;!,1.fUi,

   5.1.      Finnndal Stntements; Esto1rncl Certificates.
            5. 1.1. Rorrower's Financial Statements. On receipt of Lender's written request and without expense
   to Lender, Borrower shall furnish to Lender (a) an annual statement of the operation of the Real Property Collateral
   prepared and certified by Borrower, showing in reasonable detail satisfactory to Lender total Rents (as defined in the
   Security Instrument) received and total expenses together wlth an annual balance sheet and profit and loss statement,
   within 90 days after the close of each fiscal year of Borrower, beginning with the fiscal year first ending after the
   date of recordation of the Security Instrument; (b) within 30 days after the end of each calendar quarter (March 31,
   June 30, September 30, December 31) interim statements of the operation of the Real Property Collateral showing in
   reasonable detail satisfactory to Lender total Rents and other income and receipts received and total expenses for the
   previous quarter, certified by Borrower; and (c) copies of Borrower's annual state and federal income tax returns
   within 30 days after filing them, Borrower shall keep accurate books and records, and allow Lender, its
   representatives and agents, on notice, at any time during normal business hours, access to such books and records

                                                                                                          WA Loan & StJc;u.rity Agn::v
                                                                                                              22.2J5WA/281B R2n<l·
                                                                                                                       ?age9ofl7,




                                                                                                                              Exhibit 1
                                                                                                                           Page 9 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          15 of 64                                                   Pg 18 of 68
   regarding acquisition, construction, development, an operations of the Real Property Collateral, including any
   supporting or related vouchers or papers, shall allow Lender to make extracts or copies of any such papers, and shall
   furnish to Lender and its agents convenient facilities for the audit of any such statements, books, and records.
          • 5.1.2. Rccordkceuing. Borrower shall keep adequate records and books of account in accordance with
   generally accepted accounting principles and practices and shall permit Lender, by its agents, accountants, and
   attorneys, to examine Borrower's records and books of account and to discuss the affairs, finances, and accounts of
    Borrower with the officers of Borrower, at such reasonable times as Lender may request.
              5.1.3. GuaJ"nntors' Financial Stntements. Except to the extent already required herein, Borrower, its
   controlling shareholders, and all Guarantors of the Indebtedness, if any, shall deliver to Lender with reasonable
   promptness ailer the close oftheir respective fiscal years a balance sheet and profit and loss statement, prepared by
   the prl11cip11l of the Borrower or an independent certified pub!lc accountant satisfactory to Lender, setting forth in
   each case, in compural.ivc form, figures for the preceding year, which statements shall be accompanied by the
   unqualified opinion of the principal of the Borrower or such accountant as to their accuracy. Throughout the term of
   the Loan, Borrower and any Guarantor shall deliver, with reasonable promptness, to Lender such other informatio)1
   with respect to Borrower or Guarantor as Lender may from time to time request. All financial statements o'f
   Borrower or Guarantor shall be prepared using reasonably accepted accounting practices applied on a consistent
   basis and shall be delivered in duplicate, Documents and information submitted by Borrower to Lender are
   submitted confidentially, and Lender shall not disclose them to third parties and shall limit access to them to what is
   necessary to service the loan, accomplish the normal administrative, accounting, tax-reporting, and other necessary
   functions, to sell all or any part of the loan and to report such information as required to the Comptroller of the
   Currency, the Federal Deposit Insurance Corporation, the Internal Revenue Service, and similar entities.
             5.1.4. No Wnivcr of Default gr Rights. Lender's exercise of any right or remedy provided for herein
   shall not constitute a waiver of, or operate to cure, any default by Borrower under this Agreement, or preclude any
   other right or remedy that is otherwise available to Lender under this Agreement or Governmental Requirements.
   5,2.       Borrower's Ol>ligation to Notify Lender.                                                   •
             5.2. L Ilnnkruptcx, Insolvency, Transfer, or Encumbrance. Borrower shall notify Lender in writing,
   at or before the time of the occurrence of any Event of Default, of such event and shall promptly furnish Lender with
   any and all information on such event that Lender may request.
             5.2.2. Government Notkc, Borrower shall give immediate written notice to Lender of any notice,
   proceeding or inquiry by any Governmental Authority. Borrower shall provide such notice to Lender within five (5)
   days of Borrower's knowledge, constructive or actual, of any such notice, proceeding or inquiry by any Government
   Authority.
   5.3.       Fnuds fur Taxes and Insurance. If Borrower is in default under this Agreement or any of the Loan
   Documents, regardless of whether the default has been cured, then Lender may at any subsequent time, at its option
   to be exercised on 30 days written notice to Borrower, require Borrower to deposit with Lender or its designee, at
   the time of each payment of an installment of interest or principal under the Note, an additional amount sufficient to
   discharge the Secured Obligations as they become due. The calculation of the amount payable and of the fractional
   part of it to be deposited with Lender shall be made by Lender in its sole and absolute discretion. These amounts
   shall be held by Lender or its designee not in trust and not as agent of Borrower and shall not bear interest, and shall
   be applied to the payment of any of the Secured Obligations under the Loan Documents in such order or priority as
   Lender shall determine. If at any time within 30 days before the due date of these obligations the amounts then on
   deposit shall be insufficient to pay the obligations under the Note and this Agreement in full, Borrower shaH deposit
   the amount of the deficiency with Lender within 10 days after Lender's demand. If the amounts deposited are in
   excess of the actual obligations for which they were deposited, Lender may refund any such excess, or, at its option,
   may hold the excess in a reserve account, not in trust and not bearing interest, and reduce proportionately the
   required monthly deposits for the ensuing year. Nothing in this Section shall be deemed to affect any right or
   remedy of Lender under any other provision of this Agreement or under any statute or rule of law to pay any such
   amount and to add the amount so paid to the Indebtedness secured by the Security Instrument. Lender shall have no
   obligation to pay insurance premiums or taxes except to the extent the fund established under this Section is
   sufficient to pay such premiums or taxes, to obtain insurance, or to notify Borrower of any matters relative to the
   insurance or taxes for which the fund is established under this Section.
             Lender or its designee shall hold all amounts so deposited as additional security for the sums secured by the
   Security Instrument. Lender may, in its sole and absolute discretion and without regard to the adequacy of its
   security under the Security Instrument, apply such amounts or any portion of it to any Indebtedness secured by the
   Security Instrument, and such application shall not be construed to cure or waive any default or notice of default
   under this Agreement, or any other Loan Document.

                                                                                                         WA Lo-fl:h & Security Agrei"l
                                                                                                            22-l.llWAl28!a E lod,
                                                                                                                       Pogo 10ofl7




                                                                                                                           Exhibit 1
                                                                                                                       Page 10 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          16 of 64                                                 Pg 19 of 68
               If Lender requires deposits to be made under this Section, Borrower shall deliver to Lender all tax bills,
     bond and assessment statements, statements for insurance premiums, and statements for any other obligations
     referred to' above as soon as Borrower receives such documents.
               If Lender sells or assigns the Loan, Lender shall have the right to transfer all amounts deposited under this
     Section to the purchaser or assignee, After such a transfer, Lender shall be relieved and have no further liability
     Under this Agreement for the application of such deposits, and Borrower shall look solely to such purchaser or
     assignee for such application and for all responsibility relating to such deposits.
     5.4.      Coml)llnnce with Lnw. Borrower shall: (a) maintain a yearly accounting cycle; (b) maintain in full
     force and effect all material licenses, bonds, franchises, leases, trademarks, patents, contracts, and other right's
     necessary or desirable to the conduct of its business, or related to the Collateral; (c) continue in, and limit its
     operations to, substantially the same general lines of business as those presently conducted by it; (d) pay wheh
     due all taxes, license fees, and other charges upon the Collateral or upon Borrower's business, property or the
     income therefrOm; and (e) comply with a!J Governmental Requirements.
     5.5.      Care of Collutcral. Borrower shatl: (a) keep the Collateral in good condition and repair; (b) restore
     and repair to the equivalent of its original condition all or any part of any Collateral that may be damaged tir
     destroyed, whether or not insurance proceeds are available to cover any part of the cost of such restoration and
    repair, and regardless of whether Lender permits the use of any insurance proceeds to be used for restoration
    under this Agreement, Security Instrument, and Collateral Security Agreement; (c) comply with all laws
    affecting the Collateral or requiring that any alterations, repairs, replacements, or improvements be made
    thereon; (d) not commit or permit waste on or to any Collateral, or commit, suffer, or permit any act or
    violation of !aw to occur on it; (e) not abandon any Collateral; (f) notify Lender in writing of any condition of
    any Collateral that may have a significant and measmable effect on its market value; (g) do all other things that
    the character or use of the Collateral may reasonably render necessary to maintain it in the same condition
    (reasonable wear and tear expected) as existed at the date of this Agreement; (h) at all times warrant and defend
               1
    8orrower s ownersbip and possession of the Collateral; and (i) keep the Collateral free from all liens, claims,
    encumbrances and security interests.
    5.6.      1'1·nnsfer of Collateral. Borrower will not, without obtaining the prior written consent of Lender,
    transfer or permit any transfer of any Collateral or any part thereof to be made, or any interest therein to be
   created by way of a sale (except as expressly permitted herein), or by way of a grant of a security interest, or
    by way of a levy or other judicial process.
    5.7,      lndenu1ify Lcndc1·. Borrower shall indemnify and hold the Lender and its successors and assignS
   harmless from and against any and all losses, cost, expense (including, without limitation attorneys' fees,
   consulting fees·and court costs), demand, claim or lawsuit arising out of or related to or in any way connected
   with or arising out of Borrower's breach of the provisions of this Agreement or any of the other Loan
   Documents: Lender may commence, appear in, or defend any action or proceeding purporting to affect the
   rights, duties, or liabilities of the parties to this Agreement, or the Collateral, and Borrower shall pay all of
   Lender's reasonable costs and expenses so incurred on demand. If Borrower fails to provide such indemnity as
   the same accrues and as expenses are incurred, the amount not paid shall be added to the principal amount of
   the Note and bear interest thereon at the same rate then in effect (including any default rate in effect) and shall
   be secured by the same collateral as securing the Note and Loan Documents. This Section shall survive
   execution, delivery, and performance of this Agreement and the other Loan Documents.

   6.       ENVIEONMENTAL MATTERS.

   6.1.      Environmental Indemnity Agreement. Concurrently with the execution of this Agreement,
   Borrower shall execute and deliver to Lender a separate Environmental Indemnity Agreement ("Environmental
   Indemnity") in 'form and substance satisfactory to Lender, pursuant to which Borrower will indemnify, defend;
   and hold Lender harmless from and against any and all losses, damages, claims, costs, and expenses incurred
   by Lender as a result of the existence or alleged existence of hazardous or toxic substances on, under, or about
   the Real Property Collateral in violation of Environmental Laws as provided in the Environmental Indemnity.
   The obligations of the Borrower under the Environmental Indemnity shall not be secured by the Security
   Instrument.
   6.2.      Borrowc1·'s Rcprescptntfons and Wnrrantlcs. Borrower represents and warrants to Lender that each and
   every representation and warranty in the Environmental Indemnity (collectively "Environmental Representations")
   is true and correct.



                                                                                                         WA Loan & Securily Agree
                                                                                                            22-235W Am 18 E 2nd
                                                                                                                     Pa_ge 11 ofl7




                                                                                                                              Exhibit 1
                                                                                                                    Page 11 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          17 of 64                                                 Pg 20 of 68
   6.3.      Sur\ltvlll of Representations nnd Wnn·1111tic§., The Environmental Representations shall be continuing
   and shall be true and correct for the period from the date of this Agreement to the release of the Security Instrument
   (whether by payment of the Indebtedness or foreclosure or action in lieu of foreclosure), and these representations
   and warranties shall survive such release.                                                                               •
   6.4.      Notice to Lender. Borrower shall give prompt written notice to Lender of:
             6.4.1. Any proceeding or inquiry by any Governmental Authority regarding the presence or threatened
   presence of any Hazardous Materials on the Real Property Collateral;
             6.4.2. All claims made or threatened by any third party against Borrower or the Real Property Collateral
   relating to any loss oi- injury resulting from any Hazardous !vlaterials;
             6,4,3. Any notice given to Borrower under Environmental Laws; and
           • 6.4.4. discovery of any occurrence or condition on any real property adjoining or in the vicinity of the
   Real Property Collateral that could cause it or any part of it to be subject to any restrictions on the ownership,
   occupancy, transferability, or use of the Real Property Collateral under any Environmental Laws.
   6,5,      Lender's Hight to .Join Legal Aclions, Lender shall have the right, at its option, but at Borrower's sole
   cost and expense, to join and participate in, as a paiiy if it so elects, any legal proceedings or actions initiated by or
   against Borrower or the Real Property Collateral in connection with any Environmental Laws.

   7.       DEFAULT AND Rl~MEDII<:S.

   7 .1.      l!:v~nt of I)cfflult. The occurrence of any of the following events shall constitute an Event of Default
    under this Agreement:
             7,1.1. .Pavment of lndebtclln1.1ss. Borrower fails to pay any installment of interest and/or principal
   under the Note or any other Indebtedness when due and such failure continues for more than IO days after the date
   such payment.was due and payable whether on maturity, the date stipulated in any Loan Document, by acceleratiori;
   or otherwise,                                                                                                           r
             7.1.2. Pcrform1111re of Obligations. The failure, refusal, or neglect to perform and discharge fully and
   timely any of the Secured Obligations as and when required.
             7,1.3. • .Judgment. If any final judgment, order, or decree is rendered against B.orrowcr or a Guarantor
   and is not paid or executed on, or is not stayed by perfection of an appeal or other appropriate action, such as being
   bonded, or is not otherwise satisfied or disposed of to Lender's satisfaction within 30 days after entry of the
   judgment, order, or decree.
             7.1.4. Voluntary Bankruptcy. If Borrower or any Guarantor (a) seeks entry of an order for relief as a
   debtor in a proceeding under the Bankruptcy Code; (b) seeks, consents to, or does not contest the appointment of a
   receiver or trustee for itself or for all or any part of its property; (c) files a petition seeking relief under the
   bankruptcy, arrangement, reorganization, or other debtor relief laws of the United States or any state or any other
   competent jurisdiction; (d) makes a general assignment for the benefit of its creditors; or (e) states in writing its
   inability to pay its debts as they mature.
             7.1.5. Involuntary Bankruptcy. If (a) a petition is filed against Borrower or any Guarantor seeking
   relief under any bankruptcy, arrangement, reorganization, or other debtor relief laws of the United States or any state
   or other competent jurisdiction; or (b) a court of competent jurisdiction enters an order, judgment, or decree
   appointing, without the consent of Borrower or any Guarantor, a receiver or trustee for it, or for all or any part of its
   property; and (c) such petition, order,judgment, or decree is not discharged or stayed within 30 days after its entry.
             7.1.6. Foreclosure of Other Liens. If the holder of any lien or security interest on the Collateral.
   (without implying Lender's consent to the existence, placing, creating, or permitting of any lien or security interest)
   institutes foreclosure or other proceedings to enforce its remedies thereunder and any such proceedings are not
   stayed or discharged within 30 days after institution of such foreclosure proceedings.                                    .
             7.1.7. Sale, Lease, Encumbrance, or Other Trnnsfc:-. Any sale, lease, exchange, assignment,·
   conveyance, encumbrance (including, but not limited to PACE/HERO loans, any loans where payments are
   collected through property tax assessments, and super-voluntary liens which are deemed to have priority over the
   lien of the Security Instrument) (other than a Permitted Encumbrance as defined in the Security Instrument), transfer
   of possession, or other disposition of all or any portion of the Collateral or any of Borrower's interest in the
   Collateral without Lender's prior written consent; provided, however, that Borrower shall not be in default under
   this Section if Borrower is diligently pursuing a contest or cure of such title or lien issue and Borrower has posted
   adequate security to protect Lender's rights, interest, and priority in the affected Collateral, as determined by
   Lender.


                                                                                                           WA Loon & Socurily Agree
                                                                                                              22-lllWA/2818 E 2nd
                                                                                                                       Page 12 of 17




                                                                                                                            Exhibit 1
                                                                                                                        Page 12 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          18 of 64                                                  Pg 21 of 68
             7. 1.8. Title and Lien Priorlty. If Borrower's, or any other pledgor of Collateral, as applicable, title to
   any or all of the Collateral or Lender's security interest on the Collateral or the status of Lender's lien as a lien and
   security interest in the priority position indicated in any Security Agreement on any Collateral is endangered in any
   manner, and Borrower fails to cure the same on Lender's demand.
             7.1.9. Other Defaults. The occurrence ofan Event of Default or any default, as defined or described in
   the other Loan Documents, or the occurrence ofa default on any Indebtedness or Secured Obligations.
             7.1.10, Levy on Assels. A levy on any of the assets of Borrower or any Guarantor, and such levy is not
   stayed or abated within 30 days after such levy.
             7.1.11. Breach of Represcntntions. The breach of any representation, warranty, or covenant in this
   Agreement or other Loan Documents,
             7.1.12. Dcf,rnlt Under Prior Security lnslr•mnent, m· Lien. The failure to pay on a timely basis, or the
   occurrence of any other default under any note, deed of trust, contract of sale, lien, charge, encumbrance, or security
   interest encumbering or affecting the Collateral and having priority over the lien of Lender.
             7. 1.13. Mnlcriolly Adverse Event. The occurrence of any event that in Lender's judgment materially
   adversely affects (i) the ability of Borrower to perform any of its obligations under this Agreement or under
   any of the Loan Documents, including, without limitation, the occurrence of any event of dissolution or
   termination of Borrower, of any member of Borrower, or of any Guarantor; (ii) the business or financial
   condition of Borrower, or of any member of Borrnwer, or of any Guarantor; or (iii) the operation or value of
   the Collateral.
             7.1.14. Violntlon of Governmentnl Rcguit'emenls. The failure of Borrower, any tenant, or any
   other occupant of the Real Property Collateral to comply with any Governmental Requirement. Any potential
   violation by a tenant or other occupant of the Real Property Collateral of any Governmental Requirement is an
   Event of Default under the terms of this Agreement, then Lender, at Lender's option, may, without prior
   notice, declare all Indebtedness, regardless of the stated due date(s), immediately due and payable and may
   exercise all rights and remedies in this Agreement, and any other Loan Documents.
   7.2.      Remedies. On the occurrence of an Event of Default, Lender may, in addition to any other remedies·
   that Lender may have under this Agreement or under the Loan Documents or by law, at its option and without
   prior demand or notice, take any or all of the following actions;
             7.2.L The Lender may, without prejudice to any of its other rights under any Loan Document or
   Applicable Law, declare all Secured Obligations to be immediately due and payable without presentment, notice of
   intent to accelerate, representation, demand of payment or protest, which are hereby expressly waived.
             7.2.2. The obligation of the Lender, if any, to make additional loans or financial accommodations of
   any kind to the Borrower shall immediately terminate upon the occurrence of an Event of Default.
             7.2.3. [fan Event of Default shall have occurred and be continuing, the Lender may exercise any
   remedy provided by any or all Security Agreements. In addition, the Lender may exercise in respect of any
   Collateral, in addition to other rights and remedies provided for herein (or in any Loan Document) or otherwise
   available to it, all the rights and remedies of a secured party under the applicable Uniform Commercial Code
   (the "Code") whether or not the Code applies to the affected Collateral, and also may (i) require the Borrower
   to, and the Borrower hereby agrees that it will at its expense and upon request of the Lender forthwith,
   assemble all or part of the Collateral as directed by the Lender and make it available to the Lender at a place to
   be designated by the Lender that is reasonably convenient to both parties and (ii) without notice except as
   specified below or Applicable Law, sell the Collateral or any part thereof in one or more lots at public or
   private sale, at any of the Lender's offices or elsewhere, for cash, on credit, or for future delivery, and upon
   such other terms as the Lender may deem commercially reasonable, Borrower agrees that, to the extent notice
   of sale shall be required by law, at least ten days' notice to the Borrower of the time and place of any public
   sale or the time after which any private sale is to be made shall constitute reasonable notification. The Lender,
   shall not be obligated to make any sale of the Collateral regardless of notice of sale having been given. The
   Lender may adjourn any public or private sale from time to time by announcement at the time and place fixed
   therefore, and such sale may, without further notice, be made at the time and place to which it was so
   adjourned,
             7.2.4. Unless otherwise required by Applicable Law, all cash proceeds received by the Lender in
   respect of any sale of, collection from, or other realization upon all or any part of the Collateral may, in the
   discretion of the Lender, be held by the Lender as collateral for, or then or at any time thereafter applied ,in
   whole or in part by the Lender against all or any part of the Secured Obligations in such order as the Lender
   shall elect. Any surplus of such cash or cash proceeds held by the Lender and remaining after the full, and
   final payment of all the Secured Obllgations shall be paid over to the Borrower or to such other Person to

                                                                                                          WA Loan & S1.1-1:1.1rity Agree
                                                                                                             22-235WAl2B I 8 E ind
                                                                                                                     P•g• 13 orJ7.




                                                                                                                             Exhibit 1
                                                                                                                         Page 13 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          19 of 64                                                   Pg 22 of 68
    which the Lender may be required under Applicable Law, or directed by a court of competent jurisdiction, to
    make payment of such surplus.                                                                                         ,
    7,3.      Rights and Remedies Cumulative. All rights and remedies provided for herein or in any other Loan
    Document are not exclusive, each shall be cumulative and in addition to any and all other all other rights and
    remedies existing at !aw or in equity, and all such remedies shall survive the acceleration of one or more of the
    Notes. Lender's exercise or partial exercise of, or failure to exercise, any remedy shall not restrict Lender from
    further exercise of that remedy or any other available remedy. No extension of time for payment or performance of
    any obligation shall operate to release discharge, modify, change or affect the original liability of Borrower for any
    obligations, either in whole or in part.
    7.4.      Wl'livcr of Marshalling. Despite the existence of interests in the Collateral other than that created by the
    Security Agreements, and despite any other provision of this Agreement, if Borrower defaults in paying the
    Indebtedness or in performing any Secured Obligations, Lender shall have the right, in Lender's sole and absolute
    discretion, to establish the order in which the Collateral will be subjected to the remedies provided in this Agreement
    and Security Agreement and to establish the order in which all or any part of the Indebtedness secured by the
    Security Agreement is satisfied from the proceeds realized on the exercise of the remedies provided in the Security
    Agreement. Borrower and any Person who now has or later acquires any interest in the Collateral with actual or
    constructive notice of this Agreement and/or any Security Agreement waives any and all rights to require                  a
    marshaling of assets in connection with the exercise of any of the remedies provided in this Agreement, any Securit}'
    Agreement or otherwise provided by Governmental Requirements.
    7.5.     l.,imitrt'fions on Borrower During Cure Period. For any period during which Borrower has an
    opportunity to cure an Event of Default in accordance with this Agreement, the Note, the Security Agreement or any
    other Loan Document, Borrower shall not (a) make any distributions to its members and (b) make any expenditufes
    outside the ordinary course of business, except to cure a Default of this Agreement, the Note, the Security
    Agreement or any other Loan Document.

    8.       GENERAL TERMS.

    8.1.      No Wniver by Lender. No waiver by Lender of any right or remedy provided by the Loan Documents or
    Governmental Retjulrements shall be effective unless such waiver is in writing and signed by authorized officer(s)
    of Lender. Waiver by Lender of any right or remedy granted to Lender undedhe Loan Documents or Governmental
    Requfrernents as to any transaction or occurrence shall not be deemed a waiver of any future transaction or
    occurrence. The acceptance of payment of any sum secured by the Collateral after its due date, or the payment hy
    Lender of any Indebtedness or the performance by Lender of any Secured Obligations of Borrower under the Loan
    Documents, on Borrower's failure to do so, or the addition of any payment so made by Lender to the Indebtedness
    secured by the Collateral, or the exercise of Lender's right to enter the Real Property Collateral and receive and
    collect the Rents from it, or the assertion by Lender of any other right or remedy under the Loan Documents, shall
    not constitute a waiver of Lender's right to require prompt performance of all other Secured Obligations of
    Borrower under the Loan Documents and payment of the Indebtedness, or to exercise any other right or remedy
    under the Loan Documents for any failure by Borrower to timely and fully pay the Indebtedness and perform its
    Secured Obligations under the Loan Documents. Lender may waive any right or remedy under the Loan Documents
   or Governmental Requirements without notice to or consent from Borrower, any Guarantor of the Indebtedness and
   of the Secured Obligations under the Loan Documents, or any holder or claimant of a lien or other interest in the
   Collateral that is junior to the lien of Lender, and without incurring liability to Borrower or any other Person by so
   doing.
   8.2.       Successors und Assigns. This Agreement is made and entered into for the sole protection and benefit
   of Lender and Borrower and their successors and assigns, and no other Person or Persons shall have any right
   of action under this Agreement. The terms of this Agreement shall inure to the benefit of the successors and
   assigns of the parties, provided, however, that the Borroweris interest under this Agreement cannot be assigned
   or otherwise transferred without the prior consent of Lender.
   8.3.      Notice. Except for any notice required by Governmental Requirements to be given in another manner, (a)
   all notices required or permitted by the Loan Documents shall be in writing; (b) each notice shall be sent (i) for
   personal delivery by a delivery service that provides a record of the date of delivery, the individual to whom
   delivery was made, and the address where delivery was made; (ii) by certified United States miiil, postage prepaid,
   return receipt requested; or (iii) by nationally recognized overnight delivery service, marked for next-business-day
   delivery; and (c) all notices shall be addressed to the appropriate party at its address as follows or such other
   addresses as may be designated by notice given in compliance with this provision:

                                                                                                        WA Loan & Security Ag,,¼
                                                                                                           22-235WN2B1H E2nd·
                                                                                                                   J>~ge 14of\7




                                                                                                                            Exhibit 1
                                                                                                                   Page 14 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          20 of 64                                                Pg 23 of 68
                           Lender:               Socotra REIT ! LLC
                                                 c/o Socotra Capital,
                                                 2208 29th Street, Suite I00,
                                                 Sacramento, CA 95817

                           Borrower:             VH 2nd Street Office, LLC
                                                 3535 Factoria Blvd SE, Suite 500
                                                 Bellevue, WA 98006

               Notices will be deemed effective on the earliest of(a) actual receipt; (b) rejection of delivery;   or
                                                                                                                   (c) if sen·t
    by certified mail, the third day on which regular United States mail delivery service is provided after the day of
    mailing or, if sent by overnight delivery service, on the next day on which such service makes next-business-day
    deliveries after the day of sending.
               To the extent permitted by Governmental Requirements, if there is more than one Borrower, notice to any
    Borrower shall constitute notice to all Borrowers. For notice purposes, Borrower agrees to keep Lender informed at
    all times of Borrower's current address( es),
    8.4.       AuthOl'itV to File Notices. Borrower irrevocably appoints, designates, and authorizes Lender as its
    agent (this agency being coupled with an interest) to file or send to any third party any notice or documents or
    take any other action that Lender reasonably deems necessary or desirable to protect its interest under this
    Agreement, or under the Loan Documents, and will on request by Lender, execute such additional documents
    as Lender may require to further evidence the grant of this right to Lender.
    8.5.      ·Attorncv-ln-Filcl. Borrower irrevocably appoints Lender its true and lawful attorney-in-fact, which
    appointment is coupled with an interest, for purposes of accomplishing any of the foregoing. Borrower further
    nominates and appoints Lender as attorney-in-fact to perfom1 all acts and execute all documents deemed necessary
    by Lender in furtherance of the terms of this Agreement; except, however, for receiving notice on behalf of
    Borrower.
    8.6.       Time. Time is of the essence in the Loan Documents.
    8,7.       Amendments, Termingtion, Wnivcr. No amendment, supplement, termination, or waiver of.any
    provision of this Agreement or of any of the Loan Documents, nor consent to any departure by Borrower from
    the terms of this Agreement or of any of the other Loan Documents, shall be effectiv·e unless i1 is' in writing
    and signed by Lender and Borrower, and then such waiver or consent shall be effective only ln the specific
    instance and for the specific purpose for which given.
    8.8.       Hendings. The article, section and paragraph headings in this Agreement are for reference only and in
    no way define, limit, extend, or interpret the scope of this Agreement or of any particular article or section,
    8.9.       :Vll lidit:r:. If any provision of this Agreement is held to be invalid, that holding shall not affect in any
    respect the validity of the remainder of this Agreement.
    8.10.      Cross-Default. Any default under the terms of any loan agreement, promissory note, deed of trust,
    mortgage, lease, conditional sale contract or other agreement, document or instrument evidencing, governing or
    securing any indebtedness owing by Borrower or any Affiliate of Borrower to Lender or any Affiliate of Lender;
    shall, at Lender's option, constitute an Event of Default under this Agreement Notwithstanding anything contained
    in the Loan Documents to the contrary, any Loan sold, participated, or otherwise transferred to a third party ("Loan
    Sale") shall not be cross-defaulted or cross-collateralized with any other loan not sold or transferred as part of the
    same Loan Sale. The following definitions shall apply to this Section:

                      "Affiliate" means, with respect to any Person, any other Person that is directly or indirectly
                      Controlling, Controlled by or under common Control with, such Person.

                      "Control" and derivative terms means the possession, directly or indirectly, and acting either
                      alone or together with others, of the power or authority to direct or cause the direction of the
                      management, material policies, material business decisions or the affairs of a Person, whether
                      through the ownership of equity securities or interests, by contract or other means.




                                                                                                             WA Lo:m & Sec.urity Agn::e
                                                                                                                12·235WA!1.BJ8 E 2nd
                                                                                                                        P,ge llofl7




                                                                                                                              Exhibit 1
                                                                                                                          Page 15 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          21 of 64                                                      Pg 24 of 68
                      "Person" means any natural person, business, corporation, company, and or association, limited
                      l iability company, partnership, limited partnership, limited liability partnership, joint venture,
                      business enterprise, trust, government auth ority or other legal entity .

                                      BORROWER' S INITIALS: --�

     8 . 1 I . Surv iv a l of Warnmfies. AH agreements, representations, and warranties made in this Agreement
     sh all survive the execution and del ivery of thi s Agreement, of the Loan Documents, and the making of the
     Loan under this Agreement and continue in full force and effect unti l the Secured Ob ligations have been fully
     paid and satisfied .
     8 . 1 2 . Attorney Fees . Borrower agrees t o pay the following costs, expenses, and attorney fees paid o r incurred
     by Lender, or adjudged by a court: (a) reasonable costs of collection and costs, expenses, and attorney fees paid or
     incurred in connection with the collection or enforcement of the Loan Documents, whether or not suit is filed; (b)
   • reasonable costs, expenses, and attorney fees paid or incurred in connection with representing Lender in any
     bankruptcy, reorganization, receivership, or other proceedings affecting creditors' rights and involving a claim under
     the Loan Documents; (c) reasonable costs, expenses, and attorney fees incurred to protect the lien of the Security
     Instrument; and (d) costs of suit and such sum as the court may adjudge as attorney fees in any action to enforce
     payment dfthe Loan Documents or any part of lt.
     8 . 1 3. governing Lnw; Consenl to Ju risdiction a nd Ven ue. This Agreement is made by the Lender and
     accepted by the Borrower in the State of Cali forn ia except that at all times the provisions for the creation, perfection,
     priority, enforcement and foreclosure of the liens and security interests created in the Property under the Loan
     Documents shall be governed by and construed according to the laws of Washington. To the ful lest extent permitted
     by the law of Washington, the law of the State of California shall govern the validity and enforceability of all Loan
     Documents, and the debt or obligations arising hereunder (but the foregoing shall not be construed to limit Lender's
     rights with respect to such security interest created in Wash ington). The parties agree that jurisdictkm and venue for
     any dispute, claim or controversy arising, other than with respect to pe1·fection and enforcement of Lender's rights
     against the Property, shal l be Sacramento County, Califomia, or the applicable federal district court that covers said
     County, and Borrower submits to personal jurisdiction in that forum for any and all purposes. Borrower waives any
     right Borrower may have to assert the doctrine of forum non conveniens or to obj ect to such venue.

                                      BORROWER'S INITIALS: �

   8 . 1 4. Lega l Hclntionsh il?)l, The relationship between Borrower and Lender is that of lender and borrower,
   and no partnership, jo int venture, or other simi lar relationship shall be inferred from this Agreement.
   Borrower shall not have the right or authority to make representations, to act, or to incur debts or liabilities ort
   behal f of Lender. Borrower is not executing th is Agreement as an agent or nominee for an undisclosed
   principal, and no th ird-party beneficiaries are or sha l l be created by the execution of this Agreement.
   8. 1 5. Dispu te Hcsolutlon : Waiver of Right to ,Jmy Tria l.
            8. 1 5. 1 . ARBITRATION. CONCURRENTLY HEREWITH, BORROWER AND ANY GUARANTOR
   SHALL EXECUTE THAT CERTAIN ARBITRATION AGREEMENT WHEREBY BORROWER, ANY
   GUARANTOR, AND LENDER AGREE TO ARBITRATE ANY DISPUTES TO RESOLVE ANY CLAIMS (AS
   DEFINED IN THE ARBITRATION AGREEMENT).
            8. 1 5.2 , WA IVER OF RIGHT TO J U RV TRIAL. CONCURRENTLY HEREWITH, BORROWER
   AND ANY GUARANTOR SHALL EXECUTE THAT CERTAIN ARB!TRATJON AGREEMENT AND
   WAIVER OF RIGHT TO JURY TRIAL WHEREB Y BORROWER, ANY GUARANTOR, AND LENDER
   AGREE TO WAIVE THEIR RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM (AS DEFINED IN
   THE ARBITRATION AGR EEMENT) OR CAUSE OF ACTION BASED ON OR ARISING FROM THE LOAN.

                                      BORROWER' S lN!TIALS :         �f;_,
   8 . 1 6. Counterparts, Thi s Agreement may be si gned in one or more counterparts, each of which shall be
   deemed an original . This Agreement shal l be deemed fully executed and effective when all Parties have executed
   at least one of the counterparts, even though no single counterpart bears all such signatures.
   8. 1 7. Severa bility. If any provision of the Loan Documents, or the appl ication of them to the
   circumstances, is held void, inval id, or unenforceab le by a court of competent jurisdiction, the Loan


                                                                                                             WA Loan & Se<urity Ag,oo
                                                                                                                22·235WA/28 1 8 ff 20,
                                                                                                                        Pago 16 of 17




                                                                                                                                 Exhibit 1
                                                                                                                       Page 16 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          22 of 64                                                    Pg 25 of 68
   Documents, and the applications of such provision to other parties or circumstances, shall not be affected
   thereby, the provisions of the Loan Documents being severable in any such instance.
   8.18.    Cooperation. Borrower acknowledges that Lender and its successors and assigns may (a) sell, transfer, or
   assign the Loan Documents to one or more investors as a whole loan, in a rated or unrated public offering or private
   placement; (b) participate the Loan to one or more investors in a rated or unrated public offering or private
   placement; (c) deposit the Loan Documents with a trust, which trust may sell certificates to investors evidencing an
   ownership interest in the trust assets in a rated or unrated public offering or private placement; or (d) otherwise sell
   the Loan or interest therein to investors in a rated or unrated public offering or private placement. (The transactions
   referred to in clauses (a)-(d) are hereinafter referred to as "Secondary Market Transactions.") Borrower shall, at
   Lender's expense, cooperate in good faith with Lender in effecting any such Secondary Market Transaction and shall
   cooperate in good faith to implement all requirements reasonably imposed by the participants involved in any
   Secondary Market Transaction (including, without limitation, a rating agency and/or an institutional purchaser,
   participant, or investor) including, without limitation, all structural or other changes to the Loan Documents,
   modifications to any documents to the Loan Documents, delivery of opinions of counsel acceptable to the rating
   agency or such other purchasers, participants or investors, and addressing such matters as the rating agency or such
   other purchasers, participants, or investors may require; provided, however, that the Borrower shall not be required
   to modify any documents evidencing or securing the Loan Documents that would modify (i) the interest rate payable
   under the Note, (ii) the stated Maturity Date, (iii) the amortization of principal of the Note, or (iv) any other material
   terms or covenants of the Note. Borrower shall provide such information and documents relating to Borrower, the
   Collateral, any Leases (as defined in the Security Instrument), and any lessees as Lender or the rating agency or such
   other purchasers, participants, or investors may reasonably request in connection with a Secondary Market
   Transaction. Lender shall have the right to provide to the rating agency or prospective purchasers, participants, or
   investors any information in its possession including, without limitation, financial statements relating to Borrower,
   the Collateral, and any lessee. Borrower acknowledges that certain information regarding the Loan and the parties
   thereto and the Real Property Collateral may be included in a private placement memorandum, prospectus, or other
   disclosure documents and consents to the release of such information to third parties.
   8.19.    Obligatlons of Borrowel' Joint and Scvernt. lf more than one Person is named as Borrower, each
   obligation of Borrower under this Agreement shall be the joint and several obligations of each such Person.
   No Modification~ or Amendmentsj No Waiver. Except as specified herein, the Loan Documents may not be
   amended, mo'dified or changed, nor shall any waiver of the provisions hereof be effective, except only by an
   instrument in writing signed by the party against whom enforcement of any waiver, amendment, change,
   modification or discharge is sought. Additionally, a waiver of any provision in one event shall not be construed as a
   waiver of any other provision at any time, as a continuing waiver, or as a waiver of such provision on a subsequent
   event.

                              THIS AGREEMENT MAY BE EXECUTED IN COUNTER-PARTS.

            IN WITNESS WHEREOF, Borrower has executed this Agreement as of the date first written above by and
   through their duly authorized representatives.


   BORROWER:
   VH 2nd Street Office, LLC, a Delaware limited liability company
   By: iCap Vault Management, LLC, a Delaware limited liability company
   Its: Manager
           By: iCap Enterprises, Inc., a Washington corporation
           Its; Manager


            u,, en,,~,;,""""
            Its: P reslde




                                                                                                           WA Lo.an & Se.curity Agn:i::
                                                                                                               22-2J5Wi\/2818 E 2nd
                                                                                                                       Page l7of\7




                                                                                                                              Exhibit 1
                                                                                                                          Page 17 of 17
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          23 of 64                                                    Pg 26 of 68
                                                            EXHIBIT 2




                                                      SECURED NOTE
                               (24 Month Term / I nterest-Only Payments / Balloon Payment)


    $3 ,000,000.00                                                                                          Date: 1 2/1 5/2022
                                                                                                       Sacramento, California
                                                                                                              (city)

    Property A d,lres.�:         2 8 1 8 E. 2nd Street, Vancouver, WA 98661 (the "Property'1

    FOR VALUE RECEI VED, the undersigned, VH 2nd Street Office, LLC, a Delawa re limited lia bility company
    ("Borrower"), whose address is 3535 Factoria Blvd SE, Suite 500, Bellevue, WA 98006, hereby promises to pay to
    Socotra REIT J LLC, a Delaware Limited Liability Com pany (CFL #60OBO1 081 73), or order ("Lender"),                   1'
    whose address is 2208 29th Street, Suite 1 00, Sacramento, California 95 8 1 7, the principal sum of Three Million
    a n d 00/1 00 Dollars ($3,000,000.00), together with interest on the unpaid principal balance of this Note, as follows:

     t.        Interest. i nterest on the unpaid principal balance will accrue from the date th e proceeds have been
    d istributed to or on behalf of the Borrower (the "Date of Advance") at an annual rate equal to Ten and 99/1 00
    percent (10.99%) , B orrower's interest rate m ay change pursuant to Section 2.5 and/or Section 2 . 1 0 and/or Section
    6 of this Note. Interest on this Note is computed on a 30/360 simple interest basis; that is, with the exception of odd
    days before the first fu l l payment cycle, monthly interest is calculated by applying the ratio of the interest rate over a
    year of 360 days, multiplied by the outstanding principal balance, multiplied by a month of 30 d ay s, Interest for the
    odd days before the first full month and any partial month in which the loan is repaid in full is calculated on the
    basis of the actual days and a 3 60-day year and shal l include the day of payoff. All interest payable under this Note
    is computed using this method,
    2.          Payment of Principa l and I nterest,
                        2.1        Payments. Interest-only payments shall be due and payable in consecutive monthly
    installments of Twenty Seven Thousand Four Hundred Seventy Five and 00/100 Dollars ($27,475.00) on the 1 st
    day of each month beginning on 02/01/2023. Such payments shall continue until the entire indebtedness evidenced
    by this Note and aH accrued and unpaid interest and fees are fully paid, with any unpaid principal and interest due
    and payable on 01/01/2025 (the "Maturity Date'}
                        Payments due under the Note shall be made in U.S. currency . However, if any check or other
    instrument received by Lender as payment under the Note or the Security Instrument (as that term is defined in
    Section 1 2 of this Note) is returned to Lender unpaid, Lender may require that any or all subsequent payments due
    under this Note and the Security Instrument be made in one or more of the following forms, as selected by Lender:
    (a) cash; (b) money order; (c) certified check, bank check, treasurer' s check or cashier's check, provided any such
    check is drawn upon an institution whose deposits are insured by a federal agency, instrumental ity, or entity; or (d)
    Electronic Funds Transfer.
                        2.2        Balloon Payment. The payment schedule contained in this loan requires that Borrower
    make a balloon payment on the Maturity Date. This balloon payment is more than double the amount of the regular
    payments.
                        2.3        Order of Aoplica tion ol' Paymen ts. Each payment under this Note shall be credited in
    the following order: (a) costs, fees, charges, and advances paid or incurred by Lender or payable to Lender and
    interest under any provision of this Note or the Deed of Trust, in such order as Lender, in its sole and absolute
    discretion, elects, (b) interest payable under the Note, and (c) principal under the Note.
                        2.4        Delivery of Payments.      Payments due under this Note shall be made to Lender by
    electronic funds transfer by automated clearing house payments ("ACH Payments"). Borrower shall at all times
    maintain a val i d account to be used for ACH Payments and shall ensure sufficient funds in the account to cover the
    amount of each p ayment or debit entry , Borrower's failure to maintain a valid account to be used for ACH Payments
    or failure to deposit and/or maintain sufficient funds in the account for each debit entry, shall be a Default under
    paragraph 4 of this Note. Lender reserves the right, in its sole and absolute discretion, to require payment in any
    other manner.
                        2.5        REMOVED.
                        2.6        REMOVED.
                        2 .7       REMOVED.


                                                                                                                    W A Sccur-ed Noie
                                                                                                                22-2lSWAll 8 1 8 E 2nd
                                                                                                                           Pago I of 7




                                                                                                                                 Exhibit 2
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          24 of 64                                                   Pg Page
                                                                                                                        27 of1 of 7
                                                                                                                                68
                        2.8      £.Q}lateul Resen'e, Out of the Loan proceeds, Lender will hold in reserve an amount
     equal to Thirty Thousand and 00/100 Dollars ($30,000.00) as a collateral reserve account (the "Collateral
     Reserve"). Lender will deposit the Collateral Reserve into a non-interest bearing account, and in its sole and
     absolute discretion, may use the Collateral Reserve to pay for interest payments, maintaining and improving the
     property, including any and all deferred maintenance required on the property, taxes, insurance premiums, supplies,
     and all other costs in which the Lender may need to protect and secure its security interest in the property. Borrower
     agrees that Lender shall have sole and absolute right and discretion to determine the application of funds held in the
     Collateral Reserve. Borrower acknowledges and agrees that the amounts held in reserve under this paragraph are
     part of the Loan principal, and bear interest.                                                                       ''
                       2.9       REMOVED.
                        2.10     Discretlomirv Right to ~:xtension. Lender shall have the discretionary right to extend
    the Maturity Date of the Note in six (6) month increments, without the prior notification to or consent of Borrower.
                                 2.10.1 Extension Fee. If Lender exercises its discretionary right to extend the Maturity
     Date of the Note, Borrower shall pay a brokerage fee of two percent (2%) of the outstanding principal balance as an
     extension fee ("Extension Fee"). A separate Extension Fee will be charged for each six (6) month extension of the
     Maturity Date, at Lender's discretion. Each separate Extension Fee shall bear interest at the contracted rate provided
     in this Note, unless each such fee is paid in full by Borrower within fourteen (14) days of the date of the notice
    described in Section 2.10.2.
                                 2.10.2 Notice of Extension of Maturity lliite. Lender snail provide Borrower with
    notice of the extension within ten (10) days after the Maturity Date.
                •                2.10.3 Adiustabk luterl!st Rate and Pnyment Clrnngcs. Upon Lender exercising its
    discretionary right to extend the Maturity Date of the Note, the interest rate on the unpaid principal balance, which
    shall include the Extension Fee, shall change from a fixed rate of interest to an adjustable rate of interest that may
    change on the first day every month thereafter based on the most recent Index figure as referenced below is as
    follows:
                                            i.       Clrnnge Dates. The date on which Borrower's initial fixed interest
    rate changes to an adjustable interest rate, and each date on which Borrower's adjustabte interest rate could change
    is called a "Change Date."
                                           ii.       The Index. At each Change Date, Borrower's interest rate will be
    based on an Index. The "Index" is the Prime Rate as published in the Wall Street Journal. The most recent !ndeJc
    figure available as of the date of the first day of the month preceding each Change Date is called the "Current
    Index." If the Index is no longer available, Lender will choose a new index that is based upon comparable
    information. Lender will give Borrower notice of this choice.
                                               111.   Calculation o[ Change. Before the Change Date, Lender will
    calculate Borrower's new interest rate by adding Five and 99/100 percentage points (5.99%) ("Margin") to the
    Current Index. Lender will then round the result of this addition to the next higher one-quarter of one percentage
    point (0.25%). Subject to the Floor Rate stated in Section 2. !0.3(iv) below, this rounded amount will be Borrower's
    new interest rate untit the Maturity Date.
                                 Lender will then determine the amount of the monthly payment that would be
    sufficient to repay the unpaid principal that Borrower ls expected to owe at the Change Date in full on the
    Maturity Date at Borrower's new interest rate in substantially equal payments. The result of this calculation
    will be the new amount of Borrower's monthly payment (only applicable if an amortized loan).
                                           iv.       Limits on Interest Rate Change. The interest rate Borrower is
    required to pay at the first Change Date will not be greater than 12.99% or less than 10.99%. Thereafter,
    Borrower's adjustable interest rate will never be increased or decreased on any single Change Date by more than
    two percentage points from the rate of interest Borrower has been paying for the preceding month. Borrower's
    interest rate will never be greater than 20.99% (the "Maximum Rate"), nor less than 10.99% (the "Floor Rate")
    except as provided in Section 6 herein (Interest on Default).
                                          v.        Effective Date of Clurnge. Borrower's new interest rate will become
    effective on the Change Date. Borrower will pay the amount of his, her or their new monthly payment beginning on
    the first monthly payment date after the Change Date.
                                          vi.       Notice of Clumgc, Lender will deliver or mail to me a notice of any
    change in Borrower's interest rate and the amount of Borrower's monthly payment before the effective date of any
    change, The notice will include information required by law to be given to Borrower and also the title and telephone
    number ofa person who will answer any question Borrower may have regarding the notice.


                                                                                                                 WA Soc11red No!e
                                                                                                             22-2J5WN2818 E 2nd
                                                                                                                       Page 2 of7




                                                                                                                          Exhibit 2
                                                                                                                        Page 2 of 7
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          25 of 64                                               Pg 28 of 68
    3.        Late Charg_'::, Borrower acknowledges that default in the payment of any sum due under this Note will
    result in losses and additional expenses to Lender in servicing the indebtedness evidenced by this Note, handling
    such delinquent payments, and meeting its other financial obligations. Borrower further acknowledges that the
    extent of such loss and additional expenses is extremely difficult and impractical to ascertain. Borrower
    acknowledges and agrees that, if any payment due under this Note is not received by Lender within ten (10) days
    when due, a charge of 10 cents ($0.10) for each dollar ($ LOO) that is not paid when due would be a reasonab!e
    estimate of expenses so incurred (the "Late Charge"). Without prejudicing or affecting any other tights or remedies
    of Lender, Borrower shall pay the Late Charge to Lender as liquidated damages to cover expenses incurred in
    handling such de!lnquent payment.
    4.        Default. On (a) Borrower's failure to pay any installment or other sum due under this Note when· due and
    payable (whether by extension, acceleration, or otherwise), (b) an Event of Default (as defined in the Loan
    Agreem~rit), or (c) any breach of any other promise or obligation in this Note or in any other instrument now or
    hereaftersecuring the indebtedness evidenced by this Note, then, and in any such event, Lender may, af its option,
    declare .this Note (including, without limitation, all accrued interest) due and payable immediately regardless of the
    Maturity Date. Bofrower expressly waives notice of the exercise of this option.             •
    5,        Prepayment,
             S,1      REMOVED.
            5.2       i\hility to P11y Prcpavmcnt. Borrower shall have no right' to prepay and Lender shall have no
   duty to accept full or partial prepayment of this Note without Borrower giving Lender thirty (30) days prior written
   notice of his 1 her or its intention to prepay this Note. Said notice shall include the amount Borrower intends to
   repay. Borrower shall pay Lender the principal due under this Note together with (a) any prepayment premium
   contemplated in paragraph 5.1 of this Note and (b) any accrued but yet unpaid interest and fees.
            5.3       Prepayment Waivers. BORROWER ACKNOWLEDGES AND AGREES THAT BORROWER
   HAS NO RIGHT TO PREPAY THIS PROMISSORY NOTE EXCEPT AS PROVIDED IN THIS PARAGRAPH 5.
   BORROWER FURTHER ACKNOWLEDGES AND AGREES THAT [F THE MATURITY DATE IS
   ACCELERATED BY LENDER PURSUANT TO PARAGRAPH 4 OR 8, AND BORROWER OR ANY THIRD
   PERSON (lNCLUDING, WITHOUT LIMITATION, A JUNIOR LIEN LENDER OF THE PROPERTY)
   THEREAFTER SEEKS TO PAY OFF SUCH ACCELERATED INDEBTEDNESS OR PURCHASE THE
   PROPER.TY AT A FORECLOSURE SALE (WHETHER JUDICIAL OR NON-JUDICIAL), SUCH PAYOFF OR
   PURCHASE SHALL CONSTITUTE A PREPAYMENT HEREUNDBR AND THE PREPAYMENT PREMIUM
   SET FORTH ABOVE SHALL BE DUE IN THE EVENT PREPAYMENT OCCURS. BY INITIALING BELOW,
   BORROWER SPECIFICALLY ACKNOWLEDGES AND AGREES THAT BORROWER SHALL PAY THE
   PREPAYMENT PREMIUM, EVEN IN THE CASE WHERE LENDER HAS ACCELERATED THE MATURITY
   DATE PURSUANT TO PARAGRAPH 4 OR PARAGRAPH 8; THAT THE CALCULATION OF THE
   PREPAYMENT PREMIUM IS FAIR AND REASONABLE TO COMPENSATE LENDER FOR THE LOSS
   WHICH LENDER MAY INCUR AS A RESULT OF PREPAYMENT OF THIS PROMISSORY NOTE; THAT
   BORROWER WAIVES ANY RrGHT BORROWER MAY HA VE OR CLAIM TO HA VE UNDER ANY
   STATUTE THAT MAY PREVENT THE COLLECTION OF A PREPAYMENT AS A RESULT OF THE
   LENDER'S INVOCATION OF AN ACCELLERATION PROVISION; AND THAT LENDER HAS MADE THE
   LOAN EVIDENCED BY THIS SECURED NOTE IN RELIANCE ON THE AGREEMENTS AND WAIVERS OF
   BORROWER IN THIS PARAGRAPH 5 AND LENDER WOULD NOT HAVE MADE THE LOAN WITHOUT
   SUCH AGREEMENTS AND WAIVERS.

                                                                   BORROWER'S INITIALS:            <f/6
   6,        Interest on Default. If Borrower is in default under the Loan Documents, then at the sole and absolute;,
   discretion of Lender, the entire unpaid principal balance shall automatically bear an annual interest rate equal to the
   lesser of (a) Twenty-Five and 00/100 Percent (25%) (b) the maximum interest rate allowed by law (the "Default
   Rate"). If the Maturity Date is accelerated, the unpaid principal shall accrue interest at the Default Rate only until
   the default is cured and the Security Instrument is reinstated. Borrower acknowledges and agrees that it would be
   extremely difficult or impractical to fix the actual damages resulting from Borrower'sfailure to pay the principal,
   accrued interest and other sums due on the Maturity Date, and therefore Borrower shall pay interest at the Default
   Rate not as a penalty, but for purposes of defraying the expenses incident to handling the past due principal, accrued
   interestand other sums due under this Note. Interest at the Default Rate represents the reasonable estimate of the
   loss that may be sustained by Lender due to the failure of Borrower to pay the principal, accrued interest and other
   sums due on the Maturity Date. Interest at the Default Rate shall be payable by Borrower without prejudice to the

                                                                                                               WA Secured Not~
                                                                                                           22·ZJSWAl2818 E 2nd
                                                                                                                    Peg~ 3 of?




                                                                                                                        Exhibit 2
                                                                                                                      Page 3 of 7
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          26 of 64                                              Pg 29 of 68
    rights of Lender to collect any other amounts to be paid under this Note (including, without limitation, late charges),
    the Loan Agreement, or the Security Instrument.
    7,        Interest on Interest. If any interest payment under this Note is not paid when due, the unpaid interest shall
    be added to the principal ofthls Note, shall become and be treated as principal, and shall thereafter bear like interest:
    8.        Due-on-Sale. If Borrower sells, contracts to sell, gives an option to purchase, conveys, leases with                   an
    option to purchase, encumbers (including, but not limited to PACE/HERO loans, any loans where payments are
    collected through property tax assessments, and super-voluntary liens which are deemed to have priority over the
    lien of the Security lnstrument), or alienates the Property, or any interest in it, or suffers its title to, or any interest in,
    the Property to be divested, whether voluntarily or involuntarily; or ifthere is a sale or transfer of beneficial interests
    in Borrower; or if Borrower changes or perm its to be changed the character or use of the Property, or drills or
    extracts or enters into any lease for the drilling or extracting of oil, gas, or other hydrocarbon substances or anY
    mineral of any kind or character on the Property; or if title to such Property becomes subject to any lien or charge,
    voluntary or involuntary, contractual or statutory, without Lender's prior written consent, then Lender, at Lender's
    option, may, without prior notice, declare all sums secured by the Security Instrument, regardless of their stated due
    date(s), immediately due and payable and may exercise all rights and remedies in the Loan Documents.
    9.        Attorney Fees. Borrower agrees to pay the following costs, expenses, and attorney fees (as "attorney fees"
    are defined in section 1.1 of the Deed of Trust) paid or incurred by Lender, or adjudged by a court: (a) reasonable
    costs of collection and costs, expenses, and attorney fees paid or incurred in connection with the collection or
    enforcement of this Note, whether or not suit is filed; (b) reasonable costs, expenses, and attorney fees paid or
    incurred in connection with representing Lender in any bankruptcy, reorganization, receivership, or other
    proceedings affecting creditors' rights and involving a claim under this Note; (c) reasonable costs, expenses, and
    attorney fees incurred to protect the lien of the Deed of Trust; and (d) costs of suit and such sum as the court may
    adjudge as attorney fees in any action to enforce payment of this Note or any part ofit.
    10.       Waiver. Borrower, endorsers, and all other persons liable or to become liable on this Note waive
    diligence, presentment, protest and demand, and also notice of protest, demand, nonpayment, dishonor and maturity
    and consents to any extension of the time or terms of payment hereof, any and all renewals or extensions of the
    terms hereof, any release of all or any part of the security given for this Note, any acceptance of additional security
    of any kind and any release of any party liable under this Note. Any such renewals or extensions may be made
    without notice to Bonowcr.
    1].       ~ - Any notice required to be provided in this Note shall be given in writing and shall be sent (a) for
    personal delivery by a delivery service that provides a record of the date of delivery, the individual to whom
    delivery was made, and the address'where delivery was made; (b) by first-class certified United States mail, postage
    prepaid, return receipt requested; or (c) by a nationally recognized overnight courier service, marked for next day
    business delivery. All notices shall be addressed to the party to whom such notice is to be given at the following
    addresses:


                            Lender:                Socotra REIT l LLC
                                                   c/o Socotra Capital,
                                                   2208 29 th Street, Suite 100,
                                                   Sacramento, CA 95817

                            Borrower:              VH 2nd Street Office, LLC
                                                   3535 Factoria Blvd SE, Suite 500
                                                   Bellevue, WA 98006

    or to such other address as a party may designate by written notice to the other, All notices shall be deemed effective
    on the earliest of (a) actual receipt; (b) rejection of delivery; (c) if sent by certified mail, the third day on which
    regular United States mail delivery service is provided after the day of mailing or, if sent by overnight delivery
    service, on the next day on which such service makes next-business-day deliveries after the day of sending.
    12.       Secured by Deed of Trust. This Note is secured by, among other things, that certain Deed of Trust,
    Assignment of Leases and Rents, Fixture Filing, and Security Agreement (the "Deed of Trust" or "Security
    Instrument") of even date herewith made by Borrower, as trustor, for the benefit of Lender, as beneficiary.
    13.       l<'orbcan11H:c Not n Waiver. If Lender delays in exercising or fails to exercise any of its rights under this
    Note, that delay or failure shall not constitute a waiver of any Lender rights or of any breach, default, or failure of


                                                                                                                         WA Sc~ur,ed Noio
                                                                                                                    l2-2JIWAl2818 ll 2nd
                                                                                                                               Page 4 or7




                                                                                                                                  Exhibit 2
                                                                                                                                Page 4 of 7
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          27 of 64                                                       Pg 30 of 68
     condition under this Note. No waiver by Lender of any of its rights or of any such breach, default, or failure of
     condition sha!l be effective, unless the waiver is expressly stated in a writing signed by Lender.                        ,
     14.       Assignment. This Note inures to and binds the heirs, legal representatives, successors, and assigns of
     Borrower and Lender; provided, however, that Borrower may not assign this Note or any proceeds of it, or assign· or
     delegate any of its rights or obligations, without Lender's prior written consent in each instance. Lender in its sole
     discretion may transfer this Note, and may sell or assign participations or other interests in all or any part of this
     Note, all _without notice to or the consent of Borrower.
     15.       Usury. All agreements between Borrower and Lender are expressly limited, so that in no event or
     contingency, w_hether because of the advancement of the proceeds of this Note, acceleration of maturity of the
     unpaid ·principal balance, or otherwise, shall the amount paid or agreed to be paid to Lender for the use, forbearance,
    or retention of the money to be advanced under this Note exceed the highest lawful rate permissible under applicable
     usury laws. If, under any circumstances, fulfillment of any provision of this Note, or the Loan Documents, after
    timely performance of such provision is due, shall involve exceeding the limit of validity prescribed by law that a
    court of competent jurisdiction deems applicable, then 1 ipso facto, the obligations to be fulfilled shall be reduced to
    the limit of such validity. If, under any circums1ances, Lender shall ever receive as interest an amount. that exceeds
    the highest lawful rate, the amount that would be excessive interest shall be applied to reduce the unpaid principal
    balance under this Note and not to pay interest, or, if such excessive interest exceeds the unpaid principal' balance
    under this Note, such excess shall be refunded to Borrower. This provision shall control every other provision of all
    agreements between Borrower and Lender.
    16.        Capita Ii.zed Terms. Capitalized terms used but not defined herein shall have the meaning ascribed to such
    term in the Loan Documents (as defined in the Loan Agreement).
    17,        Lonn Agl'C-emcut. This Note is also secured by and is subject to the provisions of that certain Loan and
    Security Agreement of even date herewith (the "Loan Agreement") between Borrower and Lender, and all Collateral
    referenced and incorporated in the Loan Agreement. As specifically provided in the Loan Agreement, if Borrower
    defaults under this Note, Lender has the right and option to foreclose against any Collateral provided under the Loan
    Agreement.
    18.       Time Is of the gsscnce. Time is of the essence with respect to all obligations of Borrower under this Note.
    19.       Cross~Default. Any default under the terms of any loan agreement, promissory note, deed of trust,             .,
    mortgage, lease, conditional sale contract or other agreement, document or instrument evidencing, governing-or
    sccuri_ng any indebtedness owing by Borrower 01· any Affiliate of Borrower to Lender or any Affiliate of Lender;
    shall, at Lender's option, constitute a default under this Note. The following definitions shall apply to this Section:

             "Affiliate" means, with respect to any Person, any other Person that is directly or ifldire"ctly Controlling,
             Controlled by or under common Control with, such Person.

             "Control" and derivative terms means the possession, directly or indirectly, and acting either alone or
             together with others, of the power or authority to direct or cause the direction of the management, material
             policies, material business decisions or the affairs of a Person, whether through the ownership of equity
             securities or interests, by contract or other means.

             "Person" means any natural person, business, corporation, company, and or association, limited liability
             company, partnership, limited partnership, limited liability partnership, joint venture, business enterprise,
             trust, government authority or other legal entity,

                                                                      BORROWER'S INITIALS:~

   20.    Dispute Rc.soluHon~ Waiver of Right to Jury Trial.
          20.l    ARBITRATION. CONCURRENTLY HEREWITH, BORROWER AND ANY GUARANTOR
   SHALL EXECUTE THAT CERTAIN ARBITRATION AGREEMENT WHEREBY BORROWER, ANY
   GUARANTOR, AND LENDER AGREE TO ARBITRATE ANY DISPUTES TO RESOLVE ANY CLAIMS (AS
   DEFINED IN THE ARBITRATION AGREEMENT).
          20.2    WAIVER 01' ltlGHT TO ,ll!RY TRIAL. TO THE EXTENT PERMITTED BY SAID
   APPLICABLE LAW, BORROWER, ANY GUARANTOR, AND LENDER AGREE TO WAIVE THEIR
   RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED ON, OR
   ARISING FROM, THIS NOTE THE SCOPE OF THIS WAIVER IS INTENDED TO BE ALL-ENCOMPASSING
   OF A"IY AND ALL DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO THE

                                                                                                                    WA Secured Note
                                                                                                               22-235W,V28 I 8 E 2nd
                                                                                                                         Page 5 of7




                                                                                                                                Exhibit 2
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          28 of 64                                                   Pg Page
                                                                                                                        31 of5 of 7
                                                                                                                                68
    SUBJECT MATTER OF THIS TRANSACTION, INCLUDING, WITHOUT LIMITATION, CONTRACT
    CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW AND
    STATUTORY CLAIMS. BORROWER AND, BY ITS ACCEPTANCE OF BENEFITS OF THIS NOTE.,
    LENDER EACH (A) ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT FOR
    BORROWER AND LENDER TO ENTER INTO A BUSINESS RELATIONSHIP, THAT BORROWER AND
    LEI\DER HA VE ALREADY RELIED ON THIS WAIVER BY ENTERING INTO THIS NOTE OR ACCEPTING
    ITS BEJ\'EFITS, AS THE CASE MAY BE, AND THAT EACH SHALL CONTINUE TO RELY ON THIS
    WAIVER IN THEIR RELATED FUTURE DEALINGS, AND (B) FURTHER WARRANTS AND REPRESENTS
    THAT EACH HAS REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL, AND THAT EACH
    KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION
    WITH LEGAL COUNSEL. THIS WAIVER IS IRREVOCABLE, IT MAY NOT BE MODIFIED EITHER
    ORALLY OR 1N WRITING, AND THIS WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS,
    RENEWALS, SUPPLEMENTS, OR MODIFICATIONS TO THIS NOTE.

                                                                     BORROWER'S INITIALS:             ~g
     21.       Rcprcscntntion on Use of Proceeds. Borrower represents and warrants to Lender that the proceeds of this
    Note will be used solely for business, commercial investment, or similar purposes, and that no portion of it will be
     used for personal, family, or household purposes.
     22.       Assignment. Holder may, at its sole option, assign this Promissory Note and/or designate any other person
     or entity as the holder hereof.
    23.        No Modifications or Amenslmg,its; l'jo Waiver. Except as specified herein, this Promissory Note may not
    be amended, modified or changed, nor shall any waiver of the provisions hereof be effective, except only by an
     instrument in writing signed by the party against whom enforcement of any waiver, amendment, change,
     modification or discharge is sought. Additionally, a waiver of any provision in one event shall not be construed as a
    waiver of any other provision at any time, as a continuing waiver, or as a waiver of such provision on a subsequent
    event:
    24.        Severability. Any provision of this Promissory Note which shall be held by a court of competent
    jurisdiction to be invalid, void or illegal shall in no way affect, impair or invalidate any other provision or term
    hereof, and such other provisions or terms shall remain in full force and effect.
    25.        Successors and Assigns. Whenever used herein, the terms "Lender" and "Borrower" shall be deemed to
    include their respective heirs, personal representatives, successors and assigns.
    26.        Cooperation. Borrower acknowledges that Lender and its successors and assigns may (a) sell, transfer, or
    assign the Deed of Trust, this Note, and other Loan Documents to one or more investors as a whole loan, in a rated
    or unrated public offering or private placement; (b) participate the Loan secured by the Deed of Trust to one or more
    investors in a rated or unrated public offering or private placement; (c) deposit the Deed of Trust, this Note, and
    other Loan Documents with a trust, which trust may sell certificates to investors evidencing an ownership interest in
    the trust assets in a rated or unrated public offering or private placement; or (d) otherwise sell the Loan or interest
    therein to investors in a rated or unrated public offering or private placement. (The transactions referred to in clauses
    (a)-(d) are hereinafter referred to as "Secondary Market Transactions.") Borrower sha11, at Lender's expense,
    cooperate in good faith with Lender in effecting any such Secondary Market Transaction and shall cooperate in good
    faith to implement all requirements reasonably imposed by the participants involved in any Secondary Market
    Transaction (including, without limitation, a Rating Agency and/or an institutional purchaser, participant, or
    investor) including, without limitation, all structural or other changes to the Loan, modifications to any documents
    evidencing or securing the Loan, delivery of opinions of counsel acceptable to the Rating Agency or such other
    purchasers, participants or investors, and addressing such matters as the Rating Agency or such other purchasers,
    participants, or investors may require; provided, however, that the Borrower shall not be required to modify any
    documents evidencing or seeming the Loan that would modify (i) the interest rate payable under this Note, (ii) the.
    stated maturity of this Note, (iii) the amortization of principal of this Note, or (iv) any other material terms or
    covenants of the Loan. Borrower shall provide such information and documents relating to Borrower, the Property,
    the Leases, and any lessees as Lender or the Rating Agency or such other purchasers, participants, or investors may.
    reasonably request in connection with a Secondary Market Transaction. Lender shall have the right to provide to the·
    Rating Agency or prospective purchasers, participants, or investors any information in its possession including,
    without limitation, financial statements relating to Borrower, the Property, and any lessee. Borrower acknowledges
    that certain information regarding the Loan and the parties thereto and the Property may be included in a private
    placement memorandum, prospectus, or other disclosure documents.

                                                                                                                  WA Sec.ur-ed Note
                                                                                                              22-2llll'A/2818 E 2n<l
                                                                                                                         Pagtl 6 of7




                                                                                                                            Exhibit 2
                                                                                                                          Page 6 of 7
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          29 of 64                                                Pg 32 of 68
    27.       Obligations of Horrower ,foint and Scve1·ul. If more than one Person or entity ls named as Borrower,
    each obligation of Borrower under this Note shall be the joint and several obligations of each individual such Person
    or entity. Any percentages that appear in the identification of the Borrower shall have no effect on the obligations
    under this Note, and each individual Person or entity named as Borrower shall be jointly and severally responsible
    for one-hundred percent (100%) of the obligations under this Note.

                            THIS AGREEMENT MAY BE EXECUTED IN COUNTER-PARTS
    BORROWER:
    VH 2nd Street Office, LLC, a Delaware limited liability company
    By: iCap Vault Management, LLC, a Delaware limited liability company
    Its: Manager
            By: iCap Enterprises, Inc., a Washington corporation
            Its: Manager




                                                                                                               WA Secured Note
                                                                                                          22~23lWN2gJg E 2nd
                                                                                                                    Pogo 7 of7




                                                                                                                         Exhibit 2
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          30 of 64                                            Pg Page
                                                                                                                 33 of7 of 7
                                                                                                                         68
                                                              EXHIBIT 3


                                                                                                           6096728 DT
                                                                                                           Total Pages:18 Rec: $221.50
                                                                                                           eRecorded in Clark County, WA
                                                                                                           12/20/2022 3:00 PM
                                                                                                           MUL TI:$832.00
                                                                                                           Fidelity National Title
                                                                                                           Vancouver




     WHEN RECORDED, RETURN TO:

     Socotra REIT I LLC
     c/o Socotra Capital
     2208 29th Street, Suite 100
     Sacramento, California 95817

     Loan No. 22-235WA



            DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS, FIXTURE FILING, AND
      612887 6 0 3 . MM           SECURITY AGREEMENT

     Note Amount: $3,000,000.00
     Property Address: 2818 E. 2nd Street, Vancouver, WA 98661
     AP:'11: 031065000 & 986062503
       Lot(s) 1 and 2 of The Grand Warehouse Short Plat, recorded in Book 4, Page 355
       THIS DOCUMENT CONSTITUTES A FIXTURE FILING IN ACCORDANCE WITH THE WASHINGTON
                                UNIFORM COMMERCIAL CODE.

     This Deed of Trust, Assignment of Leases and Rents, Fixture Filing, and Security Agreement (the "Security
     Instrument" or "Deed of Trust") is made as of 12/15/2022, among VH 2nd Street Office, LLC, a Delaware limited
     liability company ("Borrower"), whose address is 3535 Factoria Blvd SE, Suite 500 Bellevue WA 98006; Fidelity
     National Title, as trustee ("Trustee"); and Socotra REIT I LLC, a Delaware Limited Liability Company (CFL
     #60DBOI 08173) ("Lender"), whose address is c/o Socotra Capital, 2208 29 th Street, Suite I 00, Sacramento,
     California 95817.

     TRANSFER OF RIGHTS IN THE PROPERTY

                To secure the full and timely payment of the Indebtedness and the full and timely performance and
     discharge of the Obligations, Borrower GRANTS, BARGAINS, SELLS, AND CONVEYS to Trustee the
     Mortgaged Property, with power of sale and right of entry, subject only to the Permitted Encumbrances, to have and
     to hold the Mortgaged Property to Trustee, its successors in trust, and the Trustee's assigns forever, and Borrower
     does hereby bind itself, its successors, and its assigns to warrant and forever defend the title to the Mortgaged
     Property to Trustee against anyone lawfully claiming it or any part of it; provided, however, that if the Indebtedness
     is paid in full as and when it becomes due and payable and the Obligations are performed on or before the date they
     are to be performed and discharged, then the liens, security interests, estates, and rights granted by the Loan
     Documents shall terminate; otherwise, they shall remain in full force and effect. As additional security for the full
     and timely payment of the Indebtedness and the full and timely performance and discharge of the Obligations,
     Borrower grants to Lender a security interest in the Personalty, Fixtures, Leases, and Rents under Article Nine of the
     Uniform Commercial Code in effect in the state where the Mortgaged Property is located. Borrower further grants,
     bargains, conveys, assigns, transfers, and sets over to Trustee, acting as both a trustee and an agent for Lender under
     this Security Instrument, a security interest in and to all of Borrower's right, title, and interest in, to, and under the
     Personalty, Fixtures, Leases, Rents, and Mortgaged Property (to the extent characterized as personal property) to
     secure the full and timely payment of the Indebtedness and the full and timely performance and discharge of the
     Obligations.
                Borrower agrees to execute and deliver, from time to time, such further instruments, including, but not
      limited to, security agreements, assignments, and UCC financing statements, as may be requested by Lender to
      confirm the lien of this Security Instrument on any of the Mortgaged Property.
                Borrower further irrevocably grants, transfers, and assigns to Lender the Rents. This assignment of Rents
      is to be effective to create a present security interest in existing and future Rents of the Mortgaged Property.
                TO MAINTAIN AND PROTECT THE SECURITY OF THIS SECURITY INSTRUMENT, TO SECURE
      THE FULL AND TIMELY PERFORMANCE BY BORROWER OF EACH AND EVERY OBLIGATION,

                                                                                                                    WA Deed of Trust
                                                                                                                22-2J5WA/2818 E 2nd
                                                                                                                        Page I of 18




                                                                                                                                       Exhibit 3
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          31 of 64                                                            PgPage
                                                                                                                                 34 1ofof 68
                                                                                                                                          18
             COVENANT, AND AGREEMENT OF BORROWER UNDER THE LOAN DOCUMENTS, AND AS
             ADDITIONAL CONSIDERATION FOR THE INDEBTEDNESS AND OBLIGATIONS EVIDENCED BY THE
             LOAN DOCUMENTS, BORROWER HEREBY COVENANTS, REPRESENTS, AND AGREES AS FOLLOWS:

             DEFINITIONS.

                       Definitions. For purposes of this Security Instrument, each of the following terms shall have the following
             respective meanings:
                       1.1       "Attorney Fees." Any and all attorney fees (including the allocated cost of in-house counsel),
             paralegal, and law clerk fees, including, without limitation, fees for advice, negotiation, consultation, arbitration, and
             litigation at the pretrial, trial, and appellate levels, and in any bankruptcy proceedings, and attorney costs and
             expenses incurred or paid by Lender in protecting its interests in the Mortgaged Property, including, but not limited
             to, any action for waste, and enforcing its rights under this Security Instrument.
                       1.2       "Borrower."
                                 1.2. I. The named Borrower in this Security Instrument;
                                 1.2.2. The obligor under the Note, whether or not named as Borrower in this Security
             Instrument; and
                                 1.2.3. Subject to any limitations of assignment as provided for in the Loan Documents, the
             heirs, legatees, devisees, administrators, executors, successors in interest to the Mortgaged Property, and the assigns
             of any such person.
                                 All references to Borrower in the remainder of the Loan Documents shall mean the obligor under
             the Note.
                       1.3       "Event of Default." An Event of Default as defined in the Loan Agreement.
                       1.4       "Fixtures." All right, title, and interest of Borrower in and to all materials, supplies, equipment,
             apparatus, and other items now or later attached to, installed on or in the Land or the Improvements, or that in some
             fashion are deemed to be fixtures to the Land or Improvements under the laws of the state where the Mortgaged
             Property is located, including the Uniform Commercial Code. "Fixtures" includes, without limitation, all items of
             Personalty to the extent that they may be deemed Fixtures under Governmental Requirements.
                       1.5       "Governmental Authority." Any and all courts, boards, agencies, commissions, offices, or
             authorities of any nature whatsoever for any governmental unit (federal, state, county, district, municipal, city, or
             otherwise) whether now or later in existence.
                       1.6       "Governmental Requirements." Any and all laws, statutes, codes, ordinances, regulations,
             enactments, decrees, judgments, and orders of any Governmental Authority.
                       1.7       "Impositions." All real estate and personal property taxes, water, gas, sewer, electricity, and
             other utility rates and charges; charges imposed under any subdivision, planned unit development, or condominium
             declaration or restrictions; charges for any easement, license, or agreement maintained for the benefit of the
             Mortgaged Property, and all other taxes, charges, and assessments and any interest, costs, or penalties of any kind
             and nature that at any time before or after the execution of this Security Instrument may be assessed, levied, or
             imposed on the Mortgaged Property or on its ownership, use, occupancy, or enjoyment.
                       1.8       "Improvements." Any and all buildings, structures, improvements, fixtures, and appurtenances
             now and later placed on the Mortgaged Property, including, without limitation, all apparatus and equipment, whether
             or not physically affixed to the land or any building, which is used to provide or supply air cooling, air conditioning,
             heat, gas, water, light, power, refrigeration, ventilation, laundry, drying, dish washing, garbage disposal, or other
             services; and all elevators, escalators, and related machinery and equipment, fire prevention and extinguishing
             apparatus, security and access control apparatus, partitions, ducts, compressors, plumbing, ovens, refrigerators,
             dishwashers, disposals, washers, dryers, awnings, storm windows, storm doors, screens, blinds, shades, curtains,
             curtain rods, mirrors, cabinets, paneling, rugs, attached floor coverings, furniture, pictures, antennas, pools, spas,
             pool and spa operation and maintenance equipment and apparatus, and trees and plants located on the Mortgaged
             Property, all of which, including replacements and additions, shall conclusively be deemed to be affixed to and be
             part of the Mortgaged Property conveyed to Trustee under this Security Instrument.
                       1.9       "Indebtedness." The principal of, interest on, and all other amounts and payments due under or
             evidenced by the following:                                                                     .
                                 1.9.1. The Note (including, without limitation, the prepayment premium, late payment, and
             other charges payable under the Note);
                                 1.9.2. The Loan Agreement;
                                 1.9.3. This Security Instrument and all other Loan Documents;

                                                                                                                            WA Deed.of Trust
                                                                                                                        22-235WA/2818 E 2nd
                                                                                                                                Page 2 of18




                                                                                                                                      Exhibit 3
                                                                                                                                   Page 2 of 18
             23-01243-WLH11
                          23-01259-WLH11
                               Doc 618 Filed
                                           Claim
                                             03/18/24
                                                 1-1 Filed
                                                       Entered
                                                           01/23/24
                                                               03/18/24
                                                                      Pg12:01:26
                                                                         32 of 64                                             Pg 35 of 68
Clark Auditor 12/20/2022 3:00 PM   6096728   Page:2/18
                                 1.9.4. All funds later advanced by Lender to or for the benefit of Borrower under any provision
             of any of the Loan Documents;
                                 1.9.5. Any future loans or amounts advanced by Lender to Borrower when evidenced by a
             written instrument or document that specifically recites that the Obligations evidenced by such document are
             secured by the terms of this Security Instrument, including, but not limited to, funds advanced to protect the security
             or priority of the Security Instrument; and
                                 1.9.6. Any amendment, modification, extension, rearrangement, restatement, renewal,
             substitution, or replacement of any of the foregoing.
                       1.10      "Land." The real estate or any interest in it described in Exhibit "A" attached to this Security
             Instrument and made a part of it, together with all Improvements and Fixtures and all rights, titles, and interests
             appurtenant to it.
                       1.11      "Leases." Any and all leases, subleases, licenses, concessions, or other agreements (written or
             verbal, now or later in effect) that grant a possessory interest in and to, or the right to extract, mine, reside in, sell, or
             use the Mortgaged Property, and all other agreements, including, but not limited to, utility contracts, maintenance
             agreements, and service contracts that in any way relate to the use, occupancy, operation, maintenance, enjoyment,
             or ownership of the Mortgaged Property, except any and all leases, subleases, or other agreements under which
             Borrower is granted a possessory interest in the Land.
                       1.12      "Lender." The named Lender in this Security Instrument and the owner and holder (including a
             pledgee) of any Note, Indebtedness, or Obligations secured by this Security Instrument, whether or not named as
             Lender in this Security Instrument, and the heirs, legatees, devisees, administrators, executors, successors, and
             assigns of any such person.
                       1.13      "Loan." The extension of credit made by Lender to Borrower under the terms of the Loan
             Documents.
                       1.14      "Loan Agreement." The Loan and Security Agreement given by Borrower evidencing the Loan,
             in such form as is acceptable to Lender, together with any and all rearrangements, extensions, renewals,
             substitutions, replacements, modifications, restatements, and amendments to thereto.
                       1.15      "Loan Documents." Collectively, this Security Instrument, the Note, and all other instruments
             and agreements required to be executed by Borrower or any guarantor in connection with the Loan.
                       1.16      "Mortgaged Property." The Land, Improvements, Fixtures, Personalty, Leases, and Rents that is
             described as follows:

             SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF,

             commonly known as 2818 E. 2nd Street, Vancouver, WA 98661, APN: 031065000 & 986062503

             together with:
                                  1.16.1. All right, title, and interest (including any claim or demand or demand in law or equity)
             that Borrower now has or may later acquire in or to such Mortgaged Property; all easements, rights, privileges,
             tenements, hereditaments, and appurtenances belonging or in any way appertaining to the Mortgaged Property; all of
             the estate, right, title, interest, claim, demand, reversion, or remainder of Borrower in or to the Mortgaged Property,
             either at law or in equity, in possession or expectancy, now or later acquired; all crops growing or to be grown on
             the Mortgaged Property; all development rights or credits and air rights; all water and water rights (whether or not
             appurtenant to the Mortgaged Property) and shares of stock pertaining to such water or water rights, ownership of
             which affects the Mortgaged Property; all minerals, oil, gas, and other hydrocarbon substances and rights thereto in,
             on, under, or upon the Mortgaged Property and all royalties and profits from any such rights or shares of stock; all
             right, title, and interest of Borrower in and to any streets, ways, alleys, strips, or gores of land adjoining the Land or
             any part of it that Borrower now owns or at any time later acquires and all adjacent lands within enclosures or
             occupied by buildings partly situated on the Mortgaged Property;
                                  1.16.2. All intangible Mortgaged Property and rights relating to the Mortgaged Property or its
              operation or used in connection with it, including, without limitation, permits, licenses, plans, specifications,
              construction contracts, subcontracts, bids, deposits for utility services, installations, refunds due Borrower, trade
              names, trademarks, and service marks;                                          .                     . .
                                   1.16.3. All of the right, title, and interest of Borrower m and to the land lymg m the bed of any
              street, road, highway, or avenue in front of or adjoining the Land;                                                    .
                                   1.16.4. Any and all awards previously made or later to be made by any Governmental Authonty
              to the present and all subsequent owners of the Mortgaged Property that may be made with respect to the Mortgaged

                                                                                                                                WA Deed ofTrust
                                                                                                                            22-235WA/2818 E 2nd
                                                                                                                                    Page3ofl8




                                                                                                                                         Exhibit 3
                                                                                                                                      Page 3 of 18
             23-01243-WLH11
                          23-01259-WLH11
                               Doc 618 Filed
                                           Claim
                                             03/18/24
                                                 1-1 Filed
                                                       Entered
                                                           01/23/24
                                                               03/18/24
                                                                      Pg12:01:26
                                                                         33 of 64                                                 Pg 36 of 68
Clark Auditor 12/20/2022 3:00 PM   6096728   Page:3/18
             Property as a result of the exercise of the right of eminent domain, the alteration of the grade of any street, or any
             other injury to or decrease of value of the Mortgaged Property, which award or awards are assigned to Lender and
             Lender, at its option, is authorized, directed, and empowered to collect and receive the proceeds of any such award
             or awards from the authorities making them and to give proper receipts and acquittances for them;
                                 l.16.5. All certificates of deposit of Borrower in Lender's possession and all bank accounts of
             Borrower with Lender and their proceeds, and all deposits of Borrower with any Governmental Authority and/or
             public utility company that relate to the ownership of the Mortgaged Property;
                                 1.16.6. All Leases of the Mortgaged Property or any part of it now or later entered into and all
             right, title, and interest of Borrower under such Leases, including cash or securities deposited by the tenants to
             secure performance of their obligations under such Leases (whether such cash or securities are to be held until the
             expiration of the terms of such Leases or applied to one or more of the installments of rent coming due immediately
             before the expiration of such terms), all rights to all insurance proceeds and unearned insurance premiums arising
             from or relating to the Mortgaged Property, all other rights and easements of Borrower now or later existing
             pertaining to the use and enjoyment of the Mortgaged Property, and all right, title, and interest of Borrower in and to
             all declarations of covenants, conditions, and restrictions as may affect or otherwise relate to the Mortgaged
             Property;
                                 1.16.7. Any and all proceeds of any insurance policies covering the Mortgaged Property, whether
             or not such insurance policies were required by Lender as a condition of making the loan secured by this Security
             Instrument or are required to be maintained by Borrower as provided below in this Security Instrument; which
             proceeds are assigned to Lender, and Lender, at its option, is authorized, directed, and empowered to collect and
             receive the proceeds of such insurance policies from the insurers issuing the same and to give proper receipts and
             acquittances for such policies, and to apply the same as provided below;
                                 I. I 6.8. If the Mortgaged Property includes a leasehold estate, all of Borrower's right, title, and
             interest in and to the lease, more particularly described in Exhibit "A" attached to this Security Instrument (the
             Leasehold) including, without limitation, the right to surrender, terminate, cancel, waive, change, supplement, grant
             subleases of, alter, or amend the Leasehold;
                                 1.16.9. All plans and specifications for the Improvements; all contracts and subcontracts relating
             to the Improvements; all deposits (including tenants' security deposits; provided, however, that if Lender acquires
             possession or control of tenants' security deposits Lender shall use the tenants' security deposits only for such
             purposes as Governmental Requirements permit), funds, accounts, contract rights, instruments, documents, general
             intangibles, and notes or chattel paper arising from or in connection with the Mortgaged Property; all permits,
             licenses, certificates, and other rights and privileges obtained in connection with the Mortgaged Property; all soils
             reports, engineering reports, land planning maps, drawings, construction contracts, notes, drafts, documents,
             engineering and architectural drawings, letters of credit, bonds, surety bonds, any other intangible rights relating to
             the Land and Improvements, surveys, and other reports, exhibits, or plans used or to be used in connection with the
             construction, planning, operation, or maintenance of the Land and Improvements and all amendments and
             modifications; all proceeds arising from or by virtue of the sale, lease, grant of option, or other disposition of all or
             any part of the Mortgaged Property (consent to same is not granted or implied); and all proceeds (including premium
             refunds) payable or to be payable under each insurance policy relating to the Mortgaged Property;
                                 1.16.10. All trade names, trademarks, symbols, service marks, and goodwill associated with the
             Mortgaged Property and any and all state and federal applications and registrations now or later used in connection
             with the use or operation of the Mortgaged Property;
                                 1.16.11. All tax refunds, bills, notes, inventories, accounts and charges receivable, credits,
             claims, securities, and documents of all kinds, and all instruments, contract rights, general intangibles, bonds and
             deposits, and all proceeds and products of the Mortgaged Property;
                                 1.16.12. All money or other personal property of Borrower (including, without limitation, any
             instrument, deposit account, general intangible, or chattel paper, as defined in the Unifoi:111 Commercial Code)
             previously or later delivered to, deposited with, or that otherwise comes into Lender's possession;
                                 1.16.13. All accounts, contract rights, chattel paper, documents, instruments, books, records,
             claims against third parties, money, securities, drafts, notes, proceeds, and other items relating to the Mortgaged
             Property;
                                 J. J6. J4. All construction, supply, engineering, and architectural contracts executed and to be
              executed by Borrower for the construction of the Improvements; and
                                 1.16.15. All proceeds of any of the foregoing.



                                                                                                                           WAOeedofTrust
                                                                                                                       22-235WA/2818 E 2nd
                                                                                                                               Page4ofl8




                                                                                                                                    Exhibit 3
                                                                                                                                 Page 4 of 18
             23-01243-WLH11
                          23-01259-WLH11
                               Doc 618 Filed
                                           Claim
                                             03/18/24
                                                 1-1 Filed
                                                       Entered
                                                           01/23/24
                                                               03/18/24
                                                                      Pg12:01:26
                                                                         34 of 64                                            Pg 37 of 68
Clark Auditor 12/20/2022 3:00 PM   6096728   Page:4/18
                              As used in this Security Instrument, "Mortgaged Property" is expressly defined as meaning all or,
             when the context permits or requires, any portion of it and all or, when the context permits or requires, any interest
             in it.

                       1.17      "Note." The Secured Note payable by Borrower to the order of Lender in the principal amount of
             Three Million and 00/100 Dollars ($3,000,000.00), which matures on 01/01/2025, evidencing the Loan, in such
             form as is acceptable to Lender, together with any and all rearrangements, extensions, renewals, substitutions,
             replacements, modifications, restatements, and amendments to the Secured Note.
                       1.18      "Obligations." Any and all of the covenants, warranties, representations, and other obligations
             (other than to repay the Indebtedness) made or undertaken by Borrower to Lender or Trustee as set forth in the Loan
             Documents; any lease, sublease, or other agreement under which Borrower is granted a possessory interest in the
             Land; each obligation, covenant, and agreement of Borrower in the Loan Documents or in any other document
             executed by Borrower in connection with the loan(s) secured by this Security Instrument whether set forth in or
             incorporated into the Loan Documents by reference; each and every monetary provision of all covenants, conditions,
             and restrictions, if any, pertaining to the Mortgaged Property and on Lender's written request, the enforcement by
             Borrower of any covenant by third parties to pay maintenance or other charges, if they have not been paid, or valid
             legal steps taken to enforce such payment within 90 days after such written request is made; if the Mortgaged
             Property consists of or includes a leasehold estate, each obligation, covenant, and agreement of Borrower arising
             under, or contained in, the instrument(s) creating any such leasehold; all agreements of Borrower to pay fees and
             charges to Lender whether or not set forth in this Security Instrument; and charges, as allowed by law, when they are
             made for any statement regarding the obligations secured by this Security Instrument.
                                 The Obligations specifically exclude the Environmental Indemnity Agreement dated the date of
             this Security Instrument, executed by Borrower and any guarantor of the Loan, which is not secured by this Security
             Instrument.
                       1.19      "Permitted Encumbrances." At any particular time, (a) liens for taxes, assessments, or
             governmental charges not then due and payable or not then delinquent; (b) liens, easements, encumbrances, and
             restrictions on the Mortgaged Property that are allowed by Lender to appear in Schedule B, with Parts I and II of an
             ALTA title policy to be issued to Lender following recordation of the Security Instrument; and (c) liens in favor of
             or consented to in writing by Lender.
                       1.20      "Person." Natural persons, corporations, partnerships, unincorporated associations, joint ventures,
             and any other form oflegal entity.
                       1.21     "Personalty." All of the right, title, and interest of Borrower in and to all tangible and intangible
             personal property, whether now owned or later acquired by Borrower, including, but not limited to, water rights (to
             the extent they may constitute personal property), all equipment, inventory, goods, consumer goods, accounts,
             chattel paper, instruments, money, general intangibles, letter-of-credit rights, deposit accounts, investment property,
             documents, minerals, crops, and timber (as those terms are defined in the Uniform Commercial Code) and that are
             now or at any later time located on, attached to, installed, placed, used on, in connection with, or are required for
             such attachment, installation, placement, or use on the Land, the Improvements, Fixtures, or on other goods located
             on the Land or Improvements, together with all additions, accessions; accessories, amendments, modifications to the
             Land or Improvements, extensions, renewals, and enlargements and proceeds of the Land or Improvements,
             substitutions for, and income and profits from, the Land or Improvements. The Personalty includes, but is not
             limited to, all goods, machinery, tools, equipment (including fire sprinklers and alarm systems); building materials,
             air conditioning, heating, refrigerating, electronic monitoring, entertainment, recreational, maintenance,
             extermination of vermin or insects, dust removal, refuse and garbage equipment; vehicle maintenance and repair
             equipment; office furniture (including tables, chairs, planters, desks, sofas, shelves, lockers, and cabinets); safes,
             furnishings, appliances (including ice-making machines, refrigerators, fans, water heaters, and incinerators); rugs,
             carpets, other floor coverings, draperies, drapery rods and brackets, awnings, window shades, venetian blinds,
             curtains, other window coverings; lamps, chandeliers, other lighting fixtures; office maintenance and other supplies;
             loan commitments, financing arrangements, bonds, construction contracts, leases, tenants' security deposits,
             licenses, permits, sales contracts, option contracts, lease contracts, insurance policies, proceeds from policies, plans,
              specifications, surveys, books, records, funds, bank deposits; and all other intangible personal property. Personalty
              also includes any other portion or items of the Mortgaged Property that constitute personal property under the
              Uniform Commercial Code.
                        1.22     "Rents." All rents, issues, revenues, income, proceeds, royalties, profits, license fees, prepaid
              municipal and utility fees, bonds, and other benefits to which Borrower or the record title owner_ of th~ Mo~aged
              Property may now or later be entitled from or which are derived from the Mortgaged Property, mcludmg, without

                                                                                                                          WA Deed ofTrust
                                                                                                                       22-235WA/2818 E 2nd
                                                                                                                               Page 5 of 18




                                                                                                                                    Exhibit 3
                                                                                                                                 Page 5 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          35 of 64                                           Pg 38 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:5/18
              limitation, sale proceeds of the Mortgaged Property; any room or space sales or rentals from the Mortgaged
              Property; and other benefits paid or payable for using, leasing, licensing, possessing, operating from or in, residing
              in, selling, mining, extracting, or otherwise enjoying or using the Mortgaged Property.
                         1.23     "Uniform Commercial Code." The uniform commercial code as found in the statutes of the state
              in which the Mortgaged Property is located.
                         1.24    ••water Rights." All water rights of whatever kind or character, surface or underground,
              appropriative, decreed, or vested, that are appurtenant to the Mortgaged Property or otherwise used or useful in
              connection with the intended development of the Mortgaged Property.
                        Any terms not otherwise defined in this Security Instrument shall have the meaning given them in the Loan
              Agreement and Note, dated of even date herewith between Borrower and Lender.

              UNIFORM COVENANTS

              2.         Repair and Maintenance of Mortgaged Property. Borrower shall (a) keep the Mortgaged Property in
              good condition and repair; (b) not substantially alter, remove, or demolish the Mortgaged Property or any of the
              Improvements except when incident to the replacement of Fixtures, equipment, machinery, or appliances with items
              of like kind; (c) restore and repair to the equivalent of its original condition all or any part of the Mortgaged Property
              that may be damaged or destroyed, including, but not limited to, damage from termites and dry rot, soil subsidence,
              and construction defects, whether or not insurance proceeds are available to cover any part of the cost of such
              restoration and repair, and regardless of whether Lender permits the use of any insurance proceeds to be used for
              restoration under this Security Instrument; (d) pay when due all claims for labor performed and materials furnished
              in connection with the Mortgaged Property and not permit any mechanics' or materialman's lien to arise against the
              Mortgaged Property or furnish a loss or liability bond against such mechanics' or materialman's lien claims; (e)
              comply with all laws affecting the Mortgaged Property or requiring that any alterations, repairs, replacements, or
              improvements be made on it; (f) not commit or permit waste on or to the Mortgaged Property, or commit, suffer, or
              permit any act or violation of law to occur on it; (g) not abandon the Mortgaged Property; (h) cultivate, irrigate,
              fertilize, fumigate, and prune in accordance with prudent agricultural practices; (i) if required by Lender, provide for
              management satisfactory to Lender under a management contract approved by Lender; G) notify Lender in writing
              of any condition at or on the Mortgaged Property that may have a significant and measurable effect on its market
              value; (k) if the Mortgaged Property is rental property, generally operate and maintain it in such manner as to realize
              its maximum rental potential; and (1) do all other things that the character or use of the Mortgaged Property may
              reasonably render necessary to maintain it in the same condition (reasonable wear and tear expected) as existed at
              the date of this Security Instrument.
              3.         Use of Mortgaged Property. Unless otherwise required by Governmental Requirements or unless Lender
              otherwise provides prior written consent, Borrower shall not change, nor allow changes in, the use of the Mortgaged
              Property from the current use of the Mortgaged Property as of the date of this Security Instrument. Borrower shall
              not initiate or acquiesce in a change in the zoning classification of the Mortgaged Property without Lender's prior
              written consent.
              4.         Condemnation and Insurance Proceeds.
                         4.1      Assignment to Lender. The proceeds of any award or claim for damages, direct or consequential,
              in connection with any condemnation or other taking of or damage or injury to the Mortgaged Property, or any part
              of it, or for conveyance in lieu of condemnation, are assigned to and shall be paid to Lender, regardless of whether
              Lender's security is impaired. All causes of action, whether accrued before or after the date of this Security
              Instrument, of all types for damages or injury to the Mortgaged Property or any part of it, or in connection with any
              transaction financed by funds lent to Borrower by Lender and secured by this Security Instrument, or in connection
              with or affecting the Mortgaged Property or any part of it, including, without limitation, causes of action arising in
              tort or contract or in equity, are assigned to Lender as additional security, and the proceeds shall be paid to Lender.
              Lender, at its option, may appear in and prosecute in its own name any action or proceeding to enforce any such
              cause of action and may make any compromise or settlement of such action. Borrower shall notify Lender in
              writing immediately on obtaining knowledge of any casualty damage to the Mortgaged Property or damage in any
              other manner in excess of $2,000.00 or knowledge of the institution of any proceeding relating to condemnation or
              other taking of or damage or injury to all or any portion of the Mortgaged Property. Lender, in its sole and absolute
              discretion, may participate in any such proceedings and may join Borrower in adjusting any loss covered by
              insurance. Borrower covenants and agrees with Lender, at Lender's request, to make, execute, and deliver, at
              Borrower's expense, any and all assignments and other instruments sufficient for the purpose of assigning the


                                                                                                                            WADet:dofTrust
                                                                                                                         22-235WA/2818 E 2nd
                                                                                                                                 Page6ofl8




                                                                                                                                      Exhibit 3
                                                                                                                                   Page 6 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          36 of 64                                             Pg 39 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:6/18
             aforesaid award or awards, causes of action, or claims of damages or proceeds to Lender free, clear, and discharged
             of any and all encumbrances of any kind or nature.
                       4.2      Insurance Payments.         All compensation, awards, proceeds, damages, claims, insurance
             recoveries, rights of action, and payments that Borrower may receive or to which Lender may become entitled with
             respect to the Mortgaged Property if any damage or injury occurs to the Mortgaged Property, other than by a partial
             condemnation or other partial taking of the Mortgaged Property, shall be paid over to Lender and shall be applied
             first toward reimbursement of all costs and expenses of Lender in connection with their recovery and disbursement,
             and shall then be applied as follows:
                                4.2.1. Lender shall consent to the application of such payments to the restoration of the
             Mortgaged Property so damaged only if Borrower has met all the following conditions (a breach of any one of
             which shall constitute a default under this Security Instrument, the Loan Agreement, the Note, and any Loan
             Documents): (a) Borrower is not in default under any of the terms, covenants, and conditions of the Loan
             Documents; (b) all then-existing Leases affected in any way by such damage will continue in full force and effect;
             (c) Lender is satisfied that the insurance or award proceeds, plus any sums added by Borrower, shall be sufficient to
             fully restore and rebuild the Mortgaged Property under then current Governmental Requirements; ( d) within 60 days
             after the damage to the Mortgaged Property, Borrower presents to Lender a restoration plan satisfactory to Lender
             and any local planning department, which includes cost estimates and schedules; (e) construction and completion of
             restoration and rebuilding of the Mortgaged Property shall be completed in accordance with plans and specifications
             and drawings submitted to Lender within 30 days after receipt by Lender of the restoration plan and thereafter
             approved by Lender, which plans, specifications, and drawings shall not be substantially modified, changed, or
             revised without Lender's prior written consent; (f) within 3 months after such damage, Borrower and a licensed
             contractor satisfactory to Lender enter into a fixed price or guaranteed maximum price contract satisfactory to
             Lender, providing for complete restoration in accordance with such restoration plan for an amount not to exceed the
             amount of funds held or to be held by Lender; (g) all restoration of the Improvements so damaged or destroyed shall
             be made with reasonable promptness and shall be of a value at least equal to the value of the Improvements so
             damaged or destroyed before such damage or destruction; (h) Lender reasonably determines that there is an
             identified source (whether from income from the Mortgaged Property, rental loss insurance, or another source)
             sufficient to pay all debt service and operating expenses of the Mortgaged Property during its restoration as required
             above; and (i) any and all funds that are made available for restoration and rebuilding under this Section shall be
             disbursed, at Lender's sole and absolute discretion to Lender, through Lender, the Trustee, or a title insurance or
             trust company satisfactory to Lender, in accordance with standard construction lending practices, including
             a reasonable fee payable to Lender from such funds and, if Lender requests, mechanics' lien waivers and title
             insurance date-downs, and the provision of payment and performance bonds by Borrower, or in any other manner
             approved by Lender in Lender's sole and absolute discretion; or
                                4.2.2. If fewer than all conditions (a) through (i) above are satisfied, then such payments shall
             be applied in the sole and absolute discretion of Lender (a) to the payment or prepayment, with any applicable
             prepayment premium, of any Indebtedness secured by this Security Instrument in such order as Lender may
             determine, or (b) to the reimbursement of Borrower's expenses incurred in the rebuilding and restoration of the
             Mortgaged Property. If Lender elects under this Section to make any funds available to restore the Mortgaged
             Property, then all of conditions (a) through (i) above shall apply, except for such conditions that Lender, in its sole
             and absolute discretion, may waive.
                       4.3      Material Loss Not Covered. If any material part of the Mortgaged Property is damaged or
             destroyed and the loss, measured by the replacement cost of the Improvements according to then current
             Governmental Requirements, is not adequately covered by insurance proceeds collected or in the process of
             collection, Borrower shall deposit with Lender, within 30 days after Lender's request, the amount of the loss not so
             covered.
                       4.4      Total Condemnation Payments. All compensation, awards, proceeds, damages, claims,
             insurance recoveries, rights of action, and payments that Borrower may receive or to which Borrower may become
             entitled with respect to the Mortgaged Property in the event of a total condemnation or other total taking of the
             Mortgaged Property shall be paid over to Lender and shall be applied first to reimbursement of all Lender's costs
             and expenses in connection with their recovery, and shall then be applied to the payment of any Indebtedness
             secured by this Security Instrument in such order as Lender may determine, until the Indebtedness secured by this
             Security Instrument has been paid and satisfied in full. Any surplus remaining after payment and satisfaction of the
             Indebtedness secured by this Security Instrument shall be paid to Borrower as its interest may then appear.
                       4.5      Partial Condemnation Payments. All compensation, awards, proceeds, damages, claims,
             insurance recoveries, rights of action, and payments ("funds") that Borrower may receive or to which Borrower may

                                                                                                                         WADeedofTrust
                                                                                                                     22-235WA/28l8 E 2nd
                                                                                                                             Page 7of18




                                                                                                                                   Exhibit 3
                                                                                                                                Page 7 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          37 of 64                                          Pg 40 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:7/18
             become entitled with respect to the Mortgaged Property in the event of a partial condemnation or other partial taking
             of the Mortgaged Property, unless Borrower and Lender otherwise agree in writing, shall be divided into two
             portions, one equal to the principal balance of the Note at the time of receipt of such funds and the other equal to the
             amount by which such funds exceed the principal balance of the Note at the time of receipt of such funds. The first
             such portion shall be applied to the sums secured by this Security Instrument, whether or not then due, including but
             not limited to principal, accrued interest, and advances, and in such order or combination as Lender may determine,
             with the balance of the funds paid to Borrower.
                        4.6       Cure of Waiver of Default. Any application of such amounts or any portion of it to any
             Indebtedness secured by this Security Instrument shall not be construed to cure or waive any default or notice of
             default under this Security Instrument or invalidate any act done under any such default or notice.
             5.         Taxes and Other Sums Due. Borrower shall promptly pay, satisfy, and discharge: (a) all Impositions
             affecting the Mortgaged Property before they become delinquent; (b) such other amounts, chargeable against
             Borrower or the Mortgaged Property, as Lender reasonably deems necessary to protect and preserve the Mortgaged
             Property, this Security Instrument, or Lender's security for the performance of the Obligations; (c) all
             encumbrances, charges, and liens on the Mortgaged Property, with interest, which in Lender's judgment are, or
             appear to be, prior or superior to the lien of this Security Instrument or all costs necessary to obtain protection
             against such lien or charge by title insurance endorsement or surety company bond; (d) such other charges as Lender
             deems reasonable for services rendered by Lender at Borrower's request; and (e) all costs, fees, and expenses
             incurred by Lender in connection with this Security Instrument, whether or not specified in this Security Instrument.
                        On Lender's request, Borrower shall promptly furnish Lender with all notices of sums due for any amounts
             specified in the preceding clauses 6(a) through (e), and, on payment, with written evidence of such payment. If
             Borrower fails to promptly make any payment required under this Section, Lender may (but is not obligated to)
             make such payment. Borrower shall notify Lender immediately on receipt by Borrower of notice of any increase in
             the assessed value of the Mortgaged Property and agrees that Lender, in Borrower's name, may (but is not obligated
             to) contest by appropriate proceedings such increase in assessment. Without Lender's prior written consent,
             Borrower shall not allow any lien inferior to the lien of this Security Instrument to be perfected against the
             Mortgaged Property and shall not permit any improvement bond for any unpaid special assessment to issue.
             6.         Leases of Mortgaged Property by Borrower. At Lender's request, Borrower shall furnish Lender with
             executed copies of all Leases of the Mortgaged Property or any portion of it then in force. If Lender so requires, all
             Leases later entered into by Borrower are subject to Lender's prior review and approval and must be acceptable to
             Lender in form and content. Each Lease must specifically provide, inter alia, that (a) it is subordinate to the lien of
             this Security Instrument; (b) the tenant attorns to Lender (and Borrower consents to any such attornment), such
             attornment to be effective on Lender's acquisition of title to the Mortgaged Property; (c) the tenant agrees to execute
             such further evidence of attornment as Lender may from time to time request; (d) the tenant's attornment shall not
             be terminated by foreclosure; and (e) Lender, at Lender's option, may accept or reject such attornment. If Borrower
             learns that any tenant proposes to do, or is doing, any act that may give rise to any right of setoff against rent,
             Borrower shall immediately (i) take measures reasonably calculated to prevent the accrual of any such right of
             setoff; (ii) notify Lender of all measures so taken and of the amount of any setoff claimed by any such tenant; and
             (iii) within 10 days after the accrual of any right of setoff against rent, reimburse any tenant who has acquired such
             right, in full, or take other measures that will effectively discharge such setoff and ensure that rents subsequently due
             shall continue to be payable without claim of setoff or deduction.
                        At Lender's request, Borrower shall assign to Lender, by written instrument satisfactory to Lender, all
             Leases of the Mortgaged Property, and all security deposits made by tenants in connection with such Leases. On
             assignment to Lender of any such Lease, Lender shall succeed to all rights and powers of Borrower with respect to
             such Lease, and Lender, in Lender's sole and absolute discretion, shall have the right to modify, extend, or terminate
             such Lease and to execute other further leases with respect to the Mortgaged Property that is the subject of such
             assigned Lease.
                        Neither Borrower, tenant nor any other occupant of the Mortgaged Property shall use the Mortgaged
             Property, except in compliance with all applicable federal, state, and local laws, ordinances, r_ules and regulation~;
             nor shall Borrower, tenant or any other occupant cause the Mortgaged Property to become subject to any use that 1s
             not in compliance with all applicable federal, state, and local laws, ordinances, rules and regulations.
                        ff Borrower suspects any tenant or other occupant of the Mortgaged Property is using the Mortgaged
              Property in a manner that is not in compliance with any Governmental Requireme~t to which Borro"'.er, ten~t, or
              any other occupant of the Mortgaged Property is subject,_ Bor~ow~r sha)l ~mmed1ately take ~ppropnate action to
              remedy the violation, and shall notify Lender of any potential v10lat1on wtthm one (I) day of discovery of any such
              potential violation. Any potential violation by a tenant or any other occupant of the Mortgaged Property of any

                                                                                                                          WA Deed ofTrust
                                                                                                                       22-235WN2818 E 2nd
                                                                                                                               Page8ofl8




                                                                                                                                    Exhibit 3
                                                                                                                                 Page 8 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          38 of 64                                           Pg 41 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:8/18
              Governmental Requirement is an Event of Default under the tenns of the Loan Agreement, the Note and this
              Security Instrument, then Lender, at Lender's option, may, without prior notice, declare all sums secured by this
              Security Instrument, regardless of their stated due date(s), immediately due and payable and may exercise all rights
              and remedies in the Loan Documents.
              7.        Right to Collect and Receive Rents. Despite any other provision of this Security Instrument, Lender
              grants pennission to Borrower to collect and retain the Rents of the Mortgaged Property as they become due and
              payable; however, such pennission to Borrower shall be automatically revoked on default by Borrower in payment
              of any Indebtedness secured by this Security Instrument or in the perfonnance of any of the Obligations, and Lender
              shall have the rights set forth in the laws and regulations where the Mortgaged Property is located regardless of
              whether declaration of default has been delivered, and without regard to the adequacy of the security for the
              Indebtedness secured by this Security Instrument. Failure of or discontinuance by Lender at any time, or from time
              to time, to collect any such Rents shall not in any manner affect the subsequent enforcement by Lender at any time,
              or from time to time, of the right, power, and authority to collect these Rents. The receipt and application by Lender
              of all such Rents under this Security Instrument, after execution and delivery of declaration of default and demand
              for sale as provided in this Security Instrument or during the pendency of trustee's sale proceedings under this
              Security Instrument or judicial foreclosure, shall neither cure such breach or default nor affect such sale
              proceedings, or any sale made under them, but such Rents, less all costs of operation, maintenance, collection, and
              Attorney Fees, when received by Lender, may be applied in reduction of the entire Indebtedness from time to time
              secured by this Security Instrument, in such order as Lender may decide. Nothing in this Security Instrument, nor
              the exercise of Lender's right to collect, nor an assumption by Lender of any tenancy, lease, or option, nor an
              assumption of liability under, nor a subordination of the lien or charge of this Security Instrument to, any such
              tenancy, lease, or option, shall be, or be construed to be, an affinnation by Lender of any tenancy, lease, or option.
                        If the Rents of the Mortgaged Property are not sufficient to meet the costs, if any, of taking control of and
              managing the Mortgaged Property and collecting the Rents, any funds expended by Lender for such purposes shall
              become an Indebtedness of Borrower to Lender secured by this Security Instrument. Unless Lender and Borrower
              agree in writing to other tenns of payment, such amounts shall be payable on notice from Lender to Borrower
              requesting such payment and shall bear interest from the date of disbursement at the rate stated in the Note unless
              payment of interest at such rate would be contrary to Governmental Requirements, in which event the amounts shall
              bear interest at the highest rate that may be collected from Borrower under Governmental Requirements.
                        Borrower expressly understands and agrees that Lender will have no liability to Borrower or any other
              person for Lender's failure or inability to collect Rents from the Mortgaged Property or for failing to collect such
              Rents in an amount that is equal to the fair market rental value of the Mortgaged Property. Borrower understands
              and agrees that neither the assignment of Rents to Lender nor the exercise by Lender of any of its rights or remedies
              under this Security Instrument shall be deemed to make Lender a "mortgagee-in-possession" or otherwise
              responsible or liable in any manner with respect to the Mortgaged Property or the use, occupancy, enjoyment, or
              operation of all or any portion of it, unless and until Lender, in person or by agent, assumes actual possession of it.
              Nor shall appointment of a receiver for the Mortgaged Property by any court at the request of Lender or by
              agreement with Borrower, or the entering into possession of the Mortgaged Property or any part of it by such
              receiver be deemed to make Lender a mortgagee-in-possession or otherwise responsible or liable in any manner with
              respect to the Mortgaged Property or the use, occupancy, enjoyment, or operation of all or any portion of it.
                        During an Event of Default, any and all Rents collected or received by Borrower shall be accepted and held
              for Lender in trust and shall not be commingled with Borrower's funds and property, but shall be promptly paid over
              to Lender.
              8.        Assignment of Causes of Action. Awards, and Damages. All causes of action, and all sums due or
              payable to Borrower for injury or damage to the Mortgaged Property, or as damages incurred in connection with the
              transactions in which the Loan secured by this Security Instrument was made, including, without limitation, causes
              of action and damages for breach of contract, fraud, concealment, construction defects, or other torts, or
              compensation for any conveyance in lieu of condemnation, are assigned to Lender, and all proceeds from such
              causes of action and all such sums shall be paid to Lender for credit against the Indebtedness secured by this
              Security Instrument. Borrower shall notify Lender immediately on receipt by Borrower of notice that any such sums
              have become due or payable and, immediately on receipt of any such sums, shall promptly remit such sums to
              Lender.
                        After deducting all expenses, including Attorney Fees, incurred by Lender in recovering or collecting any
              sums under this Section, Lender may apply or release the balance of any funds received by it under this Section, or
              any part of such balance, as it elects. Lender, at its option, may appear in and prosecute in its own name any action
              or proceeding to enforce any cause of action assigned to it under this Section and may make any compromise or

                                                                                                                          WA Deed ofTrust
                                                                                                                      22-235WA/2818 E 2nd
                                                                                                                              Page 9 of 18




                                                                                                                                    Exhibit 3
                                                                                                                                 Page 9 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          39 of 64                                          Pg 42 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:9/18
              settlement in such action whatsoever. Borrower covenants that it shall execute and deliver to Lender such further
              assignments of any such compensation awards, damages, or causes of action as Lender may request from time to
              time. If Lender fails or does not elect to prosecute any such action or proceeding and Borrower elects to do so,
              Borrower may conduct the action or proceeding at its own expense and risk.
              9.        Defense of Security Instrument; Litigation. Borrower represents and warrants that this Security
              Instrument creates a first position lien and security interest against the Mortgaged Property. Borrower shall give
              Lender immediate written notice of any action or proceeding (including, without limitation, any judicial, whether
              civil, criminal, or probate, or nonjudicial proceeding to foreclose the lien of a junior or senior mortgage or deed of
              trust) affecting or purporting to affect the Mortgaged Property, this Security Instrument, Lender's security for the
              performance of the Obligations and payment of the Indebtedness, or the rights or powers of Lender under the Loan
              Documents. Despite any other provision of this Security Instrument, Borrower agrees that Lender or Trustee may
              (but is not obligated to) commence, appear in, prosecute, defend, compromise, and settle, in Lender's or Borrower's
              name, and as attorney-in-fact for Borrower, and incur necessary costs and expenses, including Attorney Fees in so
              doing, any action or proceeding, whether a civil, criminal, or probate judicial matter, nonjudicial proceeding,
              arbitration, or other alternative dispute resolution procedure, reasonably necessary to preserve or protect, or affecting
              or purporting to affect, the Mortgaged Property, this Security Instrument, Lender's security for performance of the
              Obligations and payment of the Indebtedness, or the rights or powers of Lender or Trustee under the Loan
              Documents, and that if Lender and Trustee elect not to do so, Borrower shall commence, appear in, prosecute, and
              defend any such action or proceeding. Borrower shall pay all costs and expenses of Lender and Trustee, including
              costs of evidence of title and Attorney Fees, in any such action or proceeding in which Lender or Trustee may
              appear or for which legal counsel is sought, whether by virtue of being made a party defendant or otherwise, and
              whether or not the interest of Lender or Trustee in the Mortgaged Property is directly questioned in such action or
              proceeding, including, without limitation, any action for the condemnation or partition of all or any portion of the
              Mortgaged Property and any action brought by Lender to foreclose this Security Instrument or to enforce any of its
              terms or provisions.
              10.       Borrower's Failure to Comply With Security Instrument. If Borrower fails to make any payment or do
              any act required by this Security Instrument, or if there is any action or proceeding (including, without limitation,
              any judicial or nonjudicial proceeding to foreclose the lien of a junior or senior mortgage or deed of trust) affecting
              or purporting to affect the Mortgaged Property, this Security Instrument, Lender's security for the performance of
              the Obligations and payment of the Indebtedness, or the rights or powers of Lender or Trustee under the Loan
              Agreement, the Note or this Security Instrument, Lender or Trustee may (but is not obligated to) (a) make any such
              payment or do any such act in such manner and to such extent as either deems necessary to preserve or protect the
              Mortgaged Property, this Security Instrument, or Lender's security for the performance of Borrower's Obligations
              and payment of the Indebtedness, or the rights or powers of Lender or Trustee under the Loan Documents, Lender
              and Trustee being authorized to enter on the Mortgaged Property for any such purpose; and (b) in exercising any
              such power, pay necessary expenses, retain attorneys, and pay Attorney Fees incurred in connection with such
              action, without notice to or demand on Borrower and without releasing Borrower from any Obligations or
              Indebtedness.
              11.       Sums Advanced to Bear Interest and to Be Secured by Security Instrument. At Lender's request,
              Borrower shall immediately pay any sums advanced or paid by Lender or Trustee under any provision of this
              Security Instrument or the other Loan Documents. Until so repaid, all such sums and all other sums payable to
              Lender and Trustee shall be added to, and become a part of, the Indebtedness secured by this Security Instrument
              and bear interest from the date of advancement or payment by Lender or Trustee at the same rate as provided in the
              Note, unless payment of interest at such rate would be contrary to Governmental Requirements. All sums advanced
              by Lender under this Security Instrument or the other Loan Documents, whether or not required to be advanced by
              Lender under the terms of this Security Instrument or the other Loan Documents, shall conclusively be deemed to be
              mandatory advances required to preserve and protect this Security Instrument and Lender's security for the
              performance of the Obligations and payment of the Indebtedness, and shall be secured by this Security Instrument to
              the same extent and with the same priority as the principal and interest payable under the Note.
              12.       Inspection of Mortgaged Property. In addition to any rights Lender may have under the laws and
              regulations where the Mortgaged Property is located, Lender may make, or authorize other persons, including, but
              not limited to, appraisers and prospective purchasers at any foreclosure sale commenced by Lender, to enter on or
              inspect the Mortgaged Property at reasonable times and for reasonable durations. Borrower shall permit all such
              entries and inspections to be made as long as Lender has given Borrower written notice of such inspection at least 24
              hours before the entry and inspection.


                                                                                                                           WA Deed of Trust
                                                                                                                        22-235WA/2818 E 2nd
                                                                                                                               Page 10ofl8




                                                                                                                                     Exhibit 3
                                                                                                                                 Page 10 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                         Entered
                                                             01/23/24
                                                                 03/18/24
                                                                        Pg12:01:26
                                                                           40 of 64                                           Pg 43 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:10/18
              13.        Uniform Commercial Code Security Agreement. This Security Instrument is intended to be and shall
              constitute a security agreement under the Uniform Commercial Code for any of the Personalty specified as part of
              the Mortgaged Property that, under Governmental Requirements, may be subject to a security interest under the
              Uniform Commercial Code, and Borrower grants to Lender a security interest in those items. Borrower authorizes
              Lender to file financing statements in all states, counties, and other jurisdictions as Lender may elect, without
              Borrower's signature if permitted by law. Borrower agrees that Lender may file this Security Instrument, or a copy
              of it, in the real estate records or other appropriate index or in the Office of the Secretary of State and such other
              states as the Lender may elect, as a financing statement for any of the items specified above as part of the Mortgaged
              Property. Any reproduction of this Security Instrument or executed duplicate original of this Security Instrument, or
              a copy certified by a County Recorder in the state where the Mortgaged Property is located, or of any other security
              agreement or financing statement, shall be sufficient as a financing statement. In addition, Borrower agrees to
              execute and deliver to Lender, at Lender's request, any UCC financing statements, as well as any extensions,
              renewals, and amendments, and copies of this Security Instrument in such form as Lender may require to perfect a
              security interest with respect to the Personalty. Borrower shall pay all costs of filing such financing statements and
              any extensions, renewals, amendments, and releases of such statements, and shall pay all reasonable costs and
              expenses of any record searches for financing statements that Lender may reasonably require. Without the prior
              written consent of Lender, Borrower shall not create or suffer to be created any other security interest in the items,
              including any replacements and additions.
                         On any Event of Default, Lender shall have the remedies of a secured party under the Uniform Commercial
              Code and, at Lender's option, may also invoke the remedies provided in the Non-Uniform Covenants section of this
              Security Instrument as to such items. In exercising any of these remedies, Lender may proceed against the items of
              Mortgaged Property and any items of Personalty separately or together and in any order whatsoever, without in any
              way affecting the availability of Lender's remedies under the Uniform Commercial Code or of the remedies
              provided in the Non-Uniform Covenants section of this Security Instrument.
              14.        Fixture Filing. This Security Instrument constitutes a financing statement filed as a fixture filing under
              Uniform Commercial Code, as amended or recodified from time to time, covering any portion of the Mortgaged
              Property that now is or later may become a fixture attached to the Mortgaged Property or to any Improvement.
              15.        Waiver of Statute of Limitations. Borrower waives the right to assert any statute of limitations as a
              defense to the Loan Documents and the Obligations secured by this Security Instrument, to the fullest extent
              permitted by Governmental Requirements.
              16.        Default. Any Event of Default, as defined in the Loan Agreement, shall constitute an "Event of Default" as
              that term is used in this Security Instrument (and the term "Default" shall mean any event which, with any required
              lapse of time or notice, may constitute an Event of Default, whether or not any such requirement for notice or lapse
              of time has been satisfied).
              17.        Acceleration on Transfer or Encumbrance.
                         17.1     Acceleration on Transfer or Encumbrance of Mortgaged Property. If Borrower sells,
              contracts to sell, gives an option to purchase, conveys, leases with an option to purchase, encumbers (including, but
              not limited to PACE/HERO loans, any loans where payments are collected through property tax assessments, and
              super-voluntary liens which are deemed to have priority over the lien of this Security Instrument), or alienates the
              Mortgaged Property, or any interest in it, or suffers its title to, or any interest in, the Mortgaged Property to be
              divested, whether voluntarily or involuntarily; or ifthere is a sale or transfer of beneficial interests in Borrower; or if
              Borrower changes or permits to be changed the character or use of the Mortgaged Property, or drills or extracts or
              enters into any lease for the drilling or extracting of oil, gas, or other hydrocarbon substances or any mineral of any
              kind or character on the Mortgaged Property; or if title to such Mortgaged Property becomes subject to any lien or
              charge, voluntary or involuntary, contractual or statutory, without Lender's prior written consent, then Lender, at
              Lender's option, may, without prior notice, declare all sums secured by this Security Instrument, regardless of their
              stated due date(s), immediately due and payable and may exercise all rights and remedies in the Loan Documents.
                         17.2     Replacement Personalty. Notwithstanding anything to the contrary herein, Borrower may from
              time to time replace Personalty constituting a part of the Mortgaged Property, as long as (a) the replacements for
              such Personalty are of equivalent value and quality; (b) Borrower has good and clear title to such replacement
              Personalty free and clear of any and all liens, encumbrances, security interests, ownership interests, claims of title
              (contingent or otherwise), or charges of any kind, or the rights of any conditional sellers, vendors, or any other third
              parties in or to such replacement Personalty have been expressly subordinated to the lien of the Security Instrument
              in a manner satisfactory to Lender and at no cost to Lender; and (c) at Lender's option, Borrower provides at no cost
              to Lender satisfactory evidence that the Security Instrument constitutes a valid and subsisting lien on and security


                                                                                                                             WA Deed of Trust
                                                                                                                          22-23SWA/2818 E 2nd
                                                                                                                                 Page II ofl8




                                                                                                                                      Exhibit 3
                                                                                                                                  Page 11 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                         Entered
                                                             01/23/24
                                                                 03/18/24
                                                                        Pg12:01:26
                                                                           41 of 64                                            Pg 44 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:11/18
              interest in such replacement Personalty of the same priority as this Security Instrument has on the Mortgaged
              Property and is not subject to being subordinated or its priority affected under any Governmental Requirements.
                        17.3      Permitted Encumbrances. If Lender consents in writing, which consent may not be
              unreasonably withheld, the due-on-encumbrance prohibition shall not apply to a junior voluntary deed of trust or
              mortgage lien in favor of another lender encumbering the Mortgaged Property (the principal balance of any such
              junior encumbrance shall be added to the principal balance of the Indebtedness for purposes of determining
              compliance with the financial covenants of the Loan Agreement and the Note); as long as Borrower gives Lender at
              least 30 days written notice of the further encumbrance and reimburses Lender for all out-of-pocket costs and
              expenses incurred in connection with such encumbrance.
              18.       Waiver of Marshaling. Despite the existence of interests in the Mortgaged Property other than that
              created by this Security Instrument, and despite any other provision of this Security Instrument, if Borrower defaults
              in paying the Indebtedness or in performing any Obligations, Lender shall have the right, in Lender's sole and
              absolute discretion, to establish the order in which the Mortgaged Property will be subjected to the remedies
              provided in this Security Instrument and to establish the order in which all or any part of the Indebtedness secured
              by this Security Instrument is satisfied from the proceeds realized on the exercise of the remedies provided in this
              Security Instrument. Borrower and any person who now has or later acquires any interest in the Mortgaged Property
              with actual or constructive notice of this Security Instrument waives any and all rights to require a marshaling of
              assets in connection with the exercise of any of the remedies provided in this Security Instrument or otherwise
              provided by Governmental Requirements.
              19.       Consents and Modifications; Borrower and Lien Not Released. Despite Borrower's default in the
              payment of any Indebtedness secured by this Security Instrument or in the performance of any Obligations under
              this Security Instrument or Borrower's breach of any obligation, covenant, or agreement in the Loan Documents,
              Lender, at Lender's option, without notice to or consent from Borrower, any guarantor of the Indebtedness and of
              Borrower's Obligations under the Loan Documents, or any holder or claimant of a lien or interest in the Mortgaged
              Property that is junior to the lien of this Security Instrument, and without incurring liability to Borrower or any other
              person by so doing, may from time to time (a) extend the time for payment of all or any portion of Borrower's
              Indebtedness under the Loan Documents; (b) accept a renewal note or notes, or release any person from liability, for
              all or any portion of such Indebtedness; (c) agree with Borrower to modify the terms and conditions of payment
              under the Loan Documents; ( d) reduce the amount of the monthly installments due under the Note; (e) reconvey or
              release other or additional security for the repayment of Borrower's Indebtedness under the Loan Documents; (t)
              approve the preparation or filing of any map or plat with respect to the Mortgaged Property; (g) enter into any
              extension or subordination agreement affecting the Mortgaged Property or the lien of this Security Instrument; and
              (h) agree with Borrower to modify the term, the rate of interest, or the period of amortization of the Note or alter the
              amount of the monthly installments payable under the Note. No action taken by Lender under this Section shall be
              effective unless it is in writing, subscribed by Lender, and, except as expressly stated in such writing, no such action
              will impair or affect (i) Borrower's obligation to pay the Indebtedness secured by this Security Instrument and to
              observe all Obligations of Borrower contained in the Loan Documents; (ii) the guaranty of any Person of the
              payment of the Indebtedness secured by this Security Instrument; or (iii) the lien or priority of the lien of this
              Security Instrument. At Lender's request, Borrower shall promptly pay Lender a reasonable service charge, together
              with all insurance premiums and Attorney Fees as Lender may have advanced, for any action taken by Lender under
              this Section.
                        Whenever Lender's consent or approval is specified as a condition of any provision of this Security
              Instrument, such consent or approval shall not be effective unless such consent or approval is in writing, signed by
              two authorized officers of Lender.
              20.       Future Advances. On request by Borrower, Lender, at Lender's option, may make future advances to
              Borrower. All such future advances, with interest, shall be added to and become a part of the Indebtedness secured
              by this Security Instrument when evidenced by promissory notes reciting that such note(s) are secured by this
              Security Instrument.
              21.       Prepayment. If the Loan Documents provide for a fee or charge as consideration for the acceptance of
              prepayment of principal, Borrower agrees to pay said fee or charge if the Indebtedness or any part of it shall be paid,
              whether voluntarily or involuntarily, before the due date stated in the Note, even if Borrower has defaulted in
              payment or in the performance of any agreement under the Loan Documents and Lender has declared all sums
              secured by this Security Instrument immediately due and payable.
              22.       Governing Law; Consent to Jurisdiction and Venue. This Secured Instrument is made by the Lender
              and accepted by the Borrower in the State of California except that at all times the provisions for the creation,
              perfection, priority, enforcement and foreclosure of the liens and security interests created in the Mortgaged

                                                                                                                            WA Deed ofTrust
                                                                                                                        22-23lWA/28l8 E 2nd
                                                                                                                               Page 12 ofl8




                                                                                                                                     Exhibit 3
                                                                                                                                 Page 12 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                         Entered
                                                             01/23/24
                                                                 03/18/24
                                                                        Pg12:01:26
                                                                           42 of 64                                           Pg 45 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:12/18
             Property under the Loan Documents shall be governed by and construed according to the laws of Washington. To
             the fullest extent permitted by the law of Washington, the law of the State of California shall govern the validity and
             enforceability of all Loan Documents, and the debt or obligations arising hereunder (but the foregoing shall not be
             construed to limit Lender's rights with respect to such security interest created in Washington). The parties agree
             that jurisdiction and venue for any dispute, claim or controversy arising, other than with respect to perfection and
             enforcement of Lender's rights against the Mortgaged Property, shall be Sacramento County, California, or the
             applicable federal district court that covers said County, and Borrower submits to personal jurisdiction in that forum
             for any and all purposes. Borrower waives any right Borrower may have to assert the doctrine of forum non
             conveniens or to object to such venue.

                                                    BORROWER'S INITIALS:~

             23.       Taxation of Security Instrument. In the event of the enactment of any law deducting from the value of
             the Mortgaged Property any mortgage lien on it, or imposing on Lender the payment of all or part of the taxes,
             charges, or assessments previously paid by Borrower under this Security Instrument, or changing the law relating to
             the taxation of mortgages, debts secured by mortgages, or Lender's interest in the Mortgaged Property so as to
             impose new incidents of tax on Lender, then Borrower shall pay such taxes or assessments or shall reimburse Lender
             for them; provided, however, that ifin the opinion of Lender's counsel such payment cannot lawfully be made by
             Borrower, then Lender may, at Lender's option, declare all sums secured by this Security Instrument to be
             immediately due and payable without notice to Borrower. Lender may invoke any remedies permitted by this
             Security Instrument.
             24.       Mechanic's Liens. Borrower shall pay from time to time when due, all lawful claims and demands of
             mechanics, materialmen, laborers, and others that, if unpaid, might result in, or permit the creation of, a lien on the
             Mortgaged Property or any part of it, or on the Rents arising therefrom, and in general shall do or cause to be done
             everything necessary so that the lien and security interest of this Security Instrument shall be fully preserved, at
             Borrower's expense, without expense to Lender; provided, however, that if Governmental Requirements empower
             Borrower to discharge of record any mechanic's, laborer's, materialman's, or other lien against the Mortgaged
             Property by the posting of a bond or other security, Borrower shall not have to make such payment if Borrower posts
             such bond or other security on the earlier of (a) IO days after the filing or recording of same or (b) within the time
             prescribed by law, so as not to place the Mortgaged Property in jeopardy of a lien or forfeiture.
             25.       Liability for Acts or Omissions. Lender shall not be liable or responsible for its acts or omissions under
             this Security Instrument, except for Lender's own gross negligence or willful misconduct, or be liable or responsible
             for any acts or omissions of any agent, attorney, or employee of Lender, if selected with reasonable care.
             26.      Notices. Except for any notice required by Governmental Requirements to be given in another manner,
             any notice required to be provided in this Security Instrument shall be given in accordance with the Loan
             Agreement.
             27.      Statement of Obligations. Except as otherwise provided by Governmental Requirements, at Lender's
             request, Borrower shall promptly pay to Lender such fee as may then be provided by law as the maximum charge for
             each statement of obligations, Lender's statement, Lender's demand, payoff statement, or other statement on the
             condition of, or balance owed, under the Note or secured by this Security Instrument.
             28.      Remedies Are Cumulative. Each remedy in this Security Instrument is separate and distinct and is
             cumulative to all other rights and remedies provided by this Security Instrument or by Governmental Requirements,
             and each may be exercised concurrently, independently, or successively, in any order whatsoever.
             29.      Obligations of Borrower Joint and Several. If more than one Person is named as Borrower, each
             obligation of Borrower under this Security Instrument shall be the joint and several obligations of each such Person.
             30.       Delegation of Authority. Whenever this Security Instrument provides that Borrower authorizes and
             appoints Lender as Borrower's attorney-in-fact to perform any act for or on behalf of Borrower or in the name,
             place, and stead of Borrower, Borrower expressly understands and agrees that this authority shall be deemed a
             power coupled with an interest and such power shall be irrevocable.
             31.      Funds for Taxes and Insurance. If Borrower is in default under this Security Instrument or any of the
             Loan Documents, regardless of whether the default has been cured, then Lender may at any subsequent time, at its
             option to be exercised on 30 days written notice to Borrower, require Borrower to deposit with Lender or its
             designee, at the time of each payment of an installment of interest or principal under the Note, an additional amount
             sufficient to discharge the obligations of Borrower under the Note and this Security Instrument as they become due.
             The calculation of the amount payable and of the fractional part of it to be deposited with Lender shall be made by
             Lender in its sole and absolute discretion. These amounts shall be held by Lender or its designee not in trust and not

                                                                                                                         WA Deed ofTrust
                                                                                                                     22-235WA/2818 E 2nd
                                                                                                                            Page l3ofl8




                                                                                                                                  Exhibit 3
                                                                                                                              Page 13 of 18
             23-01243-WLH11
                          23-01259-WLH11
                               Doc 618 Filed
                                           Claim
                                             03/18/24
                                                 1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          43 of 64                                          Pg 46 of 68
Clark Auditor 12/20/2022 3:00 PM   6096728   Page:13/18
             as agent of Borrower and shall not bear interest, and shall be applied to the payment of any of the Obligations under
             the Loan Documents in such order or priority as Lender shall determine. If at any time within 30 days before the
             due date of these obligations the amounts then on deposit shall be insufficient to pay the obi igations under the Note
             and this Security Instrument in full, Borrower shall deposit the amount of the deficiency with Lender within IO days
             after Lender's demand. If the amounts deposited are in excess of the actual obligations for which they were
             deposited, Lender may refund any such excess, or, at its option, may hold the excess in a reserve account, not in
             trust and not bearing interest, and reduce proportionately the required monthly deposits for the ensuing year.
             Nothing in this Section shall be deemed to affect any right or remedy of Lender under any other provision of this
             Security Instrument or under any statute or rule of law to pay any such amount and to add the amount so paid to the
             Indebtedness secured by this Security Instrument. Lender shall have no obligation to pay insurance premiums or
             taxes except to the extent the fund established under this Section is sufficient to pay such premiums or taxes, to
             obtain insurance, or to notify Borrower of any matters relative to the insurance or taxes for which the fund is
             established under this Section. Notwithstanding the preceding, Borrower and Lender may agree to impounds of
             taxes and insurance which impounds shall be identified in the Note.
                       Lender or its designee shall hold all amounts so deposited as additional security for the sums secured by
             this Security Instrument. Lender may, in its sole and absolute discretion and without regard to the adequacy of its
             security under this Security Instrument, apply such amounts or any portion of it to any Indebtedness secured by this
             Security Instrument, and such application shall not be construed to cure or waive any default or notice of default
             under this Security Instrument.
                       If Lender requires deposits to be made under this Section, Borrower shall deliver to Lender all tax bills,
             bond and assessment statements, statements for insurance premiums, and statements for any other obligations
             referred to above as soon as Borrower receives such documents.
                       If Lender sells or assigns this Security Instrument, Lender shall have the right to transfer all amounts
             deposited under this Section to the purchaser or assignee. After such a transfer, Lender shall be relieved and have
             no further liability under this Security Instrument for the application of such deposits, and Borrower shall look
             solely to such purchaser or assignee for such application and for all responsibility relating to such deposits.
             32.       General Provisions.
                       32.1     Successors and Assigns. Except as otherwise expressly provided herein, this Security Instrument
             applies to, inures to the benefit of, and binds, the respective heirs, legatees, devisees, administrators, executors,
             successors, and assigns of each party to this Security Instrument.
                       32.2     Meaning of Certain Terms. As used in this Security Instrument and unless the context otherwise
             provides, the words "herein," "hereunder" and "hereof' mean and include this Security Instrument as a whole, rather
             than any particular provision of it.
                       32.3     Authorized Agents. In exercising any right or remedy, or taking any action provided in this
             Security Instrument, Lender may act through its employees, agents, or independent contractors, as Lender expressly
             authorizes.
                       32.4     Gender and Number. Wherever the context so requires in this Security Instrument, the
             masculine gender includes the feminine and neuter, the singular number includes the plural, and vice versa.
                       32.5     Captions. Captions and section headings used in this Security Instrument are for convenience of
             reference only, are not a part of this Security Instrument, and shall not be used in construing it.
             33.       Dispute Resolution: Waiver of Right to Jury Trial.
                       33.1     ARBITRATION. CONCURRENTLY HEREWITH, BORROWER AND ANY GUARANTOR
             SHALL EXECUTE THAT CERTAIN ARBITRATION AGREEMENT WHEREBY BORROWER, ANY
             GUARANTOR, AND LENDER AGREE TO ARBITRATE ANY DISPUTES TO RESOLVE ANY CLAIMS (AS
             DEFINED IN THE ARBITRATION AGREEMENT).
                       33.2     WAIVER OF RIGHT TO JURY TRIAL. CONCURRENTLY HEREWITH, BORROWER
             AND ANY GUARANTOR SHALL EXECUTE THAT CERTAIN ARBITRATION AGREEMENT AND
             WAIVER OF RIGHT TO JURY TRIAL WHEREBY BORROWER, ANY GUARANTOR, AND LENDER
             AGREE TO WAIVE THEIR RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM (AS DEFINED IN
             THE ARBITRATION AGREEMENT) OR CAUSE OF ACTION BASED ON OR ARISING FROM THE LOAN.

                                               BORROWER'S INITIALS,~

                      33.3     PROVISIONAL REMEDIES; FORECLOSURE AND INJUNCTIVE RELIEF. Nothing in
             the Section above, shall be deemed to apply to or limit the right of Lender to: (a) exercise self-help remedies, (b)
             foreclose judicially or nonjudicially against any real or personal property collateral, or to exercise judicial or

                                                                                                                        WA Deed ofTrust
                                                                                                                    22-235WA/2818 E 2nd
                                                                                                                           Page l4ofl8




                                                                                                                                 Exhibit 3
                                                                                                                             Page 14 of 18
             23-01243-WLH11
                          23-01259-WLH11
                               Doc 618 Filed
                                           Claim
                                             03/18/24
                                                 1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          44 of 64                                         Pg 47 of 68
Clark Auditor 12/20/2022 3:00 PM   6096728   Page:14/18
              nonjudicial power of sale rights, (c) obtain from a court provisional or ancillary remedies (including, but not limited
              to, injunctive relief, a writ of possession, prejudgment attachment, a protective order or the appointment of a
              receiver), or (d) pursue rights against Borrower or any other party in a third party proceeding in any action brought
              against Lender (including, but not limited to, actions in bankruptcy court). Lender may exercise the rights set forth
              in the foregoing clauses (a) through (d), inclusive, before, during, or after the pendency of any proceeding referred
              to in the Section above. Neither the exercise of self-help remedies nor the institution or maintenance of an action for
              foreclosure or provisional or ancillary remedies or the opposition to any such provisional remedies shall constitute a
              waiver of the right of any Borrower, Lender or any other party, including, but not limited to, the claimant in any
              such action, to require submission the dispute, claim or controversy occasioning resort to such remedies to any
              proceeding referred to in the Section above.
                        33.4     Contractual Right to Appoint a Receiver Upon Default. Upon an Event of Default under this
              Security Instrument or a breach of any clause of any agreement signed in connection with the loan to Borrower,
              Borrower agrees that Lender may appoint a receiver to control the Mortgaged Property within seven (7) days of any
              default. Borrower agrees to cooperate with the receiver and tum over all control to said receiver and otherwise
              cooperate with the receiver appointed by Lender.
                        33.5     Loan Agreement. This Security Instrument is subject to the provisions of the Loan Agreement.
              As specifically provided in the Loan Agreement, if Borrower defaults under this Security Instrument, Lender has the
              right and option to foreclose against any Collateral provided under the Loan Agreement.

              NON-UNIFORM COVENANTS.

              Notwithstanding anything to the contrary elsewhere in this Security Instrument, Borrower and Lender further
              covenant and agree as follows:

              34.       Acceleration; Remedies. Upon the occurrence of any Event of Default and at any time thereafter, Trustee
              or Lender may exercise any one or more of the following rights and remedies: (a) Lender may declare all sums
              secured by this Deed immediately due and payable, including, without limitation, any prepayment premium which
              Borrower would be required to pay under the terms of the Note or Loan; (b) The Trustee shall have the right to
              foreclose by notice and sale, or Lender shall have the right to foreclose by judicial foreclosure, in either case in
              accordance with applicable law; (c) If this Security Instrument is foreclosed by judicial procedure, and if permitted
              by applicable law, Lender shall be entitled to a judgment which will provide that if the foreclosure sale proceeds are
              insufficient to satisfy the judgment, execution may issue for the amount of the unpaid balance of the judgment; (d)
              Lender shall have the right to take possession of the Property and, with or without taking possession of the Property,
              collect all the rents and revenues of the Property in accordance with this Deed; (e) Lender shall have the right to
              have a receiver appointed to take possession of any or all of the Property, with the power to protect and preserve the
              Property, to operate the Property preceding foreclosure or sale, to collect all the rents and revenues from the
              Property and apply the proceeds, over and above cost of the receivership, against the sums due under this Deed. The
              receiver may serve without bond if permitted by applicable law. Lender's right to the appointment ofa receiver shall
              exist whether or not the apparent value of the Property exceeds the sums due under this Deed by a substantial
              amount. Employment by Lender shall not disqualify a person from serving as a receiver; (f) In the event Borrower
              remains in possession of the Property after the Property is sold as provided above or Lender otherwise becomes
              entitled to possession of the Property upon the occurrence of an Event of Default, Borrower shall become a tenant at
              will of Lender or the purchaser of the Property and shall pay a reasonable rental for use of the Property while in
              Borrower's possession; (g) Trustee and Lender shall have any other right or remedy provided in this Deed, the Note,
              the Loan, or any other Loan Document, or available at law, in equity or otherwise, and specifically, but not limited
              to, any and all rights and remedies granted under Washington law.
              35.       Assignment of Rents. This assignment of Rents is to be effective to create a present security interest in
              existing and future Rents of the Mortgaged Property under the Revised Code of Washington.
              36.       Trustee. The Trustee shall be deemed to have accepted the terms of this trust when this Security
              Instrument, duly executed and acknowledged, is made a public record as provided by law. The Trustee shall not be
              obligated to notify any party to this Security Instrument of any pending sale under any other deed of trust or of any
              action or proceeding in which Borrower, Lender, or Trustee is a party, unless such sale relates to or reasonably
              might affect the Mortgaged Property, this Security Instrument, Lender's security for the payment of the
              Indebtedness and the performance of the Obligations, or the rights or powers of Lender or Trustee under the Loan
              Documents, or unless such action or proceeding has been instituted by Trustee against the Mortgaged Property,
              Borrower, or Lender.

                                                                                                                          WA Deed ofTrust
                                                                                                                      22-235WA/2818 E 2nd
                                                                                                                             Page 15 ofl8




                                                                                                                                   Exhibit 3
                                                                                                                               Page 15 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                         Entered
                                                             01/23/24
                                                                 03/18/24
                                                                        Pg12:01:26
                                                                           45 of 64                                         Pg 48 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:15/18
              37.        Power of Trustee to Reconvey or Consent. At any time, without liability and without notice to Borrower,
              on Lender's written request and presentation of the Note and this Security Instrument to Trustee for endorsement,
              and without altering or affecting (a) the personal liability of Borrower or any other person for the payment of the
              Indebtedness secured by this Security Instrument, or (b) the lien of this Security Instrument on the remainder of the
              Mortgaged Property as security for the repayment of the full amount of the Indebtedness then or later secured by this
              Security Instrument, (c) or any right or power of Lender or Trustee with respect to the remainder of the Mortgaged
              Property, Trustee may (i) reconvey or release any part of the Mortgaged Property from the lien of this Security
              Instrument; (ii) approve the preparation or filing of any map or plat of the Mortgaged Property; (iii) join in the
              granting of any easement burdening the Mortgaged Property; or (iv) enter into any extension or subordination
              agreement affecting the Mortgaged Property or the lien of this Security Instrument.
              38.        Duty to Reconvey. On Lender's written request reciting that all sums secured hereby have been paid,
              surrender of the Note and this Security Instrument to Trustee for cancellation and retention by Trustee, and payment
              by Borrower of any reconveyance fees customarily charged by Trustee, Trustee shall reconvey, without warranty,
              the Mortgaged Property then held by Trustee under this Security Instrument. The recitals in such reconveyance of
              any matters of fact shall be conclusive proof of their truthfulness. The grantee in such reconveyance may be
              described as "the person or persons legally entitled to the Mortgaged Property." Such request and reconveyance
              shall operate as a reassignment of the Rents assigned to Lender in this Security Instrument.
              39.        Substitution of Trustee. Lender, at Lender's option, may from time to time, by written instrument,
              substitute a successor or successors to any Trustee named in or acting under this Security Instrument, which
              instrument, when executed and acknowledged by Lender and recorded in the office of the Recorder of the county or
              counties in which the Mortgaged Property is located, shall constitute conclusive proof of the proper substitution of
              such successor Trustee or Trustees, who shall, without conveyance from the predecessor Trustee, succeed to all
              right, title, estate, powers, and duties of such predecessor Trustee, including, without limitation, the power to
              reconvey the Mortgaged Property. To be effective, the instrument must contain the names of the original Borrower,
              Trustee, and Lender under this Security Instrument, the book and page or instrument or document number at which,
              and the county or counties in which, this Security Instrument is recorded, and the name and address of the substitute
              Trustee. If any notice of default has been recorded under this Security Instrument, this power of substitution cannot
              be exercised until all costs, fees, and expenses of the then acting Trustee have been paid. On such payment, the then
              acting Trustee shall endorse receipt of the payment on the instrument of substitution. The procedure provided in this
              Section for substitution of Trustees is not exclusive of other provisions for substitution provided by Governmental
              Requirements.
              40.        Waiver of Right of Offset. No portion of the Indebtedness secured by this Security Instrument shall be or
              be deemed to be offset or compensated by all or any part of any claim, cause of action, counterclaim, or cross-claim,
              whether liquidated or unliquidated, that Borrower may have or claim to have against Lender.
              41.        REQUEST FOR NOTICE OF DEFAULT AND NOTICE OF SALE. Lender hereby requests that
              Lender be provided with copies of any Notice of Default or Notice of Sale concerning the Property.
              42.        ORAL AGREEMENTS. ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN
              MONEY, EXTEND CREDIT, OR TO FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE
              NOT ENFORCEABLE UNDER WASHINGTON LAW.

                         IN WITNESS WHEREOF, Borrower has executed and delivered this Security Instrument as of the date
              first written above.

              BORROWER:
              VH 2nd Street Office, LLC, a Delaware limited liability company
              By: iCap Vault Management, LLC, a Delaware limited liability company
              Its: Manager
                      By: iCap Enterprises, Inc., a Washington corporation
                      Its: Manager

                                      b
                       By: Christo er Christensen
                       Its: President




                                                                                                                        WA Deed of Trust
                                                                                                                    22-235WA/2818 E 2nd
                                                                                                                           Page 16 of 18




                                                                                                                                 Exhibit 3
                                                                                                                             Page 16 of 18
             23-01243-WLH11
                          23-01259-WLH11
                               Doc 618 Filed
                                           Claim
                                             03/18/24
                                                 1-1 Filed
                                                        Entered
                                                            01/23/24
                                                                03/18/24
                                                                       Pg12:01:26
                                                                          46 of 64                                        Pg 49 of 68
Clark Auditor 12/20/2022 3:00 PM   6096728   Page:16/18
              A Notary Public or other officer completing this certificate verifies only the identity of the individual who signed the
              document to which this certificate is attached, and not the truthfulness, accura , or validi of that document.



                         W'Sn, 11crl-o h
              STATE OF C7\:LIFOKfflA                        )
                              L,                            )ss.
              COUNTYOF         1'.\'r)_9              )
              on.::t>cc..e""-~ \ q-t\... , ~before me, Cl ~¼;}ob\\<                                                         personally
              appeared Q,...h y\,5 C..fn::~::en5-e-
              - - - - - - - - - - - - - - - - - - - - - ~ - - • who proved to me on the basis of
              satisfactory evidence to be the person(s) whose name(s}9are subscribed to the within instrument and
              acknowledged to me that(ii)lshe/they executed the same i~/her/their authorized capacity(ies), and that by
              his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
              executed the instrument.                                                                                          It ~  i
              I certify under PENAL TY OF PERJURY under the laws of the State of California that the foregoing paragraph is
              true and correct.

              WITNESS my hand and official seal.




                                                                                 CONSTANCE CROTHERS
                                                                                 NOTARY PUBLIC #60870
                                                                                  STATE OF WASHINGTON
                                                                                  COMMISSION EXPIRES
                                                                                  DECEMBER 31, 2024
                                                                                         .~~




                                                                                                                          WA Deed ofTrust
                                                                                                                       22-235WA/2818 E2nd
                                                                                                                              Page 17of18




                                                                                                                                       Exhibit 3
                                                                                                                                   Page 17 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                         Entered
                                                             01/23/24
                                                                 03/18/24
                                                                        Pg12:01:26
                                                                           47 of 64                                             Pg 50 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:17/18
                                                             EXHIBIT"A"
                                                     LEGAL PROPERTY DESCRIPTION

              For APN!Parcel ID(s): 031065000 and 986062503

              Parcel I

              Lot(s) I and 2 of The Grand Warehouse Short Plat, recorded in Book 4, Page 355, records of Clark County,
              Washington, being a portion of the Southeast quarter of Section 26, Township 2 North, Range I East of the
              Willamette Meridian, recorded November 16, 2022, recorded under Auditor's File No. 6090902, records of Clark
              County, Washington.

              Parcel 11

              An easement for the right of ingress and egress to and from the leased premises to Grand Avenue, over and across
              the North 25 feet of the following described tract:

              BEGINNING at a point that is North 139.63 feet and West 526.74 feet from the Southeast comer of Section 26,
              Township 2 North, Range 1 East of the Willamette Meridian, Clark County, Washington, said point being on the
              East right of way line of Grand Avenue and on the North right of way line ofa proposed 80.0 foot street; and
              running thence North 0°16'30" East along said Grand Avenue 215.50 feet; thence North 87°58' East a distance of
              197.97 feet; thence South 2°2' East a distance of215.32 feet to the Northerly right of way line of the aforementioned
              proposed street; thence along said right of way South 87°58' West a distance of206.65 feet to the point of
              beginning.




                                                                                                                         WA Deed ofTrust
                                                                                                                     22-235WA/2818 E 2nd
                                                                                                                            Page l8ofl8




                                                                                                                                  Exhibit 3
                                                                                                                              Page 18 of 18
             23-01243-WLH11
                          23-01259-WLH11
                                Doc 618 Filed
                                            Claim
                                              03/18/24
                                                  1-1 Filed
                                                         Entered
                                                             01/23/24
                                                                 03/18/24
                                                                        Pg12:01:26
                                                                           48 of 64                                         Pg 51 of 68
Clark Auditor 12/20/2022 3:00 PM    6096728   Page:18/18
                                                            EXHIBIT 4




            THIS GUARANTY ("Guaranty") is entered into and effective as of 12/15/2022, and is by and among: Christopher
  Christensen, whose address for purposes of this Guaranty is 27112 SE Grand Ridge Drive, Issaquah WA 98029 ("Guarantor
   I"); iCap Enterprises, Inc., a Washington corporation, whose address for purposes of this Guaranty is 27112 SE Grand Ridge
  Drive, Issaquah WA 98029 ("Guarantor 21'); iCap Vau!t LLC, a Delaware limited liability company, whose address for
  purposes of this Guaranty is 27112 SE Grand Ridge Drive, Issaquah WA 98029 ("Guarantor 3"); iCap Vault 1, LLC, a Delaware
  limited liability company, whose address for purposes of this Guaranty is 27112 SE Grand Ridge Drive, Issaquah WA 98029
  ("Guarantor 4''); and Vault Holding, LLC, a Delaware limited liability company, whose address for purposes of this Guaranty
  is 27112 SE Grand Ridge Drive, Issaquah WA 98029 ("Guarantor 5") (Guarantor 1, Guarantor 2, Guarantor 3, Guarantor 4,
  and Guarantor 5 are collectively referred to herein as, "Guarantor")i and Socotra REIT I LLC ("Lender"), and is delivered to
  and in favor of Lender, its successors and assigns.

         To induce Lender to make the Loan to Vl-l 2nd Street Office, LLC ("Borrower"), which Guarantor acknowledges that
 Lender would not do without this Guaranty, and for other valuable consideration, the receipt and adequacy of which are hereby
 acknowledged, Guarantor agrees as follows:

 1.          Guaranty.
             1.1.     Gunranty of Obligations. Guarantor guarantees to Lender, its successors, and assigns the full and faithful
  payment of all amounts owed and performance of each and every one of the obligations, responsibilities, and undertakings to
  be carried out, performed, or observed by Borrower under the Loan Agreement, lhe Note, the Security Agreement, any other
  agreement that now or later secures repayment of the Note, any other agreement that Guarantor now or later states is guaranteed,
  and any other agreement that Guarantor or Borrower signs in connection with the loan obtained by Borrower. All these
  documents are collectively referred to as the "Loan Documents," which Loan Documents evidence the "Loan." The obligations
  guaranteed are referred to as the "Guaranteed Obligations,''
            1.2.      Guun111ly of Ronower 1s rcrformance, If at any time Borrower, or its successors or permitted assigns,
  fails, neglects or refuses to pay when due amounts or perform when due any of its obligations, responsibilities, or undertakings
  as expressly provided under the terms and conditions of the Loan Documents, Guarantor shall pay such amounts or perfonn or
  cause to be performed such obligations, responsibilities, or undertakings as required under the terms and conditions of the Loan
  Documents,
  2.        Absolute. This Guaranty is irrevocable, absolute, present, and unconditional. The obligations of Guarantor under
 this Guaranty shall not be affected, reduced, modified, or impaired on the happening from time to time of any of the following
  events, whether or not with notice to (except as notice is otherwise expressly required) or the consent of Guarantor:
            2.1.      Failure to Give Notice, The failure to give notice to Guarantor of the occurrence of a default under the
 terms and provisions of this Guaranty or the Loan Documcntsj
            2.2.      Modifications or Amendments. The modification or amendment, whether material or otherwise, of any
 obligation, covenant, or agreement set forth in this Guaranty or Loan Documents;
            2.3.      Lender's Failure to Exercise Rig!:!!ft. Any failure, omission, delay by, or inability by Lender to assert or
 exercise any right, power, or remedy conferred on Lender in this Guaranty or the Loan Documents, including the failure 1o
 execute on collatera! held for this Guaranty or the Loan Documents;
            2.4.      Release of Security. Any release of any real or personal property or other security now held or to be held
 by Lender for the performance of the Guaranteed Obligations;
            2.5.      Borrow1~r's Tenninntiog. A termination, dissolution, consolidation, or merger of Borrower with or into
 any other entity;
            2.6.      Borrower's Bankruptcy. The voluntary or involuntary liquidation, dissolution, sale, or other disposition of
 all or substantially all of Borrower's assets, the marshalling of Borrower's assets and liabilities, the receivership, insolvency,
 bankruptcy, assignment for the benefit of creditors, reorganizationi arrangement, composition with creditors, or readjustment
 of, or other similar proceedings affecting Borrower, Guarantor or any of the assets of either Borrower or Guarantor;
            2.7.      Borrower's Assignment of Rights. The assignment of any right, title, or interest of Lender in this Guaranty
 or the Loan Documents to any other person; or
           2.8.       Extent of Guarantor's Obligations. Any other cause or circumstance, foreseen or unforeseen, whether
 similar or dissimilar to any of the foregoing; it being the intent of Guarantor that its obligations under this Guaranty shall not
 be discharged, reduced, limited, or modified except by (a) payment of amounts owing-pursuant to this Guaranty and/or Loan
 Documents (and then only to the extent of such payment or payments); and (b) full performance of obligations under this
 Guaranty and/or Loan Documents (and then only to the extent of such performed or discharged obligation or obligations).
           2.9.       ~:xcrcisc. of Lender IUghts. Any action of Lender authorized herein.
 3.         Additional Credit. Additional credit under the Loan Documents may be granted from time to time at Borrower's
 request and without further authorization from or notice to Guarantor and shall automatically be deemed part of the Guaranteed
 Obligations. Lender need not inquire into Borrower's power or the authority of its members, officers, or agents acting or
                                                                                                                         WA Guarantyv2
                                                                                                                    22-2J5WA/28!6 E 2nd
                                                                                                                             Page I of7




                                                                                                                             Exhibit 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          49 of 64                                                 Pg Page
                                                                                                                      52 of1 of 7
                                                                                                                              68
    purporting to act on its behalf. Each credit granted to Borrower under the Loan Documents shall be deemed to have·been
    granted at Guarantor's instance and request and in consideration of, and in reliance on, this Guaranty.
    4.        Gunranty'of Payment. Guarantor's liability on this Guaranty is a guaranty of payment and performance, not of
    collectability.
    5.        Cessation of Liability. Guarantor's liability under this Guaranty shall not in any way be affected by the cessation of
    Borrower's liability for any reason other than full performance of all the obligations under the Loan Documents, inc!u'ding,
    without limitation, any and al! obligations to indemnify Lender,
    6.        Authori:,.ntio11 of Lender. Guarantor authorizes Lender, without notice or demand and without affecting its liability
    under this Guaranty, and without consent of Guarantor or prior notice to Guarantor, to:
              6.1.      Modify Loan Oocuments. Make any modifications to the Loan Documents;
              6.2.      Assign Gunranty. Assign the Loan Documents and this Guaranty;
              6.3.      !HOdify Security. Take, hold, or release security for the performance of the Guaranteed Obligations with
   'the consent of the party providing such security;
              6.4.      Additional Guarantors. Accept or discharge, in whole or in part, additional guarantors;
             6.5.       Order of Sule. Direct the order and manner of any sale of all or any part of security now or later held under
   the Loan Qocuments or this Guaranty, and also bid at any such sale to the extent allowed by law; and
             6.6.       Applicn1ion of Proceeds. Apply any payments or recovery from Borrower, Guarantor, or any source, and
   any proceeds of any security, to Borrower's obligations under the Loan Documents in such manner, order, and priority as
   Lender may elect, whether or not those obligations are guaranteed by this Guaranty or secured at the time of such application,
   7.        Lender'~ Rittll.t.,~ on Borrower's Defaull. Guarantor agrees that on Borrower's default Lender may elect to
   nonjudicially or judicially foreclose against all or part of the real or personal property securing Borrower's obligations., or
   accept an assignment of any such security in lieu of foreclosure, or compromise or adjust any part of such obligations, or make
   anY other accommc-dation with Borrower or Guarantor, or exercise any other remedy against Borrower or any security. No
   such action by Lender shall release or limit Guarantor's liability to Lender, even if the effect of that action is to deprive
   Guarantor of the right to collect reimbursement from Borrower or any other person for any sums paid to Lender or bar or
   prejudice Guarantor's rights of subrogation, contribution, or indemnity against Borrower or any other person. Without limiting
  the foregoing, it is understood and agreed that, on any foreclosure or assignment in lieu of foreclosure of any security held by
   Lender, such security shall no longer exist and that any right that Guarantor might otherwise have, on full payment of the
  Borrower's obligations by Guarantor to Lender, to participate in any such security or to be subrogated to any rights of Lender
  with respect to any such security shall be nonexistent; nor shall Guarantor be deemed to have any right, title, interest, or claim
  under any circumstances in or to any real or personal property held by Lender or any third party following any foreclosurn or
  assignment in lieu of foreclosure of any such security. Guarantor again specifically acknowledges and waives the above as
  more specifically provided for herein.
  8.         Effect of llorrower's 81ml<ruptcy. The liability of Guarantor under this Guaranty shall in no way be affected by:
             8.1.      Release of Bol'rower. Release or discharge of Borrower in any creditor proceeding, receivership,
  bankruptcy, or Other release or discharge of Borrower, for any reason;
            8.2.       Modificntion of Horrowcr's Liability. Impairment, limitation, or modification of Borrower's liability or
  the estate, or of any remedy for the enforcement of Borrower's liability, which may result from the operation of any prese'nt or
  future provision of the Bankruptcy Code (Title 11 of the United States Code, as amended; 11 U.S.C. §§ 101-1330) or any
  bankruptcy, insolvency, state_ or federal debtor relief statute, any other statute, or from the decision of any court;
            8.3.       Rejection of Debi. Rejection or disaffirmance of the Indebtedness, or any portion of the Indebtedness 1 in
  any such proceeding;
            8.4.      f.'.cssation of Borrower 1 s Liability. Cessation, from any cause whatsoever, whether consensual or by
  operation of law, of Borrower's liability to Lender resulting from any such proceeding; or
            8.5.       l\'1odjfkntion and Replacement ofGuarnnt.ccd Obligation. If the Guaranteed Obligations are restructured
 or replaced in connection with a bankruptcy proceeding or case, Guarantor shall remain liable as guarantor of such restructured
 or replaced obligation,
 9.         Subordination. Until the Guaranteed Obligations have been paid or otherwise discharged in full, Guarantor
 subordinates any and all liability or indebtedness of Borrower owed to Guarantor to the obligations of Borrower to Lender that
 arise under the Guaranteed Obligations. However, Guarantor may receive payment of current reasonable salary and current
 reasonable payments made in the ordinary course of business for goods provided or services rendered.
 10.        Application of Payments. With or without notice to Guarantor, Lender, in its sole and absolute discretion may:
            10.1.     Priority of Payments. Apply any or atl payments or recoveries from Borrower, from Guarantor, or from
 any other guarantor or endorser under this or any other instrument, or realized from any security, in such manner, order, or
 priority as Lender sees fit, to the indebtedness of Bo1Tower to Lender under the Loan Documents, whether such indebtedness
 is guaranteed by this Guaranty or is otherwise secured or is due at the time of such application; and
            10.2.     Hefund lo Hor1•ower. Refund to Borrower any payment received by Lender on any indebtedness guaranteed
 in this Guaranty, and payment of the amount refunded is fully guaranteed. Any recovery realized from any other guarantor

                                                                                                                         WA G~llflllltyv2
                                                                                                                    22-235WA/2Hl8 E 2nd
                                                                                                                             Psge2of7




                                                                                                                           Exhibit 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          50 of 64                                                 Pg Page
                                                                                                                      53 of2 of 7
                                                                                                                              68
     under this or any other instrument shall be first credited on that portion of the indebtedness of Borrower to Lender that exceeds
     the maximum liability, if any, of Guarantor under this Guaranty.
     11.      Claims in ll:.rnkruptcy. Guarantor shall file all claims against Borrower in any bankruptcy or other proceeding in
     which the filing of claims is required or allowed by law on any indebtedness of Borrower to Guarantor, and shall assign to
    Lender all rights of Guarantor on any such indebtedness. lfGuarantor does not file any such claim, Lender, as attorney-in~fact
    for Guarantor, is authorized to do so in Guarantor's name, or, in Lender's discretion, to assign the claim and to file a proof of
    claim in the name of Lender's nominee. In all such cases, whether in bankruptcy or otherwise, the person or persons authorized
    to pay such claim shall pay to Lender the full amount of any such claim, and, to the full extent necessary for that purp'ose,
    Guarantor_assigns to Lender all of Guarantor's rights to any such payments or distributions to which Guarantor would otherwise
    be entitled.
    12.       Hcprc!icntntion~ nnd Warranties ifGunrnntoi- is rtn Entity. If Guarantor is an entity, Guarantor represents and
    warrants to Lender that:
              12.1.     l&JmlJHil!!.!.§., Guarantor (a) is duly organized ~ - - - ~ validly existing under, and in good standing
    with --~=~                 , the laws of the state in which it is domiciled and in the state in which the property secured the Loan
    is located in; (b) has all requisite power, and has all material governmental licenses, authorizations, consents, and approvals
    necessary to own its assets and carry on its business as now being or as proposed to be conducted; and (c) is qualified to do
    business in the state in which any property securing the loan is located in.
              12.2.     No Breach, Neither the execution and delivery of this Guaranty nor compliance with its terms and provisions
    shall conflict with or result in a breach of, or require any consent under, the organizational documents of Guarantor, or any
    agreement or instrument by which Guarantor is bound.
              12.3.     At1th.t1rJty :ind Power. Guarantor has all 11ecessary power and authority to execute, deliver, and perform its
    obligations under this Guaranty, Guarantor's execution, delivery, and performance of this Guaranty has been duly authorized
    by all necessary action on its part; and thi"s Guaranty has been duly and validly executed and delivered by Guarantor and
   constitutes its legal, valid, and binding obligation, enforceable against Guarantor in accordance with its terms. Guarantor shall,
   concurrently with the execution of this Guaranty, deliver to Lender a copy of a resolution of Guarantor's managing member(s),
   if a limited liability company, or board of directors and/or shareholders, if a corporation, authorizing or ratifying execution of
   this Guaranty.
    13.       Representations und Warranties if Guarnntor is nn Individual. If Guarantor is an individual, Guarantor represents
   and warrants to Lender that
             13.1.      Legf!l Stnt'us. Guarantor has aH requisite power and has all material governmental licenses, authorizations,
   consents, and approvals necessary to carry on his business as now being or as proposed to be conducted.
             13.2.      No Breach, Neither the execution and delivery of this Guaranty nor compliance with its terms and proviSions
   shall conflict with or result in a breach of, or require any consent under any agreement or instrument by which Guarantor is
   bound.
             13.3.      Authority and Power. This Guaranty has been duly and validly executed and delivered by Guarantor and
   constitutes its legal, valid, and binding obligation, enforceable against Guarantor in accordance with its terms.
             13.4.      Finandnl Shttements. All financial information furnished or to be furnished to lender is or will be true and
   correct, does or will fairly represent the financial condition of Guarantor, and was or will be prepared in accordance with
   generally accepted accounting principles ("GAAP").
             13.5.      Clnims and Proceedings, There are no claims, actions, proceedings, or investigations pending against
   Guarantor.
   14.       Information Not Rcguir~d. Guarantor represents that Guarantor is fully aware of Borrower's financial condition
   and operation and is in a position by virtue of his, her, or its relationship to Borrower to obtain all necessary financial and
   operational information concerning Borrower. Lender need not disclose to Guarantor any information about:
             14.1.      Lonn Documents. The Loan Documents or any modification of them, and any action or non-action in
  connection with them;
             14.2.     Other Gunrantecd Obligations. Any other obligation guaranteed in this Guaranty;
             14.3.      Borrower's Flnnucial Copditlon. The financial condition or operation of Borrower; or
             14.4.     .Qthcr Guarantors. Any other guarantors.
  15.        Notice. Except for any notice required by Governmental Requirements to be given in another manner, (a) all notices
  required or permitted by this Guaranty shall be in writing; (b) each notice to Guarantor shall be sent (i) for personal delivery
  by a delivery service that provides a record of the date of delivery, the individual to whom delivery was made, and the address
  where delivery was made; (ii) by certified United States mail, postage prepaid, return receipt requested; or (iii) by nationally
  recognized overnight delivery service, marked for next-business-day delivery; and (c) all notices shall be addressed to the
  appropriate party at its address stated on Page 1 of this Guaranty or such other addresses as may be designated by notice given
  in compliance with this provision. Notices will be deemed effective on the earliest of (a) actual receipt; (b) rejection of delivery;
  or (c) if sent by certified mail, the third day on which regular United States mail delivery service is provided after the day of
  mailing or, if sent by overnight delivery service, on the next day on which such service makes next-business-day deliveries
  after the day of sending.
                                                                                                                            WA GuarMtyvl
                                                                                                                      22-235WA/2fl18 IC 2nd
                                                                                                                                Page J of?




                                                                                                                             Exhibit 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          51 of 64                                                  Pg Page
                                                                                                                       54 of3 of 7
                                                                                                                               68
  16.       No Waiver Upon Lender's LHck of Enfm·cemcnt. No failure or delay by Lender, or its successors and assigns, in
  exercising any right, power, or privilege under this Guaranty shall operate as a waiver; nor shall any single or partial exercise
  of any right, power, or ptivilege preclude any other or further such exercise or the exercise of any other right, power, or
  privilege.
  17.       Governing La"w; Consent to Jurisdiction and Venue. This Guaranty is made by the Lender and accepted by the
  Guarantor in the State of California except that at a!! times the provisions for the creation, perfection, priority, enforcement and
  foreclosure of the liens and security interests created in the Property under the Loan Documents shall be governed by and
  construed according to the laws of Washington. To the fullest extent permitted by the law of Washington, the law of the State
  of California shall govern the validity and enforceability of all Loan Documents, and the debt or obligations arising hereunder
  (but the foregoing shall not be construed to limit Lender's rights with respect to such security interest created in Washington).
  The parties agree that jurisdiction and venue for any dispute, claim or controversy arising, other than with respect to perfection
  and enforcement of Lender's rights· against the Property, shalt be Sacramento County, California, or the applicable federal
  district court that covers said County, and Guarantor submits to personal jurisdiction in that forum for any and all purposes.
  Guarantor waives any right Guarantor may have to assert the doctrine of forum non conveniens or to object to such venue.

                                               GUARANTOR'S INITIALS:           4--kb
  18.       Advkc ofCounsaj. Guarantor expressly declares that it knows and understands the contents of this Guaranty and has
  either consulted 01· had the opportunity to consult with an attorney as to its form and content.                              ,
  19.       Attorney Fees. Whether or not legal action is commenced, dismissed, or pursued to judgment, the prevailing party
  shall be entitled to payment of all fees and costs (including, without limitation, attorney fees and costs) that may be incurred
  by such party in connection with the enforcement of this Guaranty, the enforcement of any of the Loan Documents, and the
  protection of prevailing party's rights under this Guaranty or under the Loan Documents (whether in state, federal, or
  Bankruptcy Court proceedings),
            In addition to the aforementioned fees, costs, and expenses, the prevailing party in any lawsuit on this Guaranty shall
  be entitled to its attorney fees, and all other fees, costs, and expenses incurred in any postjudgment proceedings to collect or
 enforce any judgment. This provision for the recovery of postjudgment fees, costsj and expenses is separate and several and
 shall survive the merger of this Guaranty into any judgment on this Guaranty.
 20.        Asslgnabilitt• This Guaranty shall be binding on Guarantor and Guarantor's heirs, representatives, successors and
 assigns and shall inure to the benefit of Lender, its successors and assigns, and their successors and assigns and respective
  personal representatives, successors, and assigns according to the context of this Guaranty. Guarantor shall not have the right
 to assign the obligations in this Guaranty. Lender may assign its rights under this Guaranty in connection with an assignment
 of all or part of the Guaranteed Obligation. Notice is hereby waived as to any such assignment by Lender.
 21.        Revival of Gunnrnty. If a claim ("Claim") is made on Lender at any time (whether before or after payment or
 performance in full of any Guaranteed Obligation, and whether such claim is asserted in a bankruptcy proceeding or othefWise)
 for repayment or recovery of any amount or other value received by Lender (from any source) in payment of, or on account of,
 any Guaranteed Obligation, and if Lender repays such amount, returns value or otherwise becomes liable for all or part of such
 Claim by reason of (a) any judgment, decree, or order of any court or administrative body or (b) any settlement or compromise
 of such Claim, Gua_rantor shall remain severally liable to Lender for the amount so repaid or returned or for which Lender is
 liable to the same extent as if such payments or value had never been received by Lender, despite any termination o(this
 Guaranty or the cancellation of any note or other document evidencing any Guaranteed Obligation.
 22.        Captions. The captions and section headings appearing in this Guaranty are included solely for convenience of
 reference and are not intended to affect the interpretation of any provision of this Guaranty.
 23.        Severability. If any provision in this Guaranty is invalid and unenforceable in the jurisdiction whose law is applied
 to this Guaranty or in any particular context, then, to the fullest extent permitted by law, (a) the other provisions shall remain
 in full force and effect in such jurisdiction or context and shall be liberally construed in favor of Lender in order to carry out
 the parties' intentions as nearly as possible, and (b) the invalidity or unenforceability of any provision in that jurisdiction or
 context shall not affect the validity or enforceability of such provision in any other jurisdiction.
 24.       Waivers.
           24.1.      \Vnivcr of Rights to Require Lender to Act. Guarantor waives the right to require Lender to:
                     24.1. 1. Proceed against Borrower or any other person;
                     24.1.2. Proceed or exhaust any security held from any person;
                     24.1.3. Proceed against any other guarantor; or
                     24.1.4. Pursue any other remedy available to Lender.
           24.2.      Waivers Until Obliga1ion Is Repaid. Until the Guaranteed Obligations have been paid or otherwise
 discharged in full:
                     24.2.1. Guarantor waives all rights of subrogation, indemnity, any rights to collect reimbursement from
 Borrower, and any right to enforce any remedy that Lender now has, or may have, against Borrower.

                                                                                                                            WA Guunintyv2
                                                                                                                      Z2-235WA/2818 E 2nd
                                                                                                                               f>nge 4 of7




                                                                                                                              Exhibit 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          52 of 64                                                   Pg Page
                                                                                                                        55 of4 of 7
                                                                                                                                68
                     24.2.2. Guarantor waives any benefit of, and any right to participate in, any security now or later held by
  Lender.
                        24.2.3. Guarantor waives any defense it may have now or in the future based on any election ofremedies by
   Lender that destroys Guarantor's subrogation rights or Guarantor's rights to proceed against Borrower for reimbursement, and
   Guarantor acknowledges that it shall be liable to Lender even though Guarantor may well have no such recourse against
   Borrower.
                        24.2.4. Guarantor waives notice of (a) acceptance and reliance on this Guaranty; (b) notice of renewal,
   extension 1 or modification of any Guaranteed Obligation under this Guaranty; and (c) notice of default or demand in the case
   of default.
                        24.2.5. Guarantor waives any right or defense it may now or hereafter have based on (a) Lender's full or
   partial release of any party who may be obligated to Lender; (b) Lender's full or partial release or impairment of any collateral
   for the Guaranteed Obligations; and (c) the modification or extension of the Guaranteed Obligations.
                        24.2.6, Guarantor waives any and all suretyship defenses now or later available to it under the law governing
  this Guaranty.
                        24.2. 7. Without limiting the generality of any other waiver or provision of this Guaranty, Guarantor waives,
  to the maximum extent such waiver is permitted by law, any and atl benefits or defenses arising directly or indirectly under the
   law governing this-Guaranty.
                        24.2.8. Guarantor waives any statute of limitation affecting liability under this Guaranty or the enforceability
  of this Guaranty and further waives any defense that might otherwise exist because of the expiration of the statute of limitations
  on the Loan Documents.
                        24.2.9. Guarantor waives any duty of Lender to disclose to Guarantor any facts Lender may now kn0w or
  later learn about Borrower or Borrower's financial condition regardless of whether Lender has reason to believe that any such
  facts materially increase the risk beyond that which Guarantor intends to assume, or has reason to believe that such facts are
  unknown to Guarantor, or has a reasonable opportunity to communicate such facts to Guarantor, it being understood and agreed
  that Guarantor is fully responsible for and is capable of being and keeping informed of Borrower's financial condition and of
  all circumstances bearing on the risk of nonpayment of any indebtedness guaranteed under this Guaranty.
                       24.2. l 0. Guarantor waives all notices to Guarantor.
                       24.2.11. Without limiting the generality of any other waiver or provision of this Guaranty, Guarantor waives,
  to the maximum extent such waiver is permitted by law, any and all benefits or defenses arising directly or indirectly under
  any one or more of(a) California Civil Code§§ 2799, 2808, 2809, 2810, 2815, 2819, 2820, 2821, 2822, 2838, 2839, 2845,
  2846, 2847, 2848, 2849, 2850, 2899, and 3433; (b) Chapter 2 of Title 14 of the California Civil Code; (c) California Code of
  Civil Procedure §§580a, 580b, 580c, 580d, and 726; (d) California Commercial Code §3605 or (e) any rights identified in
  Union Bank v. Gradsky, 265 Cal. App. 2d 40 (1968).
  25.        Arbitration. Cdncurrently herewith, Borrower and Guarantor shall execute that certain Arbitration Agreement whereby
  Borrower, Guarantor, and Lender agree to arbitrate any disputes to resolve any Claims (as defined in the Arbitration Agreement).
 26.         ,Jurisdiction. The parties agree that all actions or proceedings arising in connection with this Guaranty and the other Loan
  Documents shall be tried and litigated only in the st.ate courts located in the county in which notice shall be sent to Lender pursuant
 to this Guaranty, or the applicable federal district court that covers said county.
 27.         .loint and Seven1!. If this Guaranty is issued by more than one party or if any other party guarantees the obligations
 of Borrower, the obligations of Guarantor and any others under this Guaranty shall be joint and several.
 28.         Entire Agreement. This Guaranty embodies the entire agreement and understanding between Guarantor and Lender
 pertaining to the subject matter of this Guaranty, and supersedes all prior agreements, understandings, negotiations,
 representations, and discussions, whether verbal or written, or the parties, pertaining to that subject matter. Guarantor ls not
 relying on any representations, warranties, or inducements from Lender that are not expressly stated in this Guaranty.
 29.         Further AssurJ!l!lli· Guarantor shal! promptly and duly execute and deliver to Lender such further documents and
 assurances and take such further action as Lender may from time to time reasonably request, including, without limitation; any
 amendments to this Guaranty to eslab!ish and protect the rights, interests, and remedies created or intended to be created in
 favor of Lender.
 30.        Gender; Sing..!!.!ll!· JncJudes Plural. As used in this Guaranty, the singular includes the plural, and the masculine
 includes the feminine and neuter, and vice versa, if the context so requires.
 31.        .!'Jonwaivcr. No provision of this Guaranty or right of Lender under this Guaranty can be waived, nor can Guarantor
 be released from its obligations under this Guaranty except by a writing duly executed by an authorized representative of
 Lender.
 32.        Continuing Linbility. Guarantor shall continue to be liable under this Guaranty despite the transfer by Borrower of
 all or any portion of the property encumbered by the Loan Documents.
 33.        Time Is of the Rsscncc. Time is of the essence under this Guaranty and any amendment, modification, or revision of
 this Guaranty.
 34.        Cumulntlvc Rights. The extent of Guarantor's liability and all rights, powers, and remedies of Lender under this
 Guaranty, and under any other agreement now or at any future time in force between Lender and Guarantor, shall be cumulative
                                                                                                                               WA Guaranty-;2
                                                                                                                         22-23SWA/28 IS E 2nd
                                                                                                                                  Page 5 of 7




                                                                                                                                  Exhibit 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          53 of 64                                                      Pg Page
                                                                                                                           56 of5 of 7
                                                                                                                                   68
  and not alternative, and such rights, powers, and remedies shall be in addition to all rights, powers, and remedies given to
  Lender by law. This Guaranty is in addition to and exclusive of the guaranty of any other guarantor of any indebtedness of
  Borrower to Lender.
  35.      WAIVER OF ,JURY TRIAL. TO THE EXTENT PERMITTED BY APPLICABLE LAW, BORROWER, ANY
  GUARANTOR, AND LENDER AGREE TO WAIVE THEIR RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM
  OR CAUSE OF ACTION BASED ON OR ARISING FROM THE LOAN DOCUMENTS. THE SCOPE OF THIS WAIVER
  IS INTENDED TO BE ALL-ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY BE FILED IN ANY COURT
  AND THAT RELATE TO THE SUBJECT MATTER OF THIS TRANSACTION, INCLUDING, WITHOUT LIMITATION,
  CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW AND
  STATUTORY CLAIMS. BORROWER AND, BY ITS ACCEPTANCE OF THE BENEFITS OF THE LOAN, LENDER
  EACH (A) ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT FOR BORROWER AND
  LENDER TO ENTER INTO A BUSINESS RELATIONSHIP, THAT BORROWER AND LENDER HAVE ALREADY
  RELIED ON THIS WAIVER BY ENTERING INTO THE LOAN OR ACCEPTING ITS BENEFITS, AS THE CASE MAY
 BE, AND THAT EACH SHALL CONTINUE TO RELY ON THIS WAIVER IN THEIR RELATED FUTURE DEALINGS,
 AND (BJ FURTHER WARRANTS AND REPRESENTS THAT EACH HAS REVIEWED THIS WAIVER WITH ITS
 LEGAL COUNSEL, AND THAT EACH KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS
 FOLLOWING CONSULTATION WITH LEGAL COUNSEL. THIS WAIVER IS IRREVOCABLE, IT MAY NOT BE
 MODIFIED EITHER ORALLY OR IN WRITING, AND THIS WAIVER SHALL APPLY TO ANY SUBSEQUENT
 AMENDMENTS, RENEWALS, SUPPLEMENTS, OR MODIFICATIONS TO THE LOAN AGREEMENT OR THE NOTE.
 36.       Separntion of Parties. Guarantor is separate and distinct from Borrower. Borrower and Guarantor were solely
 responsible for all corporate structuring and Lender had no role in the corporate structuring of Borrower and/or Guarantor,
 Borrower and Guarantor have provided independent financial statements to Lender and Lender has relied on such financial
 statements in making loan to Borrower.
 37.       Capitnlizcd Terms. Capitalized terms used but not defined herein shall have the meaning ascribed to such term in
 the Loan Documents, each executed of even date herewith.
 38.       Commnnitv Property, If Guarantor (or any Guarantor, if more than one) is a married person, and the state of
 residence of Guarantor or Guarantor's spouse ("Guarantor Spouse") is a community property jurisdiction, then each of the
 following apply:
          38.1.     Guarantor (or each such married Guarantor, if more than one) agrees that Lender may satisfy Guarantor's
 obligations under this Guaranty to the extent of all Guarantor's separate property and against the marital community property
 of Guarantor and Guarantor Spouse,
          38.2.     If Guarantor Spouse is nol also a Guarantor of the Loan, Guarantor certifies that none of the assets shown on
 his or her financial statements submitted to Lender for purposes of underwriting the Loan were either (i) Guarantor Spouse's
 individual property, or (ii) community property under the sole management, control, and disposition of Guarantor Spouse.
          38.3.     If Guarantor Spouse is not also a Guarantor of this loan and Guarantor or Guarantor Spouse's state of
 residence is Alaska, Arizona, Idaho, Louisiana, Nevada, New Mexico) Washington, or Wisconsin, Guarantor has caused
 Guarantor Spouse to acknowledge this Guaranty as required on the signature page of this Guaranty.
 39.      No 0ml Agreements. ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN MONEY, EXTEND
 CREDIT OR TO FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT ENFORCEABLE UNDER
 WASHINGTON LAW.

          lN WITNESS WHEREOF, Guarantor has executed and delivered this Guaranty as of the date first written above.

 GUARANTOR:


 Chris~ ~/stense11

 iCap Enterprises, Inc., a Washington corporation


       ~6
 By: chriSftrer Christensen
 Its: President

 iCap Vault LLC, a Delaware limited liability company


 ~ue~riste11se11
 Its: Manager
                                                                                                                       WA Guaranlyv2
                                                                                                                 22-235WA/2818 E 2nd
                                                                                                                          Page 6 of7




                                                                                                                          Exhibit 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          54 of 64                                               Pg Page
                                                                                                                    57 of6 of 7
                                                                                                                            68
  iCap Vault 1, LLC, a Delaware limited liability company

             6
  By: Chri ipher Christensen
  Its: jfrmager

  Vault Holding, LLC, a Delaware limited llabilty company


  By: Chris )p!wr Christensen
  Its: Manager

  Any person signing this Guaranty solely as a Guarantor Spouse will bind only Guarantor Spouse's marital community
  property to the payment and performance of the Guarantor's obligations under this Guaranty and will not bind
  Guarantor Spouse's separate property.

  GUARANTOR SPOUSE:



          Guarantor Spouse's Signature


          Guarantor Spouse's Name


  Guarantor Spouse's Address:




                                                                                                           WAGuwantyvl
                                                                                                     22-235WA/28J8 E 2nd
                                                                                                              Page 7 of7




                                                                                                            Exhibit 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          55 of 64                                  Pg Page
                                                                                                       58 of7 of 7
                                                                                                               68
                                    EXHIBIT 5




                                                                           Exhibit 5
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          56 of 64   Pg Page
                                                                        59 of1 of 4
                                                                                68
                                                                           Exhibit 5
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          57 of 64   Pg Page
                                                                        60 of2 of 4
                                                                                68
                                                                           Exhibit 5
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          58 of 64   Pg Page
                                                                        61 of3 of 4
                                                                                68
                                                                           Exhibit 5
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          59 of 64   Pg Page
                                                                        62 of4 of 4
                                                                                68
                                    EXHIBIT 6




                                                                          Exhibit 6
                                                                        Page 1 of 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          60 of 64   Pg 63 of 68
                                                                          Exhibit 6
                                                                        Page 2 of 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          61 of 64   Pg 64 of 68
                                                                          Exhibit 6
                                                                        Page 3 of 4
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          62 of 64   Pg 65 of 68
                                                                           Exhibit 6
23-01243-WLH11
           23-01259-WLH11
                Doc 618 Filed
                            Claim
                              03/18/24
                                  1-1 Filed
                                       Entered
                                            01/23/24
                                                03/18/24
                                                       Pg12:01:26
                                                          63 of 64   Pg Page
                                                                        66 of4 of 4
                                                                                68
DocuSign Envelope ID: 43C00DEA-A4F2-42C9-BCC7-09140E81934A

                                                                        EXHIBIT 7

                                                          ITEMIZATION OF UNPAID CHARGES
                                                                                    Interest   Unpaid        Accrued           Total
           Date                             Description
                                                                                      Rate     Balance       Interest           Due
        07/07/2023    NSF Payment Charge                                              0.000%        $25.00         $0.00           $25.00
        9/28/2023     Anticipated legal fees for bankruptcy counsel                   0.000%    $22,000.00         $0.00       $22,000.00
                                                                                                                   Total       $22,025.00

                                                            ITEMIZATION OF OTHER FEES
                                                          Description                                                      Amount
      Demand Fee                                                                                                                    $30.00
      Reconveyance Fee                                                                                                              $45.00
      Recording Fee                                                                                                                $200.00
      Forwarding Fee                                                                                                                 $0.00
      Doc Draw Fee                                                                                                                  $75.00
                                                                                                             Total                 $350.00




                                                                                                                           Exhibit 7
           23-01243-WLH11
                      23-01259-WLH11
                           Doc 618 Filed
                                       Claim
                                         03/18/24
                                             1-1 Filed
                                                  Entered
                                                       01/23/24
                                                           03/18/24
                                                                  Pg12:01:26
                                                                     64 of 64                                        Pg Page
                                                                                                                        67 of1 of 1
                                                                                                                                68
                                 EASTERN DISTRICT OF WASHINGTON
                                          Claims Register
                                             23‐01259‐WLH11 VH 2nd Street Office LLC
                                         Judge: Whitman L Holt   Chapter: 11
                                         Office: Spokane/Yakima        Last Date to file claims:
                                         Trustee:                      Last Date to file (Govt):
Creditor:      (4261095)                              Claim No: 1                                  Status:
Socotra Reit I LLC; WE Alliance Secured Income Fun    Original Filed Date: 01/23/2024              Filed by: CR
c/o Miller Nash LLP                                   Original Entered Date: 01/23/2024            Entered by: Garrett S Ledgerwood
Attn: Garrett Ledgerwood                                                                           Modified:
111 SW 5th Ave #3400
Portland, OR 97204
 Amount claimed:      $3231457.50
 Secured claimed:     $3231457.50

History:
Details 1‐1 01/23/2024 Claim #1 filed by Socotra Reit I LLC; WE Alliance Secured Income Fun, Amount claimed: $3231457.50
                       (Ledgerwood, Garrett)
Description: (1‐1) Loan Agreement
Remarks:

                                                          Claims Register Summary

                                                Case Name: VH 2nd Street Office LLC
                                                  Case Number: 23‐01259‐WLH11
                                                            Chapter: 11
                                                      Date Filed: 09/29/2023
                                                     Total Number Of Claims: 1

                                               Total Amount Claimed* $3231457.50
                                                Total Amount Allowed*
                                                 *Includes general unsecured claims

                  The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                    Claimed      Allowed
                                               Secured           $3231457.50
                                               Priority
                                               Administrative




       23-01243-WLH11               Doc 618     Filed 03/18/24           Entered 03/18/24 12:01:26                  Pg 68 of 68
